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   14
        Attorneys for Plaintiff Colony Cove Properties, LLC
   15
   16                        UNITED STATES DISTRICT COURT

   17                      CENTRAL DISTRICT OF CALIFORNIA
   18   COLONY COVE PROPERTIES, LLC,             Case No. CV 14-03242 PSG (PJWx)
   19   a Delaware limited liability company,
                                                 DECLARATION OF MATTHEW
   20               Plaintiff,                   W. CLOSE IN SUPPORT OF
                                                 PLAINTIFF’S MOTIONS IN
   21         v.                                 LIMINE NOS. 1–8
   22
        CITY OF CARSON, a municipal              Hearing: April 5, 2016 at 9:00 a.m.
   23   corporation; CITY OF CARSON              Courtroom: 880
        MOBILEHOME PARK RENTAL                   Judge: Hon. Philip S. Gutierrez
   24   REVIEW BOARD, a public                   Trial Date: April 5, 2016
        administrative body; and DOES 1 to 10,
   25   inclusive,
   26
                    Defendants.
   27
   28
                                                               CLOSE DECL. ISO PLAINTIFF’S
                                                                MOTIONS IN LIMINE NOS. 1–8
                                                                     CV 14-03242 PSG (PJWx)
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    1         I, Matthew W. Close, hereby state and declare as follows:
    2         1.     I am a member in good standing of the State Bar of California and am
    3   admitted to practice before this Court. I am a partner of O’Melveny & Myers LLP,
    4   counsel of record for Plaintiff Colony Cove Properties, LLC (“Colony Cove”). I
    5   have personal knowledge of the facts set forth below, and, if called upon, I could
    6   and would testify to the truth of the following.
    7         2.     Attached hereto as Exhibit 1 is a true and correct copy of Defendant
    8   City of Carson’s Special Interrogatories to Plaintiff, Colony Cove Properties, LLC
    9   (Set One), served on Colony Cove on or around September 3, 2015. On page 9,
   10   Defendant City of Carson propounded discovery requesting that Colony Cove
   11   “state, in as much detail as YOU are able, the actions YOU took, if any, to
   12   determine if any residents of THE PARK could afford any of the rent increases
   13   YOU applied for at THE PARK.”
   14         3.     Attached hereto as Exhibit 2 is a true and correct copy of Defendant
   15   City of Carson’s Responses to Plaintiff Colony Cove Properties, LLC’s Request for
   16   Production of Documents Propounded on Defendant City of Carson, Set No. One,
   17   including Defendant City of Carson’s Privilege Log for Documents Relating to
   18   Plaintiff’s RFP No. One to City of Carson, served on Colony Cove on or around
   19   October 26, 2015. Defendant City of Carson invoked the deliberative-process
   20   privilege on pages 3–7 of its Responses and on pages 1–17, 19–27, and 44–48 of its
   21   Privilege Log.
   22         4.     On December 3, 2015, Colony Cove served Defendants City of Carson
   23   and City of Carson Mobilehome Park Rental Review Board (collectively,
   24   “Defendants”) with former Mayor Jim Dear’s deposition subpoena. On December
   25   30, 2015, Defendants’ counsel sent an email to Plaintiff’s counsel agreeing to
   26   produce former Mayor Dear for deposition on January 22, 2016. Nine days later,
   27   on January 8, 2016, Defendants stated in an email that former Mayor Dear would
   28   be unavailable on January 22. Defendants have not provided Colony Cove with
                                                                 CLOSE DECL. ISO PLAINTIFF’S
                                                  1               MOTIONS IN LIMINE NOS. 1–8
                                                                       CV 14-03242 PSG (PJWx)
Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 3 of 232 Page ID #:1520



    1   another date on which former Mayor Dear would be available for deposition.
    2   Attached hereto as Exhibit 3 is a true and correct copy of an email Jeff Malawy,
    3   counsel for Defendant City of Carson, sent to Plaintiff’s counsel on January 8,
    4   2016, wherein he stated former Mayor Dear would be unavailable for deposition on
    5   January 22, 2016.
    6          5.    Attached hereto as Exhibit 4 is a true and correct copy of excerpts of
    7   the transcript of James F. Goldstein’s deposition, taken on December 18, 2015.
    8          6.    Attached hereto as Exhibit 5 is a true and correct copy of excerpts of
    9   the transcript of Ken Freschauf’s deposition, taken on January 15, 2016.
   10          7.    Attached hereto as Exhibit 6 is a true and correct copy of Kenneth K.
   11   Baar’s report titled, “Analysis of Reasonable Investment Backed Expectations of
   12   Colony Cove Mobile Estates and Discussion of Treatment of Debt Service and
   13   Rationale for Maintenance of Net Operating Income Fair Return Standard under
   14   Rent Regulation (Carson, California),” dated January 2016 (exhibits omitted).
   15          8.    Attached hereto as Exhibit 7 is a true and correct copy of City of
   16   Carson’s Guidelines for Implementation of the Mobilehome Space Rent Control
   17   Ordinance, adopted February 17, 1998, through City Council Resolution No. 98-
   18   010.
   19          9.    Attached hereto as Exhibit 8 is a true and correct copy of excerpts of
   20   the transcript of Kenneth K. Baar’s deposition, taken on February 2, 2016.
   21          10.   Attached hereto as Exhibit 9 is a true and correct copy of an excerpt of
   22   Kenneth K. Baar’s Curriculum Vitae.
   23          11.   Attached hereto as Exhibit 10 is a true and correct copy of the Expert
   24   Report of Peter A. Salomon, CPA, CFF, dated January 11, 2016 (exhibits omitted).
   25          12.   Attached hereto as Exhibit 11 is a true and correct copy of City of
   26   Carson Staff Report to Mobilehome Park Rental Review Board, dated February 13,
   27   2008 (exhibits omitted).
   28
                                                                 CLOSE DECL. ISO PLAINTIFF’S
                                                 2                MOTIONS IN LIMINE NOS. 1–8
                                                                       CV 14-03242 PSG (PJWx)
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    1         13.    Attached hereto as Exhibit 12 is a true and correct copy of James
    2   Brabant, MAI’s report titled “Rent Increase Application Colony Cove Mobile
    3   Estates,” dated June 5, 2008.
    4         14.    Attached hereto as Exhibit 13 is a true and correct copy of
    5   Defendants’ Expert Witness Disclosure [FRCP 26(a)(2)], served on Colony Cove
    6   on or around January 11, 2016 (attachment and exhibits omitted).
    7
    8         I declare under penalty of perjury under the laws of the United States of
    9   America that the foregoing is true and correct.
   10         Executed on February 22, 2016, in Los Angeles, California.
   11
                                                           /s/ Matthew W. Close
   12                                                      Matthew W. Close
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                                                                 CLOSE DECL. ISO PLAINTIFF’S
                                                 3                MOTIONS IN LIMINE NOS. 1–8
                                                                       CV 14-03242 PSG (PJWx)
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                     EXHIBIT 1
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             10 Attorneys for Defendants
                CITY OF CARSON and CITY OF
             11 CARSON MOBILEHOME PARK
c<5 C:. s
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                RENTAL REVIEW BOARD
~~_J         12
~~~.                                UNITED STATES DISTRICT COURT
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~       a:   14
                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

~~~          15
                COLONY COVE PROPERTIES, LLC                          Case No. CV14-03242 PSG (PJWx)


I
             16 a Delaware limited liability company,
                                                                     Assigned to:
             17                         Plaintiff,                   Hon. Philip S. Gutierrez
                                                                     Courtroom: 880
             18            v.
                                                                     CITY OF CARSON'S SPECIAL
             19 CITY OF CARSON, ·a municipal                         INTERROGATORIES           TO
                cotporation; CITY OF CARSON                          PLAINTIFF    COLONY    COVE
             20 MOBILEHOME PARK· RENTAL                              PROPERTIES, LLC (SET ONE)
                REVIEW        BOARD,       a   public
             21 administrative body; and DOES 1 to 10,               fServed concurrently with City of
                inclusive,                                           Carson's Request for Production of
             22                                                      Documents and Things to Plaintiff,
                             Defendants.                             Colony Cove Properties, LLC (Set
             23                                                      One)]
             24                                                      Trial Date:   April 5, 2016
             25
             26 PROPOUNDING PARTY: Defendant, CITY OF CARSON
             27 RESPONDING PARTY:                    Plaintiff, COLONY COVE PROPERTIES, LLC
             28 SET NO.:                             ONE
                  01007.0504/265752.2                                             Case No. CV14-03242 PSG (PJWx)
                                   CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                         Exhibit 1
                                                          Page 4
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            1              TO PLAINTIFF, COLONY COVE PROPERTIES, LLC AND TO ITS
           2 ATTORNEY(S) OF RECORD HEREIN:
           3               Defendant, CITY OF CARSON ("Defendant" or "Propounding Party") hereby
           4 propounds the following special interrogatories pursuant to Rule 33 of the Federal
           5 Rules of Civil Procedure and Rules 33.1-.3 of the Central District Local Rules.
           6 Defendant requests that Plaintiff COLONY COVE PROPERTIES, LLC ("Plaintiff')
           7 answer, under oath, the following interrogatories within thirty (30) days.
           8                                DEFINITIONS AND INSTRUCTIONS
           9               1.       In answering these interrogatories, you are required to furnish all
          10 information available to you, including information in the possession of your attorneys
          11 or investigators, or other persons who are directly or indirectly employed by them or by
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          12 you, or connected with you or your attorneys, and anyone else acting in your behalf or
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~c:r!l    13 otherwise subject to your control.
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~~;       14              2~        Your answers must be served within 30 days after you are served with
~~~'      15 these interrogatories.



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          16              3.        Each answer must be immediately preceded by a quote of the interrogatory
          17 to which it pertains.
          18              4.        Each answer must be as complete and straightforward as the information
          19 reasonably available to you permits. Merely attaching reports or records prepared by
          20 someone other than you will be non-responsive. If an interrogatory cannot be answered
          21 completely, answer it to the extent possible.
          22              5.        Whenever an interrogatory may be answered by referring to any material
          23 or any document, the material or document may be attached as an exhibit to the
          24 response and referred to in the response. If the material or document has more than one
          25 page, refer to the page and section where the answer to the interrogatory can be found.
          26              6.        In answering these interrogatories, you must make a diligent search of
          27 your records in your possession, as well as materials which are subject to your control
          28 even though in the control of other persons. If you cannot obtain information or records

                01007.0504/265752.2 .                           -2-              Case No. CV14-03242 PSG (PJWx)
                                  CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                        Exhibit 1
                                                         Page 5
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              1 in time to answer these interrogatories, you must explain the circumstances concerning
              2 your inability to obtain such information and what is being done to obtain such
              3 information.
              4            7.           A request for the listing of materials or documents shall be deemed
              5 without further specification to include a request for the following information for each
              6 item:
              7             (a)         the nature of the materials or documents;
              8             (b)         the date, if any, which the materials or documents bear;
              9             (c)         the person or persons executing the materials or documents;
             10             (d)         the person, if any, to whom the materials or documents are addressed;
             11             (e)         any file number used in connection with the materials or documents;
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             12             (f)         the location of the materials or documents;
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~olj)        13             (g)         the name and last known address of the person or persons having
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~   n:       14 possession, custody or control of the materials or documents.
~~~          15             (h)         If any or all documents identified in your responses are no longer in



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             16 existence or no longer in your possession, custody, or control because of destruction,
             17 loss, or any other reason, identify each and every such document.
             18             8.          A request for the name of any person shall be deemed without further
             19 specification to include a request for that person's last known business and residence
             20 address.
             21             9.          Instruction Regarding Alleged Ambiguity: To avoid ambiguity,
             22 significant effort has been spent to define a number of terms used in the following
             23 discovery requests. If you or your attorney claim you do not understand the
             24 meaning of a term, please refer to the list of definitions or contact the opposing
             25 attorney for clarification, preferably before responses are due so that the alleged
             26 ambiguous term can be clarified.
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             28 Ill
                  01007.0504/265752.2                            -3-              Case No. CV14-03242 PSG (PJWx)
                                   CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                            Exhibit 1
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          1             10.         The following terms used in these instructions and interrogatories are
          2 defined as follows (and are to be construed as broadly as possible to include the most
          3 information responsive to the discovery requests propounded herein):
          4             (a)         "DEFENDANTS'·' means CITY OF CARSON and CITY OF CARSON
          5 MOBILEHOME PARK RENTAL REVIEW BOARD.
          6             (b)         "IDENTIFY" shall mean and refer to describing with sufficient
          7 particularity so as to permit propounding party to properly articulate a demand for
          8 inspection or subpoena.
          9             (c)         "DOCUMENT" means a writing, as defined in Federal Rules of
         10 Evidence, Rule 1001, and includes the original or a copy of any handwriting,
         11 typewriting, printing, transcription, photostating, photographing, magnetic impulse,
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         12 mechanical or electronic recording, and every other means of recording upon any
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s=o~     13 tangible thing and form of communicating or representation, including letters, words,
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         14 pictures, tapes, sounds or symbols, or combinations of them. Additionally, it is a term
~   ;
~~~      15 used in its broadest sense and includes, but is not limited to, the original and all non-



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         16 identical copies, whether different from the original by reason of notations made on
         17 such copies or otherwise, and all drafts of: computer data, letters, telegrams,
         18 memorandum, reports of telephone conversations, ledgers, journals, invoices, bills,
         19 sales orders, call reports, financial and business records, receipts, contracts, reports,
         20 studies, calendar entries, diary entries, maps, pamphlets, notes, charts, forms,
         21 tabulations, analyses, statistical or informational accumulations, summaries or
         22 abstracts, any kind of records of meetings or conversations, firm impressions, sound or
         23 mechanical reproductions, rules, regulations, opinions, orders, interpretations,
         24 exceptions, position papers, guidelines, publications, instructions, transparencies,
         25 handbooks, manuals, operating procedures, appointment calendars, call slips, file
         26 jackets, course materials, training materials, minutes, testimony, press releases,
         27 speeches, surveys, graphs, statistics, tables, printed or typewritten forms (whether of
         28 visits, telephone calls, or otherwise) indices, agreements, graphic representations,
              01007.0504/265752.2                            -4-              Case No. CV14-03242 PSG (PJWx)
                               CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                      Exhibit 1
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     1 canceled checks, correspondence, memos, telephone message slips, sketches, notes of
     2 conversations, and all other written, printed, typed or other reported matter (including
     3 electronic or magnetic recordings), photographs, e-mails or other data compilations in
     4 which information can be obtained, which are in the possession, custody, or control of
     5 plaintiffs, plaintiffs attorneys, agents, physicians, directors, officers, partners, affiliates,
     6 subsidiaries, servants, or employees.
     7             (d)         The   "COMPLAINT"        shall   mean   Plaintiff COLONY         COVE
     8 PROPERTIES, LLC's First Amended Complaint, filed on or about April16, 2015 in
     9 the above-captioned action.
    10             (e)         "YOU" and "YOUR" shall refer to Plaintiff COLONY COVE
    11 PROPERTIES, LLC. and YOUR agents, associates, employees, insurance companies,
    12 their agents, their employees, YOUR attorneys, accountants, investigators, lenders,
    13 investment advisors, and anyone else acting on YOUR behalf.
    14             (f)         "THE PARK" shall mean Plaintiffs mobilehome park Colony Cove
    15 Mobile Estates, located at 17700 S. Avalon Blvd., Carson, California 90746, which is
    16 the subject of the above-captioned action.
    17             (g)         "MEMBERS" shall mean the members, owners, managing agent(s ), or
    18 agent(s) of Plaintiff, COLONY COVE PROPERTIES, LLC, a limited liability
    19 company.
    20             (h)         "YOUR AFFILIATES" shall mean James F. Goldstein as an individual
    21 or any entity which James F. Goldstein owns in whole or in part.
    22             (i)         The   "BOARD"    shall   mean    Defendant     CITY    OF    CARSON
    23 MOBILEHOME PARK RENTAL REVIEW BOARD.
    24             (j)         "AND" and "OR" shall mean And/Or.
   · 25 (k)        "PERSON" means not only natural persons, but also firms, businesses, trusts,
    26 corporations, partnerships, organizations, associations, industry groups, entities, joint
    27 venturers, corporations, or any government or governmental entity, commission or
    28 agency and any divisions or departments or other units of any of the entities defined

         01007.0504/265752.2                            -5-              Case No. CV14-03242 PSG (PJWx)
                          CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                Exhibit 1
                                                 Page 8
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     1 herein.
     2              11.        This discovery request is continuing. You are reminded that, in
     3 answering these interrogatories, you have a continuing duty to update your responses in
     4 the event you learn or obtain subsequent information that would affect your answers at
     5 the time made. In the event that any such information comes to your attention,
     6 possession, custody or control or the attention, possession, custody or control of your
     7 associates or your attorneys subsequent to the submission of your response, when the
     8 information is responsive to any interrogatory in this set, you are required to furnish
     9 said additional information to the opposing attorney immediately.
    10
    11                                  SPECIAL INTERROGATORIES
    12
    13 SPECIAL INTERROGATORY NO.1:
    14             Please IDENTIFY each of YOUR MEMBERS (including residence address,
    15 residence telephone number, business address, and business telephone number) who
    16 were MEMBERS prior to April4, 2006.
    17 SPECIAL INTERROGATORY NO.2:
    18             Please state, in as great of detail as YOU are able, all facts that describe the
    19 relationship between YOU and James F. Goldstein at all times before, during, and after
    20 YOU purchased THE PARK.
    21 SPECIAL INTERROGATORY NO.3:
    22             Please state the names, addresses, and current owners of all mobilehome parks
    23 which were owned by YOU or any of YOUR AFFILIATES in a jurisdiction with
    24 mobilehome space rent control at any time before April4, 2006.
    25 SPECIAL INTERROGATORY NO.4:
    26             For each mobilehome park that YOU identified in Special Interrogatory No.3,
    27 please identify which of those parks were acquired in whole or in part through debt
    28 financing.

         01007.0504/265752.2                            -6-              Case No. CV14-03242 PSG (PJWx)
                          CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)


                                               Exhibit 1
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     1 SPECIAL INTERROGATORY NO.5:
     2             For each mobilehome park that YOU identified in Special Interrogatory No.4,
     3 please state the name and address for each park where YOU or YOUR AFFILIATES
     4 were permitted to include the debt service on such park in calculating a rent increase.
     5 SPECIAL INTERROGATORY NO.6:
     6             Please state the name and address of each mobilehome park owned by YOU or
     7 YOUR AFFILIATES for which an application to subdivide or convert to another land
     8 use or to a condominium was submitted at any time, whether before, during, or after
     9 YOU acquired THE PARK.
    10 SPECIAL INTERROGATORY NO.7:
    11             For each of the mobilehome parks owned by YOU or YOUR AFFILIATES,
    12 please state the name and address of each mobilehome park owned by YOU or YOUR
    13 AFFILIATES for which an application to subdivide or convert to another land use or a
    14 condominium has been granted at any time before, during, or after YOU acquired THE
    15 PARK.
    16 SPECIAL INTERROGATORY NO.8:
    17             Please IDENTIFY each PERSON (including residence address, residence
    18 telephone number, business address, business telephone number, AND relationship to
    19 YOU of that individual) who YOU consulted with in deciding to submit YOUR
   20 application to subdivide THE PARK including ,but not limited to, real estate agents,
   21 investment advisors, and attorneys.
   22 SPECIAL INTERROGATORY NO.9:
   23              Please IDENTIFY each PERSON (including residence address, residence
   24 telephone number, business address, business telephone number, AND relationship to
   25 YOU of that individual) who YOU consulted with in deciding to acquire THE PARK,
   26 including but not limited to real estate agents, investment advisors, and attorneys.
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         01007.0504/265752.2                            -7 _             Case No. CV14-03242 PSG (PJWx)
                          CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                Exhibit 1
                                                Page 10
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     1 SPECIAL INTERROGATORY NO. 10:
     2             Please IDENTIFY each mobilehome park owner in Carson that YOU
     3 communicated with about debt service being included in the BOARD's rent increase
     4 decisions before YOU acquired THE PARK.                    (For the purposes of this Special
     5 Interrogatory, "owners" includes the managers, agents, associates, employees,
     6 insurance companies, their agents, their employees, attorneys, accountants,
     7 investigators, lenders, investment advisors, and anyone else acting on the owner's
     8 behalf.)
     9 SPECIAL INTERROGATORY NO. 11:
    10             Please IDENTIFY each PERSON (including residence address, residence
    11 telephone number, business address, business telephone number, AND relationship to
    12 YOU of that individual) who YOU spoke with about DEFENDANTS' mobilehome
    13 space rent control ordinance, policies and practices before YOU acquired THE PARK.
    14 SPECIAL INTERROGATORY NO. 12:
    15             Prior to acquiring THE PARK, please state the amount of pretax profit (i.e.
    16 amount earned less amount spent before taxes) YOU expected to make from THE
    17 PARK in each calendar year between 2006 and 2010.
    18 SPECIAL INTERROGATORY NO. 13:
    19             Please IDENTIFY each PERSON (including residence address, residence
    20 telephone number, business address, business telephone number, AND relationship to
   21 YOU of that individual) YOU consulted with in determining the "profit," identified in
   22 Paragraph 4 of the COMPLAINT, that YOU expected when YOU purchased THE
   23 PARK.
   24 SPECIAL INTERROGATORY NO. 14:
   25              Please state, in as much detail as YOU are able, all facts that support your
   26 allegation in Paragraph 17 of the COMPLAINT that, "prior to Colony Cove's
   27 acquisition of the Park, the City always (or virtually always) considered a park owner's
   28 debt service when disposing of fair return rent applications."

         01007.0504/265752.2                            -8-              Case No. CV14-03242 PSG (PJWx)
                          CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                Exhibit 1
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      1 SPECIAL INTERROGATORY NO. 15:
     2             Please IDENTIFY each PERSON (including residence address, residence
     3 telephone number, business address, business telephone number, AND relationship to
     4 YOU of that individual) you spoke to in forming the basis for YOUR allegation in
     5 Paragraph 17 of the COMPLAINT that, "prior to Colony Cove's acquisition of the
     6 Park, the City always (or virtually always) considered a park owner's debt service when
     7 disposing of fair return rent applications."
     8 SPECIAL INTERROGATORY NO. 16:
     9             Please IDENTIFY each PERSON (including the residence address, residence
    10 telephone number, business address, business telephone number, AND relationship to
    11 YOU of that individual) YOU consulted with in forming YOUR allegation in
    12 Paragraph 25 of the COMPLAINT that, "a rent increase of approximately $200 per
    13 space per month is necessary for Colony Cove to earn a fair return on its investment."
    14 SPECIALINTERROGATORYN0.17:
    15             Please state, in as much detail as YOU are able, all facts to support your
    16 allegation in Paragraph 63 of the COMPLAINT that the BOARD has prohibited "all
    17 economically beneficial use of the land."
    18 SPECIAL INTERROGATORY NO. 18:
    19             Please state, in as much detail as YOU are able, all facts upon which YOU base
    20 YOUR allegation at paragraph 19 of the COMPLAINT that "the purchase price that
    21 Colony Cove paid represented fair market value of the Park ... "
    22 SPECIAL INTERROGATORY NO. 19:
    23             Please state, in as much detail as YOU are able, the actions YOU took, if any, to
    24 determine if any residents of THE PARK could afford any of the rent increases YOU
    25 applied for at THE PARK.
    26 Ill
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         01007.0504/265752.2                            ..,9-            Case No. CV14-03242 PSG (PJWx)
                          CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                               Exhibit 1
                                               Page 12
       Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 15 of 232 Page ID
                                        #:1532




               1 DATED: September 1, 2015                    -ALESHIRE & WYNDER, LLP
                                                              SUNNY K. SOLTANI
               2                                             JUNES. AlLIN
               3                                              STEPHEN R. ONSTOT
                                                             JEFF M. MALAWY
               4                                             LARA LEITNER
               5                                             MARGARET W. ROSE
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                   01007.0504/265752.2                           -10-              Case No. CV14-03242 PSG (PJWx)
                                    CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                          Exhibit 1
                                                          Page 13
    Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 16 of 232 Page ID
                                     #:1533




           1                                       PROOF OF SERVICE
           2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
           3     At the time of service, I was over 18 years of a_ge and not a p(!rty to this action. I
               am employedin the County of Los Angeles, State of-California. My business address
           4 is 236I Rosecrans Ave., Suite 475, El Segundo, CA 90245.
           5        On September 3, 2015, I served true copies of the following_ document(s)
             described as CITY OF CARSON'S SPECIAL INTERROGATORIES TO
           6 PLAINTIFF, COLONY COVE PROPERTIES, LLC (SET ONE on the interested
             parties in this action as follows:
           7
                                            SEE ATTACHED SERVICE LIST
           8
                        BY MAIL:         I enclosed the document(s) in a sealed envelope or package
           9 addressed to the persons at the addresses listed in the Service List and placed the
               envelope for collection and mailing, following our ordinary business practices. I am
          10 readily familiar with the practice of Aleshire & Wynder, LLP for collecting and
               J?rocessing correspondence for mailing. On the same day that correspondence is p1aced
          11 for collection and mailing, it is deposited in the ordinary course of business with the
~~=          United States Postal Service, in a sealed envelope with postage fullY prepaid. I am a
          12 resident or employed in the county where the mailing occurred. The envelope was
~~-          placed in the mail at El Segundo, California.
HO"
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                    I declare under penalty of perjury under the laws of the United States of America
(/)~z
~    0:
          14 that the foregoing is true and correct and that I am employed in the office of a member
~~:       15
             of the bar of this Court at whose direction the service was made.
                        Executed on September 3, 2015, at El Se


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               01007.0504/265752.2                            -1-              Case No. CV14-03242 PSG (PJWx)
                                CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

                                                      Exhibit 1
                                                      Page 14
     Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 17 of 232 Page ID
                                      #:1534




             1                                          SERVICE LIST
                                       Colony Cove Propertie~ LLC v. City of Carson, et al.
             2                                     Case No. LV14-03242 PSG
             3
                                                                    Attorneys for Plaintiff
             4
                                                                    Colony Cove Properties, LLC
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            11                                                      Attorneys for Plaintiff
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            12                                                      Colony Cove Properties, LLC
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                 01007.0504/265752.2                            -2-              Case No. CV14-03242 PSG (PJWx)
                                  CITY OF CARSON'S SPECIAL INTERROGATORIES TO PLAINTIFF (SET ONE)

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                                                        Page 15
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                                 #:1535




                  EXHIBIT 2
     Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 19 of 232 Page ID
                                      #:1536




           1 ALESHIRE & WYNDER, LLP
             WILLIAM W. WYNDER, State BarNo. 84753
           2     wwynder((i),awattorneys. com
               SUNNY K:-1;0LTANI, State Bar No. 209774
           3     ssoltani((i),awattorneJ!S. com
               JEFF M. MALAWY, State Bar No. 252428
           4     jmalawy((i),awattorneys. com
             18881 Von'l<.arman Avenue, Suite 1700
           5 Irvine, California 92612
             Telephone: (949) 223.1170
           6 Facsimile: (949) 223.1180
           7 Attorneys for Defendants
             CITY OF CARSON and CITY OF
           8 CARSON        MOBILEHOME PARK
             RENTAL REVIEW BOARD
           9
                                              UNITED STATES DISTRICT COURT
          10
                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
          11
e.G$~,,
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   ~<        COLONY COVE PROPERTIES, LLC                          Case No. CV14-03242 PSG (PJWx)
53o~      13 a Delaware limited liability company,
                                                                  Assigned to:
f2~'      14                         Plaintiff,                   The Hon. Philip S. Gutierrez
~~-       15             V.
                                                                  DEFENDANT CITY OF CARSON'S


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          16 CITY OF CARSON, a munic~al                           RESPONSES    TO    PLAINTIFF
             codloration; CITY OF CARS N                          COLONY COVE PROPERTIES,
          17 M BILEHOMEPARKRENTAL                                 LLC'S     RE8UEST        FOR
             REVIEW BOARD, a public                               PRODUCTION    F DOCUMENTS
          18 administrative body; and DOES 1 to 10,               PROPOUNDED ON DEFENDANT
             inclusive,                                           CITY OF CARSON, SET NO. ONE
          19
                          Defendants.
          20                                                      Trial Date:     April 5, 2016

          21
          22 PROPOUNDING PARTY:                      PLAINTIFF, COLONY COVE PROPERTIES, LLC
          23 RESPONDING PARTY:                       DEFENDANT, CITY OF CARSON
          24 SETNO.:                                 ONE
          25             Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Defendant, CITY
          26 OF CARSON ("Responding Party" or "Answering Party"), hereby responds to Plaintiff
          27 COLONY COVE PROPERTIES, LLC's ("Propounding Party" or "Requesting Party")
          28 Request for Production of Documents, Set One as follows:
               01007.0504/269843.1                                               Case No. CV14-03242 PSG (PJWx)
                   DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


                                                      Exhibit 2
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        1             PRELIMINARY STATEMENT AND GENERAL OBJECTIONS
        2             These responses are made solely for the purpose of, and in relation to, this action.
        3 Each response is given subject to all appropriate objections including, but not limited
        4 to, objections concerning competency, relevancy, materiality, propriety and
        5 admissibility, which would require the exclusion of any statement contained herein
        6 where made by a witness present and testifying in court. All such objections and
        7 grounds therefore are reserved, and may be interposed at the time of trial.
        8             It should be noted that this Responding Party has not fully completed its
        9 investigation of the facts relating to this case and has not completed its preparation for
       10 trial. Investigation and discovery by the Responding Party are continuing and are not
       11 complete. As discovery proceeds, witnesses, facts and evidence may be discovered
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       12 which are not set forth herein, but which may have been responsive to a request for
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~0~'   13 production. Facts and evidence now known may be imperfectly understood or the


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       14 relevance or consequences of such facts and evidence may be imperfectly understood,
       15 and, accordingly, such facts and evidence may, in good faith, not be included in the
       16 following responses. All of the responses contained herein are based only upon such
       17 information and documents which are presently available to and specifically known to
       18 this Responding Party and disclose only those contentions which presently occur to
       19 such Responding Party.             It is anticipated that further discovery, independent
       20 investigation, legal research and analysis may supply additional facts, add meaning to
       21 the known facts, as well as establish entirely new factual conclusions and legal
       22 contentions, all of which may lead to substantial additions to, changes in, and variations
       23 from the contentions set forth herein.
       24             The following responses are given without prejudice to Responding Party's right
       25 to produce evidence of any subsequently discovered facts which this Responding Party
       26 may later recall. Responding Party accordingly reserves the right to change any and all
       27 responses herein as additional facts are ascertained, analyses are made, legal research is
       28 completed, and contentions are made.
            01007.0504/269843.1                     -2-               Case No. CV14-03242 PSG (PJWx)
               DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                             REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


                                                   Exhibit 2
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               1         This preliminary response is incorporated into each and every response herein by
               2 this reference.
               3         Responding Party incorporates all of these objections (the "General Objections")
               4 into each of the responses herein. Subject to and without waiving any of the foregoing,
               5 Responding Party makes the following responses:
               6         RESPONSES TO REQUEST FOR PRODUCTION OF DOCUMENTS
               7 REQUEST FOR PRODUCTION NO.1:
               8         All DOCUMENTS that YOU referred to or relied on in Resolution No. 2001-
               9 215, entitled "A Resolution Of The Carson Mobilehome Park Rental Review Board
              10 Granting A Rent Increase For Carson Gardens Trailer Lodge."
              1 1 RESPONSE TO REQUEST FOR PRODUCTION NO.1: .
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~   p::: ~'   12         Responding Party objects based on the General Objections above, which are
~pJ<
~o~-          13 incorporated by reference as if stated in full herein. In addition, Responding Party

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              14 objects to this request to the extent it requests information protected by the attorney-
              15 client, deliberative process, and/or mental processes privileges. See Privilege Log



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              16 attached as "Exhibit A." Without waiving those objections, or the General Objections
              17 above, Responding Party responds that it will produce documents in its possession,
              18 custody, and control responsive to this request.
              19 REQUEST FOR PRODUCTION NO. 2:
              20         All DOCUMENTS CONCERNING the "33 prevwus pnor applications"
              21 referenced on page 6, line 18 of YOUR Motion to Dismiss First Amended Complaint
              22 Pursuant To F.R.C.P. 12(b)(6), filed in this ACTION on May 6, 2015.
              23 RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
              24         Responding Party objects based on the General Objections above, which are
              25 incorporated by reference as if stated in full herein. In addition, Responding Party
              26 objects to this request to the extent it requests information protected by the attorney-
              27 client, deliberative process, and/or mental processes privileges. See Privilege Log
              28 attached as "Exhibit A." Without waiving those objections, or the General Objections
                 01007.0504/269843.1                    -3-                Case No. CV14-03242 PSG (PJWx)
                     DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                   REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


                                                    Exhibit 2
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             1 above, Responding Party responds that it will produce documents in its possession,
             2 custody, and control responsive to this request.
             3 REQUEST FOR PRODUCTION NO. 3:
             4         All DOCUMENTS CONCERNING the written application for a rent increase
             5 submitted to the City of Carson Mobilehome Park Rental Review Board by Carson
             6 Gardens, LLC on or about October 11,2000, including all DOCUMENTS related to the
             7 litigation CONCERNING said application.
             8 RESPONSE TO REQUEST FOR PRODUCTION NO.3:
             9         City objects based on the General Objections above, which are incorporated by
            10 reference as if stated in full herein. In addition, Responding Party objects to this
            1 1 request to the extent it requests information protected by the attorney-client, attorney
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            12 work product, deliberative process, and/or mental processes privileges. See Privilege
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53o:·       13 Log attached as "Exhibit A." Without waiving those objections, or the General
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            14 Objections above, Responding Party responds that it will produce documents in its
~~;         15 possession, custody, and control responsive to this request.
            16 REQUEST FOR PRODUCTION NO. 4:

            17         All DOCUMENTS CONCERNING any rent increase applications submitted
            18 from 1992 through 2007 to YOU pursuant to Section IV of YOUR "Guidelines for
            19 Implementation of the Mobilehome Space Rent Control Ordinance."
            20 RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
            21         City objects based on the General Objections above, which are incorporated by
            22 reference as if stated in full herein. In addition, Responding Party objects that this
            23 request is unduly burdensome because neither Defendant City of Carson nor Defendant
            24 City of Carson Mobilehome Park Rental Review Board ("Board") tracks which
            25 applications are Section IV rent increase applications and which are General rent
            26 increase applications. Moreover, neither the rent increase applications themselves nor
            27 the Board's resolutions pertaining thereto clearly reflect the nature of a particular rent
            28 increase application. However, Responding Party has conducted a diligent search in a
               01007.0504/269843.1                    -4-              Case No. CV14-03242 PSG (PJWx)
                   DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                 REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


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                                           #:1540




                    1 good faith effort to respond and believes it has identified the responsive applications.
                    2 This request is also objectionable to the extent it requests information protected by the
                    3 attorney-client, deliberative process, and/or mental processes privileges. See Privilege
                    4 Log attached as "Exhibit A." Without waiving those objections, or the General
                    5 Objections above, Responding Party will produce all responsive non-privileged
                    6 documents in its possession, custody, and control where the Board's resolutions
                    7 indicated in some way that the application under consideration may have been
                    8 submitted pursuant to Section IV of the Board's "Guidelines for Implementation of the
                    9 Mobilehome Space Rent Control Ordinance."
                   10 REQUEST FOR PRODUCTION NO. 5:
                   11             All DOCUMENTS CONCERNING rent increase applications in which an
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~~.··              12 increase was granted, at least in part, due to increased debt-service expense and which
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:Bo~·              13 were submitted within three years of a change in ownership of the mobilehome park.
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                   14 RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
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~ ·~               15             City objects based on the General Objections above, which are incorporated by



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                   16 reference as if stated in full herein. In addition, Responding Party objects that this
                   17 request is unduly burdensome due to the extreme difficulty oflocating the information
                   18 requested therein. The City of Carson Mobilehome Park Rental Review Board's
                   19 ("Board") resolutions pertaining to a specific application do not always clearly reflect
                   20 whether the Board granted a rent increase, at least in part, due to increased debt-service.
                   21 However, Responding Party has conducted a diligent search in a good faith effort to
                   22 respond and believes it has identified the responsive applications. This request is also
                   23 objectionable to the extent it requests information protected by the attorney-client,
                   24 deliberative process, and/or mental processes privileges. See Privilege Log attached as
                   25 "Exhibit A." Without waiving those objections, or the General Objections above,
                   26 Responding Party will produce all responsive non-privileged documents in its
                   27 possession, custody, and control where the application was submitted within three years
                   28 of a change in ownership of the mobilehome park and the Board's resolutions indicated
                        01007.0504/269843.1                        -5-            Case No. CV14-03242 PSG (PJWx)
                           DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                         REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


                                                            Exhibit 2
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                1 in some way that the requested rent increase may have been granted, at least in part, due
               2 to increased debt-service expense.
               3 REQUEST FOR PRODUCTION NO. 6:
               4             All DOCUMENTS not already produced to COLONY COVE CONCERNING
               5 the reports and testimony ofKenneth Baar in connection with COLONY COVE'S Year
               6 One andY ear Two applications, including any COMMUNICATION between Kenneth
               7 Baar and YOU, and his conclusion that debt service should not be considered as a
               8 factor in rent increase applications.
               9 RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
              10             City objects based on the General Objections above, which are incorporated by
              11 reference as if stated in full herein. The City also objects that this request is vague and
~!).;";
      :J "'   12 ambiguous as to the terms "reports and testimony," which are utilized in this request
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~o;·          13 without providing any definition to Responding Party.               This request is also
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~    ~;       14 objectionable to the extent it requests information protected by the attorney client;
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<C~···        15 deliberative process, and/or mental processes privileges. See Privilege Log attached as



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              16 "Exhibit A." Without waiving those objections, or the General Objections above,
              17 Responding Party responds that it will produce documents in its possession, custody,
              18 and control responsive to this request.
              19 REQUEST FOR PRODUCTION NO.7:
              20             All DOCUMENTS not already produced to COLONY COVE CONCERNING
              21 the reports and testimony of James Brabant in connection with COLONY COVE'S
              22 Year One and Year Two applications, including any COMMUNICATION between
              23 James Brabant and YOU, and his conclusion that debt service should not be considered
              24 as a factor in rent increase applications.
              25 RESPONSE TO REQUEST FOR PRODUCTION NO.7:
              26             City objects based on the General Objections above, which are incorporated by
              27 reference as if stated in full herein. The City also objects that this request is vague and
              28 ambiguous as to the terms "reports and testimony," which are utilized in this request
                   01007.0504/269843.1                     -6-               Case No. CVI4-03242 PSG (PJWx)
                      DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                    REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE .


                                                       Exhibit 2
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               1 without providing any definition to Responding Party.           This request is also
               2 objectionable to the extent it requests information protected by the attorney client,
               3 deliberative process, and/or mental processes privileges. See Privilege Log attached as
               4 "Exhibit A." Without waiving those objections, or the General Objections above,

               5 Responding Party responds that it will produce documents in its possession, custody,
               6 and control responsive to this request.
               7
               8 DATED: October 26, 2015               ALESHIRE & WYNDER, LLP
                                                       SUNNYK. SOLTANI
               9                                       JUNE S. AlLIN
              10                                       STEPHEN R. ONSTOT
                                                       JEFF M. MALAWY
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~       ::.   14                                       By:
~~ ~                                                         JEFF~   . MALA WY
~ :           15
                                                             Attorneys for Defendants CITY OF


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              16                                             CARSON and CITY OF CARSON
                                                             MOBILEHOME PARK RENTAL
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                                                             REVIEW BOARD
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                   01007.0504/269843 .1                      -7 _            Case No . CV14-03242 PSG (PJWx)
                      DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                    REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


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                           EXHIBIT A
                                  Exhibit 2
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                                       Colony Cove Properties, LLC v. City of Carson, et al.

                                                   USDC CASE NO. CV-14-03242

    PRIVILEGE LOG FOR DOCUMENTS RELATING TO PLAINTIFF'S RFP NO. ONE TO CITY OF
                                   CARSON


   DATE                     FROM              TO                 DOCUMENT                      BASIS FOR PRIVILEGE

    5/8/08        William Wynder      Sunny Soltani,       Email chain re: Colony       Deliberative Process Privilege; Mental
                                      Anthony R. Taylor,   Cove Fair Return              Process Privilege; Attorney Client
                                      Ken Parsing, Ken     Application                   Privilege; Attorney Work Product;
                                      Baar                                                   Mental Processes Privilege

    5/15/02       Rochelle Browne     Keith Bennett        Email regarding complaint           Attorney Client Privilege
                                                           by resident at Park Avalon
                                                           Estates regarding
                                                           mobilehome residency law
                                                           (MRL)

    9/24/02           Keith Bennett   Rochelle Browne      Email regarding Imperial     Attorney Client Privilege; Deliberative
                                                           Carson staff report            Process Privilege; Mental Process
                                                                                                      Privilege;

    9/12/02           Keith Bennett   Rochelle Browne      Expenditures for Imperial    Attorney Client Privilege; Deliberative
                                                           Carson                         Process Privilege; Mental Process
                                                                                                      Privilege

     6/1/09           KenBaar         William Wynder &     Email and Colony Cove        Deliberative Process Privilege; Mental
                                      Ken Freschauf        draft report                  Process Privilege; Attorney Client
                                                                                                       Privilege

01007.0504/272510.1


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                                                             Page 24
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                                                #:1545




   DATE                    FROM               TO              DOCUMENT                   BASIS FOR PRIVILEGE

    5/21/09           KenBaar          Ken Freschauf     Email regarding            Deliberative Process Privilege; Mental
                                                         calculations                          Process Privilege

    7/8/09            KenBaar          Ken Freschauf &   Email regarding Colony     Deliberative Process Privilege; Mental
                                       William Wynder    Cove Fair Return MRRB       Process Privilege; Attorney Client
                                                         Resolution                                Privilege

    7/8/09            William Wynder   Ken Freschauf &   Email regarding Colony     Deliberative Process Privilege; Mental
                                       KenBaar           Cove Fair Return MRRB       Process Privilege; Attorney Client
                                                         Resolution                                Privilege

    7/8/09            William Wynder   Ken Freschauf &   Email regarding Colony     Deliberative Process Privilege; Mental
                                       KenBaar           Cove Fair Return MRRB       Process Privilege; Attorney Client
                                                         Resolution                                Privilege

    5/26/09           KenBaar          Ken Freschauf     Email regarding MNOI &     Deliberative Process Privilege; Mental
                                                         GPM Cales                            Process Privilege

    5126/09           KenBaar          Ken Freschauf     Email regarding MNOI &     Deliberative Process Privilege; Mental
                                                         GPM Cales                             Process Privilege

    5/27/09           KenBaar          Ken Freschauf     Email regarding KF draft   Deliberative Process Privilege; Mental
                                                         SR-CC-2007-08                         Process Privilege

    5/24/09           KenBaar          Ken Freschauf     Email regarding draft      Deliberative Process Privilege; Mental
                                                         Colony Cover Staff                    Process Privilege
                                                         Report

    5/27/09           KenBaar          Ken Freschauf     Email regarding MNOI       Deliberative Process Privilege; Mental
                                                                                               Process Privilege


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                                                          Exhibit 2
                                                          Page 25
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                                                #:1546




   DATE                    FROM              TO                 DOCUMENT                   BASIS FOR PRIVILEGE

    7/8/09            Ken Freschauf   William Wynder       Email regarding Colony           Attorney Client Privilege
                                                           Cover Return MRRB
                                                           Resolution

    5/11/09           Ken Freschauf   Ken Baar & William   Email regarding Colony     Attorney Client Privilege; Deliberative
                                      Wynder               Cove Revised Cales           Process Privilege; Mental Process
                                                                                                    Privilege

    5/20/09           Ken Freschauf   Ken Baar & William   Email regarding Colony     Attorney Client Privilege; Deliberative
                                      Wynder               Cove Spreadsheets            Process Privilege; Mental Process
                                                                                                    Privilege

    5/20/09           Ken Freschauf   Ken Baar & William   Email regarding Expense    Attorney Client Privilege; Deliberative
                                      Wynder               Corrections/Increase         Process Privilege; Mental Process
                                                           Comparisons                              Privilege

    5/28/09           Ken Freschauf   William Wynder       Email regarding Final            Attorney Client Privilege
                                                           Draft of the Colony Cove
                                                           Staff Report

    5/13/09           Ken Freschauf   William Wynder       Email regarding minor      Attorney Client Privilege; Deliberative
                                                           corrections to Colony        Process Privilege; Mental Process
                                                           Cover O&M sheet                          Privilege

    5/28/09           Ken Freschauf   William Wynder       Email regarding CC-SR-           Attorney Client Privilege
                                                           2007-08

    5/28/09 • Ken Freschauf           William Wynder       Email regarding Final            Attorney Client Privilege
                '                                          Draft of the Colony Cove
                                                           Staff Report


01007.0504/272510.1


                                                             3 of48



                                                            Exhibit 2
                                                            Page 26
               Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 30 of 232 Page ID
                                                #:1547




   DATE                    FROM               TO           DOCUMENT                   BASIS FOR PRIVILEGE

    5126/09           Ken Freschauf   Ken Baar        Email regarding CC-        Deliberative Process Privilege; Mental
                                                      MNOI-2 & CC-GPM-2                     Process Privilege

   12/15/09           Ken Freschauf   Sunny Soltani   Email regarding draft of   Attorney Client Privilege; Deliberative
                                                      commentary re legal          Process Privilege; Mental Process
                                                      Colony Cover legal fees                  Privilege

    5/28/09           Ken Freschauf   KenBaar         Email regarding GPM        Deliberative Process Privilege; Mental
                                                      Calc.                                Process Privilege

    5/20/09           Ken Freschauf   KenBaar         Email regarding CC-        Deliberative Process Privilege; Mental
                                                      MNOI-2                                Process Privilege

    5/26/09           Ken Freschauf   Ken Baar        Email regarding MNOI &     Deliberative Process Privilege; Mental
                                                      GPM Cales                             Process Privilege

    5/27/09           Ken Freschauf   KenBaar         Email regarding MNOI       Deliberative Process Privilege; Mental
                                                      Do-Over                               Process Privilege

    5/26/09           Ken Freschauf   KenBaar         Email regarding Draft      Deliberative Process Privilege; Mental
                                                      Colony Cove Staff Report              Process Privilege

    5126/09           Ken Freschauf   KenBaar         Email regarding MNOI &     Deliberative Process Privilege; Mental
                                                      GPM Cales                             Process Privilege

    5/26/09           Ken Freschauf   Ken Baar        Email regarding MNOI &     Deliberative Process Privilege; Mental
                                                      GPM Cales                             Process Privilege

    5/27/09           Ken Freschauf   KenBaar         Email regarding MNOI       Deliberative Process Privilege; Mental
                                                      Do-Over                               Process Privilege


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    1/9/08                                                      Staff Report to            Deliberative Process Privilege; Mental
                                                                Mobilehome Park Rental        Process Privilege Work Product
                                                                Review Board                              Privilege

    8/5/09                                                      Mobilehome Park Rental     Deliberative Process Privilege; Mental
                                                                Review Board Staff            Process Privilege Work Product
                                                                Report Carson Gardens                     Privilege
                                                                Trailer Lodge

    8/27/07           Mark Alpert           Anthony Taylor      Email regarding            Deliberative Process Privilege; Mental
                                                                36690.005 Community           Process Privilege Work Product
                                                                Asset Mgmt/Carson                         Privilege
                                                                Gardens/Suppl. Writ/Case
                                                                # BS072845

    1/29/07           Sandy Moore,          Sandy Moore,        Email chain regarding            Attorney-Client Privilege
                      Anthony Taylor,       Anthony Taylor,     36690.005 Community
                      Kenneth Freschauf     Kenneth Freschauf   Asset Mgmt/Carson
                                                                Gardens/Suppl. Writ/Case
                                                                # BS072845

   11/28/06                                                     Interoffice Memorandum           . Attorney-Client Privilege
                                                                regarding Public Records
                                                                Request

    12/1/06           Janet Byrne, Senior   Mark Alpert         Letter regarding Public    Attorney-Client Privilege; Deliberative
                      Clerk                                     Records Request              Process Privilege; Mental Process
                                                                                                         Privilege




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    11/6/06       Ken Freschauf        William Wynder       Carson Gardens               Attorney-Client Privilege; Deliberative
                                                            Memorandum regarding           Process Privilege; Mental Process
                                                            general rent increase and                  Privilege
                                                            ruling from the superior
                                                            court

   11115/06       William Wynder       Ken Freschauf        Email regarding Ruling on    Attorney-Client Privilege; Deliberative
                                                            Carson Gardens Motion          Process Privilege; Mental Process
                                                            Requiring any Further rent                 Privilege
                                                            mcrease

    9/21/06           William Wynder   Ken Freschauf, Ken   Email regarding and                Attorney-Client Privilege
                                       Barr, Anthony        Motion to Further Enforce
                                       Taylor               Judgment

    8/9/06            Anthony Taylor   William Wynder       Email regarding and          Deliberative Process Privilege; Mental
                                                            Motion to Carson Gardens        Process Privilege Work Product .
                                                            Objections to Writ Return                   Privilege

    6/20/06           William Wynder   Anthony Taylor,     Email chain regarding         Attorney-Client Privilege; Deliberative
                                       Ken Freschauf, Mark 36690.005 Community             Process Privilege; Mental Process
                                       Alpert              Asset Mgmt/Carson                Privilege Work Product Privilege
                                                           Gardens/Suppl. Writ/Case
                                                           # BS072845 & Analysis
                                                           of Carson Gardens Rent
                                                           Increase Petition

    8/22/01                                                 Draft Staff Report to        Deliberative Process Privilege; Mental
                                                            Mobilehome Park Rental          Process Privilege Work Product
                                                            Review Board                                Privilege


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   DATE                      FROM                TO                 DOCUMENT                     BASIS FOR PRIVILEGE

    5/18/06         Anthony Taylor       Ken Baar              Fax & Analyzation ofthe      Deliberative Process Privilege; Mental
                                                               Carson Garden's rent            Process Privilege Work Product
                                                               increase application                        Privilege

    5/12/06         Anthony Taylor       Ken Baar, Ken         Email regarding and                Attorney-Client Privilege
                                         Freschauf             transcript ofhearing on
                                                               Carson Gardens' Motion
                                                               for Remand Order

    6/23/06             William Wynder   Robert Coldren, Ken   Email chain regarding              Attorney-Client Privilege
                                         Freschauf             36690.005 Community
                                                               Asset Mgmt/Carson
                                                               Gardens/Suppl. Writ/Case
                                                               # BS072845

    6/24/09             Ken Freschauf    Anthony Taylor        Fax re: Mark Alpert's              Attorney-Client Privilege
                                                               letter to Ken Freschauf
                                                               regarding Carson Gardens
                                                               Trailer Park Rent Increase
                                                               Applicaiton

     7/8/09             Ken Freschauf    Anthony Taylor,       Email regarding Carson             Attorney-Client Privilege
                                         William Wynder        Gardens (2007-2008
                                                               expense years)

    2/26/09             Anthony Taylor   William Wynder        Email regarding Notice of    Deliberative Process Privilege; Mental
                                                               Entry of Judgment               Process Privilege Work Product
                                                                                                           Privilege




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   DATE                    FROM               TO                 DOCUMENT                    BASIS FOR PRIVILEGE

    1/22/09           Ken Freschauf    Anthony Taylor       Fax regarding Application         Attorney-Client Privilege
                                                            for Rent Increase for
                                                            Carson Gardens

   11114/08           Mark Alpert      Anthony Taylor       Email regarding 3690.015    Deliberative Process Privilege; Mental
                                                            Carson Gardens/Writ,           Process Privilege Work Product
                                                            includes attorney's notes                  Privilege

    5/3/06            William Wynder   Anthony Taylor,      Email regarding Carson      Deliberative Process Privilege; Mental
                                       Ken Baar, Ken        Gardens -Remand Order          Process Privilege Work Product
                                       Freschauf                                                       Privilege

     5/3/06           Anthony Taylor   William Wynder,      Email regarding Carson      Attorney-Client Privilege; Deliberative
                                       Ken Baar, Ken        Gardens - Remand Order        Process Privilege; Mental Process
                                       Freschauf                                           Privilege Work Product Privilege

    4/28/06           Jerry Groomes    William Wynder       Payment for                       Attorney-Client Privilege
                                                            reimbursement costs

    4/12/06           KenBaar          Anthony Taylor       Letter regarding                  Attorney-Client Privilege
                                                            transcripts from 8/11/04
                                                            meeting of Mobile home
                                                            Rental Review Board

    3/16/06           William Wynder   Ken Freschauf, Ken   Fax regarding Rental              Attorney-Client Privilege
                                       Baar                 Review Board

    3/16/06           William Wynder   Anthony Taylor       Email regarding Carson      Deliberative Process Privilege; Mental
                                                            Gardens                        Process Privilege Work Product
                                                                                                       Privilege


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    1129/06       Anthony Taylor           William Wynder    Email regarding Carson       Deliberative Process Privilege; Mental
                                                             Garden Appeal                   Process Privilege Work Product
                                                                                                         Privilege

    1/18/06           William Wynder       Stuart, Ken       Email regarding Carson             Attorney-Client Privilege
                                           Freschauf         Gardens Court of Appeal
                                                             Opinion

    1123/06           William Wynder       Jerome Groomes,   Email regarding Letter to          Attorney-Client Privilege
                                           Ken Freschauf     attorneys to distribute to
                                                             Council

    8/25/05           Ken Freschauf        William Wynder    Transmittal of               Attorney-Client Privilege; Deliberative
                                       '
                                                             Administrative Record          Process Privilege; Mental Process
                                                             Volumes 1-10                   Privilege Work Product Privilege

    3/8/05            William Wynder       Ken Freschauf     Fax regarding authorities    Attorney-Client Privilege; Deliberative
                                                             for HR&C letter                Process Privilege; Mental Process
                                                                                             Privilege Work Product Privilege

    6/ 13/05          Anthony Taylor       William Wynder    Email regarding residents    Deliberative Process Privilege; Mental
                                                             need for letter of denial       Process Privilege Work Product
                                                                                                         Privilege

    5/26/06           Anthony Taylor       William Wynder    Email regarding Carson       Deliberative Process Privilege; Mental
                                                             Garden' s Ex Parte              Process Privilege Work Product
                                                                                                         Privilege




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    3/8/05        William Wynder       Ken Freschauf      Order on Petitioner's             Attorney-Client Privilege
                                                          Motion for Attorney's
                                                          Fees; Notice of Entry of
                                                          Order

    3/3/05            William Wynder   Ken Freschauf      Notice & Motion to                Attorney-Client Privilege
                                                          Dismiss Appeal and
                                                          Supportive documents .

   2/25/05                                                Tentative Decision notes    Deliberative Process Privilege; Mental
                                                                                         Process Privilege Work Product
                                                                                                     Privilege

    1/27/05           William Wynder   Ken Freschauf      Letter regarding                  Attorney-Client Privilege
                                                          Petitioner's Motion for
                                                          Attorneys' Fees and Costs

    2/16/05           William Wynder   Ken Freschauf      Fax regarding Opposition          Attorney-Client Privilege
                                                          to Carson Gardens'
                                                          Motion for Attorneys'
                                                          Fees and costs and reply
                                                          brief

    2/16/05                            William Wynder ·   Fax regarding reply brief   Deliberative Process Privilege; Mental
                                                          and scheduling of Motion       Process Privilege Work Product
                                                          for Writ                                   Privilege

     2/4/05           William Wynder   Ken Freschauf      Fax regarding missing       Deliberative Process Privilege; Mental
                                                          pages of Ex. E of              Process Privilege Work Product
                                                          Petition's Motion for                      Privilege
                                                          Attorneys' Fees and Costs

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    1/3/05                             Sunny Soltani,       Email regarding Notices      Deliberative Process Privilege; Mental
                                       William Wynder       of Appeal                       Process Privilege Work Product
                                                                                                        Privilege

   12/15/04       William Wynder       Ken Freschauf        Fax regarding file and             Attorney-Client Privilege
                                                            Court's Minute Order with
                                                            executed Judgment on
                                                            Motion for Supplemental
                                                            Writ

    11/8/04           William Wynder   Ken Freschauf, Ken   Fax regarding Reply in             Attorney-Client Privilege
                                       Baar                 Support ofMotion for
                                                            Order Further Enforcing
                                                            Judgment on Writ of
                                                            Administrative Mandamus
                                                            and Peremptory Writ of                                -

                                                            Mandamus

   10/18/04           William Wynder   Ken Freschauf        Email regarding              Attorney-Client Privilege; Deliberative
                                                            continuance of Petition's      Process Privilege; Mental Process
                                                            Petition for Order to           Privilege Work Product Privilege
                                                            Further Enforce Judgment

   10/15/04           William Wynder   Ken Freschauf        Letter regarding hearing           Attorney-Client Privilege
                                                            transcript and Declaration
                                                            or Marji Muniverz

   10/13/04           City Manager's   City Attorney's      Fax regarding substitution         Attorney-Client Privilege
                      Office           Office               of Counsel in Carson
                                                            Gardens vs. State ofCA


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   10/70/4        Sunny Soltani        Ken Freschauf, Ken   Letter regarding Notice of          Attorney-Client Privilege
                                       Baar                 Petition for Order Further
                                                            Enforcing Judgment on
                                                            Writ of Administrative
                                                            Mandamus and
                                                            Peremptory Writ of
                                                            Mandamus

    10/7/04       Ken Freschauf        Linda Y arvis        Email regarding               Attorney-Client Privilege; Deliberative
                                                            confirmation of contact         Process Privilege; Mental Process
                                                            information                      Privilege Work Product Privilege

    10/6/04       Rochelle Brown       William Wynder       Letter regarding                     Work Product Privilege
                                                            Substitution of Attorney

    9/1/04        William Wynder       Ken Freschauf        Email regarding final draft   Attorney-Client Privilege; Deliberative
                                                            of Resolution regarding         Process Privilege; Mental Process
                                                            Rent Increase                    Privilege Work Product Privilege

    8/13/04           William Wynder   Ken -F reschauf      Email regarding final draft   Attorney-Client Privilege; Deliberative
                                                            of Resolution regarding         Process Privilege; Mental Process
                                                            Rent Increase                    Privilege Work Product Privilege

    7114/04           Ken Freschauf    William Wynder       Report of Heather Xitco       Attorney-Client Privilege; Deliberative
                                                                                            Process Privilege; Mental Process
                                                                                            Privilege Work Product Privilege

    10/2/08           Tiffany Israel   Steven Lantsberger   Rousey Escrow                 Attorney-Client Privilege; Deliberative
                                                            Instructions and Natural        Process Privilege; Mental Process
                                                            Hazard Disclosures              Privilege Work Product Privilege


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    8/22/01                                                 Request for a General        Deliberative Process Privilege; Mental
                                                            Rent Increase, Secretary's      Process Privilege Work Product
                                                            Report                                      Privilege

   7/20/04                                                  Internal Memorandum          Deliberative Process Privilege; Mental
                                                            regarding Carson Gardens        Process Privilege Work Product
                                                            Rehearing of August 5,                      Privilege
                                                            2005

    7/6/06            Ken Freschauf    Anthony Taylor       Letter regarding rent              Attorney-Client Privilege;
                                                            adjustments                  Deliberative; Mental Process Privilege
                                                                                           Process Privilege; Work Product
                                             -
                                                                                                        Privilege

                                                            Draft Privilege Log          Deliberative Process Privilege; Mental
                                                            regarding Carson Gardens        Process Privilege Work Product
                                                            - Public Record Request                     Privilege

    6/22/06           Anthony Taylor   Belinda Hayes, Ken   Email regarding ·            Attorney-Client Privilege; Deliberative
                                       Freschauf, William   objections to Public           Process Privilege; Mental Process
                                       Wynder, Helen        Records Acts request            Privilege Work Product Privilege
                                       Kawagoe

    3/17/05           William Wynder   Ken Freschauf        Email regarding and Brief    Attorney-Client Privilege; Deliberative
                                                            in Opposition to motion to     Process Privilege; Mental Process
                                                            Dismiss Appeal                · Privilege Work Product Privilege

    1117/06           William Wynder   Ken Freschauf        Email regarding and                Attorney-Client Privilege
                                                            Carson Gardens Opinion



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    1/23/06       William Wynder       Jerome Groomes,      Email regarding Letter to          Attorney-Client Privilege
                                       Ken Freschauf        attorneys to distribute to
                                                            Council

   2/27/06            William Wynder   Jerome Groomes,      Email regarding and status   Attorney-Client Privilege; Deliberative
                                       Ken Freschauf        report regarding remaining     Process Privilege; Mental Process
                                                            3 litigation cases              Privilege Work Product Privilege

    1/31/06           William Wynder   Ken Freschauf, Ken   Email regarding Carson       Attorney-Client Privilege; Deliberative
                                       Baar, Anthony        Gardens Appeal                 Process Privilege; Mental Process
                                       Taylor                                               Privilege Work Product Privilege

    3/3/06            William Wynder   Ken Freschauf        Email chain regarding              Attorney-Client Privilege
                                                            Carson Gardens' letter and
                                                            re-hearing

    4/6/06            Ken Freschauf    William Wynder,      Email regarding and          Attorney-Client Privilege; Deliberative
                                       Ken Baar, Anthony    Carson Gardens Staff           Process Privilege; Mental Process
                                       Taylor               Report                          Privilege Work Product Privilege

    4/27/06           Anthony Taylor   Ken Freschauf,       Email regarding and                Attorney-Client Privilege
                                       William Wynder       Carson Gardens' Motion
                                                            for Report Order and
                                                            Judgment & Reply Brief

    4/27/06           Anthony Taylor   Ken Freschauf,       Email regarding and          Attorney-Client Privilege; Deliberative
                                       William Wynder       Proposed Remand Order          Process Privilege; Mental Process
                                                                                           Privilege Work Product Privilege




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    5/9/06        Anthony Taylor,      William Wynder,      Email chain regarding       Attorney-Client Privilege; Deliberative
                  Mark Alpert          Ken Freschauf,       closed session to include     Process Privilege; Mental Process
                                                            pending litigation and                    Privilege
                                                            coordination of new
                                                            hearing in front of rent
                                                            commission

    617/06        William Wynder       Ken Freschauf        Email regarding and close   Deliberative Process Privilege; Mental
                                                            session memorandum             Process Privilege Work Product
                                                                                                       Privilege

    6/20/06           Ken Freschauf    William Wynder,      Email regarding and         Attorney-Client Privilege; Deliberative
                                       Anthony Taylor       Mobilehome Park Renal         Process Privilege; Mental Process
                                                            Review Board Staff             Privilege Work Product Privilege
                                                            Report

     5/3/06           Anthony Taylor   Ken Baar, Ken        Email regarding and         Attorney-Client Privilege; Deliberative
                                       Freschauf, William   Tentative Decision &          Process Privilege; Mental Process
                                       Wynder               Final Remand Order                        Privilege

     5/3/06           William Wynder   Anthony Taylor,      Email regarding order of    Attorney-Client Privilege; Deliberative
                                       Ken Baar, Ken        transcript                    Process Privilege; Mental Process
                                       Freschauf                                                      Privilege

     5/9/06           Anthony Taylor   Ken Baar, Ken        Email regarding Legal       Attorney-Client Privilege; Deliberative
                                       Freschauf, William   Analysis for Carson           Process Privilege; Mental Process
                                       Wynder               Gardens' Staff Report                     Privilege

    5110/06           Ken Freschauf    Anthony Taylor,      Email regarding Legal       Attorney-Client Privilege; Deliberative
                                       KenBaar              Analysis for Carson           Process Privilege; Mental Process
                                                            Gardens' StaffReport                      Privilege

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    5/12/06           Anthony Taylor   Ken Baar, Ken        Email regarding and            Attorney-Client Privilege; Deliberative
                                       Freschauf, William   transcript pages ofhearing       Process Privilege; Mental Process
                                       Wynder               on Motion for a Remand                       Privilege
                                                            Order

    5/23/06           Anthony Taylor   William Wynder,      Email regarding new court      Attorney-Client Privilege; Deliberative
                                                              ..
                                       Ken Baar, Ken        op1mon                           Process Privilege; Mental Process
                                       Freschauf                                                         Privilege

    6/6/06            William Wynder   Ken Freschauf, Ken   Emailed regarding and          Attorney-Client Privilege; Deliberative
                                       Baar, William        latest draft of staff report     Process Privilege; Mental Process
                                       Wynder                                                            Privilege

    1/29/09           Anthony Taylor   William Wynder       Email regarding options        Attorney-Client Privilege; Deliberative
                                                            for proceeding after Court       Process Privilege; Mental Process
                                                            of Appeal Decision                           Privilege

                                                            Attorney's Notes and Case      Deliberative Process Privilege; Mental
                                                            Law Research                      Process Privilege Work Product
                                                                                                          Privilege

    9/ 15/03          Sunny Soltani    Rochelle Brown       Email chain regarding          Deliberative Process Privilege; Mental
                                                            litigation files to be            Process Privilege Work Product
                                                            forwarded for review prior                    Privilege
                                                            to re-hearing




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    9/4/03        Rochelle Brown   Ron Winkler   Letter regarding rehearing   Deliberative Process Privilege; Mental
                                                 on the Application of           Process Privilege Work Product
                                            ·,
                                                 Cason Garden                                Privilege
                                                 Mobilehome Park and
                                                 enclosed Analysis of
                                                 Carson Gardens Rent
                                                 Increase Application

   9/19/06                                       Stipulation & [Proposed]            Work Product Privilege
                                                 Order regarding
                                                 Exceeding Page
                                                 Limitations for
                                                 Petitioner's Motion

   9/19/06                                       Petitioner's Notice of              Work Product Privilege
                                                 Motion and Motion for
                                                 Order Further Enforcing
                                                 Judgment on Writ of
                                                 Administrative Mandamus
                                                 and Peremptory Writ of
                                                 Mandamus Issued April
                                                 16, 2003; Memorandum of
                                                 Points and Authorities and
                                                 Declaration of Mark D.
                                                 Alpert in Support Thereof

    9/19/06                                      Request to Take Judicial            Work Product Privilege
                                                 Notice in Support of
                                                 Petitioner's Motion for
                                                 Further Enforcing
                                                 Judgment, et al.
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   9/19/06                                      Notice ofRe-Lodging            Work Product Privilege
                                                Administrative Record in
                                                Support of Motion for
                                                Order Further Enforcing
                                                Judgment, et al.

   10116/06                                     Opposition Brief by            Work Product Privilege
                                                Respondent to Petitioner' s
                                                Notice ofMotion and
                                                Motion to for Order
         -
                                                Further Enforcing
                                                Judgment on Writ of
                                                Administrative Mandamus
                                                Issued April 16, 2003

  10/16/006                                     Declaration ofWilliam W.       Work Product Privilege
                                                                                                        ..
                                                Wynder in Support of
                                                Opposition Brief by
                                                Respondent

   10/20/06                                     Petitioner's Reply Brief in    Work Product Privilege
                                                Support of Motion for
                                                Order Further Enforcing
                                                Judgment on Writ of
                                                Administrative Mandamus
                                                and Peremptory Writ of
                                                Mandamus Issued April
                                                16, 2003

                                                Case Law Research              Work Product Privilege


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    5/25/88                                     Handwritten                 Deliberative Process Privilege; Mental
                                                notes/minutes of MRRB          Process Privilege Work Product
                                                Meeting                                    Privilege

                                                Handwritten notes           Deliberative Process Privilege; Mental
                                                regarding percent CPI and      Process Privilege Work Product
                                                a2proval                                   Privilege

                                                Handwritten notes           Deliberative Process Privilege; Mental
                                                regarding funding              Process Privilege Work Product
                                                situation                                  Privilege

    5/25/88                                     Staff Report to             Deliberative Process Privilege; Mental
                                                Mobilehome Park Rental         Process Privilege Work Product
                                                Review Board with                          Privilege
                                                handwritten notes
                                                regarding Capital
                                                Improvement Rent
                                                Increase

    5/25/88                                     Staff Report to             Deliberative Process Privilege; Mental
                                                Mobilehome Park Rental         Process Privilege Work Product
                                                Review Board with                          Privilege
                                                handwritten notes
                                                regarding General Rent
                                                Increase




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   5/11188                                                  Staff Report to            Deliberative Process Privilege; Mental
                                                            Mobilehome Park Rental        Process Privilege Work Product
                                                            Review Board with                         Privilege
                                                            handwritten notes
                                                            regarding Capital
                                                            Improvement Rent
                                                            Increase

    4/8/88            Gary N ehrenberg   Timothy O'Rourke   Internal Memorandum              Attorney Client Privilege
                                                            regarding Landfill Gas
                                                            Collection System

    5/ 11/88                                                Staff Report to            Deliberative Process Privilege; Mental
                                                            Mobilehome Park Rental        Process Privilege Work Product
                                                            Review Board with                         Privilege
                                                            handwritten notes
                                                            regarding General Rent
                                                            Increase

    5/11188                                                 Agenda to Mobilehome       Deliberative Process Privilege; Mental
                                                            Park Rental Review Board      Process Privilege Work Product
                                                            Meeting with handwritten                  Privilege
                                                            notes

    5/ 11188                                                Staff Report to            Deliberative Process Privilege; Mental
                                                            Mobilehome Park Rental        Process Privilege Work Product
                                                            Review Board with                         Privilege
                                                            handwritten notes
                                                            regarding Capital
                                                            Improvement Rent
                                                            Increase
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  DATE                     FROM              TO               DOCUMENT                     BASIS FOR PRIVILEGE

    2/2/88        Rochelle Brown     Timothy O'Rourke    Letter regarding Imperial    Deliberative Process Privilege; Mental
                                                         Carson Mobilehome Park          Process Privilege Work Product
                                                         Rent Increase Application                   Privilege

                                                         Handwritten notes of         Deliberative Process Privilege; Mental
                                                         mobile home park                Process Privilege Work Product
                                                         residents                                   Privilege

                                                         Notice ofPublic Hearing      Deliberative Process Privilege; Mental
                                                         Application for a Capital       Process Privilege Work Product
                                                         Improvement Rent                            Privilege
                                                         Increase with handwritten
                                                         notes

    3/9/87                                               Miscellaneous residents'     Deliberative Process Privilege; Mental
                                                         handwritten notes               Process Privilege Work Product
                                                         regarding meeting at City                   Privilege
                                                         Attorney's Office

                                                         Handwritten Calculations     Deliberative Process Privilege; Mental
                                                         for base rent and increase      Process Privilege Work Product
                                                         percentage                                  Privilege

    3/29/88           Michele Beal   Harry Foisia        People v. Anton Berkovich          Attorney Client Privilege
                      Bagneris                           Imperial Carson
                                                         Mobilehome Estates

    3/30/88           Joe Bedina     Richard Gunnarson   People v. Anton Berkovich          Attorney Client Privilege
                                                         Imperial Carson
                                                         Mobilehome Estates


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   DATE                     FROM             TO          DOCUMENT                     BASIS FOR PRIVILEGE

    3/29/88           Michele Beal   Harry Foisia   People v. Anton Berkovich          Attorney Client Privilege
                      Bagneris                      Imperial Carson
                                                    Mobilehome Estates with
                                                    legal opinions

                                                    Handwritten notes                  Attorney Client Privilege
                                                    regarding legal opinions
                                                    from City Attorney's
                                                    Office

    2/25/87                                         Handwritten Draft of Staff         Attorney Client Privilege
                                                    Report to Mobilehome
                                                    Park Rental Review Board
                                                    with handwritten notes
                                                    regarding Capital
                                                    Improvement Rent
                                                    Increase

    3/23/87                                         Draft Staff Report and       Deliberative Process Privilege; Mental
                                                    Application Material            Process Privilege Work Product
                                                                                                Privilege

    3/14/90                                         Draft Staff Report to The    Deliberative Process Privilege; Mental
                                                    Mobilehome Park Rent            Process Privilege Work Product
                                                    Review Board with                           Privilege
                                                    handwritten notes

                                                    Operating Expenses &         Deliberative Process Privilege; Mental
                                                    Income of 1989                  Process Privilege Work Product
                                                                                                Privilege


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  DATE                FROM            TO              DOCUMENT                      BASIS FOR PRIVILEGE

                                                Handwritten notes              Deliberative Process Privilege; Mental
                                                regarding staff's review of       Process Privilege Work Product
                                                residents' letters for                        Privilege
                                                accuracy

                                                Handwritten notes from         Deliberative Process Privilege; Mental
                                                8/14/91 meeting                   Process Privilege Work Product
                                                                                              Privilege

                                                Handwritten notes              Deliberative Process Privilege; Mental
                                                regarding calculations of         Process Privilege Work Product
                                                rents for units in various                    Privilege
                                                years from 1979-1988

                                                Handwritten notes              Deliberative Process Privilege; Mental
                                                regarding calculations of         Process Privilege Work Product
                                                general counsel                               Privilege

                                                Handwritten notes from         Deliberative Process Privilege; Mental
                                                1990 regarding rent,              Process Privilege Work Product
                                                utilities and property                        Privilege
                                                maintenance fees

                                                Handwritten notes from         Deliberative Process Privilege; Mental
                                                1988 & 1989 regarding             Process Privilege Work Product
                                                rent, utilities and property                  Privilege
                                                maintenance fees

                                                Operating Income &             Deliberative Process Privilege; Mental
                                                Expenses - per 1991               Process Privilege Work Product
                                                                                              Privilege

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   DATE               FROM            TO             DOCUMENT                   BASIS FOR PRIVILEGE

                                                Handwritten Notes of       Deliberative Process Privilege; Mental
                                                meeting and residents'        Process Privilege Work Product
                                                comments                                  Privilege

                                                1989 Operating Expenses    Deliberative Process Privilege; Mental
                                                with handwritten notes        Process Privilege Work Product
                                                                                          Privilege

                                                Handwritten notes          Deliberative Process Privilege; Mental
                                                regarding late charge         Process Privilege Work Product
                                                income, factors, etc.                     Privilege

                                                Handwritten notes          Deliberative Process Privilege; Mental
                                                regarding property            Process Privilege Work Product
                                                maintenance/amenities                     Privilege
                                                costs

                                                Handwritten notes          Deliberative Process Privilege; Mental
                                                regarding postages costs      Process Privilege Work Product
                                                                                          Privilege

                                                Handwritten notes          Deliberative Process Privilege; Mental
                                                regarding parking costs       Process Privilege Work Product
                                                                                          Privilege

    8/24/88                                     Handwritten notes          Deliberative Process Privilege; Mental
                                                regarding residents'          Process Privilege Work Product
                                                comments regarding rent                   Privilege
                                                mcrease
                                                                                                             r




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   DATE               FROM            TO              DOCUMENT                    BASIS FOR PRIVILEGE

                                                Handwritten calculations     Deliberative Process Privilege; Mental
                                                regarding fees, CPI, taxes      Process Privilege Work Product
                                                and comparable rents                        Privilege

                                                Handwritten notes with       Deliberative Process Privilege; Mental
                                                phone messages, meetings        Process Privilege Work Product
                                                and calculations                            Privilege

                                                1987 Operating Expenses      Deliberative Process Privilege; Mental
                                                & Income                        Process Privilege Work Product
                                                                                            Privilege

   11125/87                                     Handwritten notes            Deliberative Process Privilege; Mental
                                                regarding staff report          Process Privilege Work Product
                                                                                            Privilege

   11125/87                                     Staff Report to              Deliberative Process Privilege; Mental
                                                Mobilehome Park Rental          Process Privilege Work Product
                                                Review Board regarding                      Privilege
                                                general rent increase with
                                                handwritten notes

   11/25/87                                     Rental Review Board          Deliberative Process Privilege; Mental
                                                Staff Report Addendum           Process Privilege Work Product
                                                with notes                                  Privilege

   11/20/87                                     Handwritten Calculations     Deliberative Process Privilege; Mental
                                                regarding bringing El           Process Privilege Work Product
                                                Rancho up to Dominguez                      Privilege
                                                rents


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   10/22/87                                                  Handwritten comparisons     Deliberative Process Privilege; Mental
                                                             regarding park and units       Process Privilege Work Product
                                                                                                        Privilege

   4/18/84            Alberta Caldwell                       Owners Reasons for Rent     Deliberative Process Privilege; Mental
                                                             Increase & Figures             Process Privilege Work Product
                                                                                                        Privilege

                                                             Handwritten notes           Deliberative Process Privilege; Mental
                                                             regarding payroll,             Process Privilege Work Product
                                                             management and deb                         Privilege
                                                             service

                                                             Analysis of Carson          Deliberative Process Privilege; Mental
                                                             Gardens Rent Increase          Process Privilege Work Product
                                                             Petition                                   Privilege

     5/9/06           Ken Freschauf      Ken Baar, Anthony   Email regarding Carson      Deliberative Process Privilege; Mental
                                         Taylor, William     Gardens Cales.                 Process Privilege Work Product
                                         Wynder                                                         Privilege

    5/23/06           KenBaar            Ken Freschauf,      Email regarding drafts of   Deliberative Process Privilege; Mental
                                         Anthony Taylor      Carson Gardens report          Process Privilege Work Product
                                                                                                        Privilege

                                                             Carson Gardens              Deliberative Process Privilege; Mental
                                                             Calculations                   Process Privilege Work Product
                                                                                                        Privilege




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  DATE                     FROM                  TO               DOCUMENT                    BASIS FOR PRIVILEGE

                                                            Summary Comparison           Deliberative Process Privilege; Mental
                                                            Chart of Rent Increase          Process Privilege Work Product
                                                            Proposals for Carson                        Privilege
                                                            Gardens Trailer Lodge -
                                                            (1999 Expense Year)

   9/19/08        Anthony Taylor          KenBaar           Email regarding              Deliberative Process Privilege; Mental
                                                            submission of final             Process Privilege Work Product
                                                            versions of resolution and                  Privilege
                                                            acknowledgement of
                                                            receipt of same

    5/18/06           Anthony Taylor      KenBaar           Email chain regarding        Deliberative Process Privilege; Mental
                                                            suggested revisions to          Process Privilege Work Product
                                                            resolution                                  Privilege

    4/10/06           KenBaar             William Wynder,   Email regarding staff        Deliberative Process Privilege; Mental
                                          Ken Freschauf,    report review                   Process Privilege Work Product
                                          Anthony Taylor                                                Privilege

    6/28/06           Ken Baar, William   William Wynder,   Email chain regarding        Deliberative Process Privilege; Mental
                      Wynder, Anthony     Anthony Taylor    revisions to Carson             Process Privilege Work Product
                      Taylor, Ken                           Gardens Mobilehome Park                     Privilege
                      Freschauf                             Resolution

    1/29/08           Mark Alpert         Ken Freschauf     Letter regarding final             Attorney-Client Privilege
                                                            decision of Rent Board

                                                            Draft Declaration of               Attorney-Client Privilege
                                                            Kenneth Freschauf


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   DATE                    FROM                  TO                 DOCUMENT             BASIS FOR PRIVILEGE

                                                               Draft [Proposed]          Attorney-Client Privilege
                                                               Judgment Granting in
                                                               Park Peremptory Writ of
                                                               Mandamus

   7/21/08        William Wynder          Ken Freschauf,       Email regarding Carson    Attorney-Client Privilege
                                          Linda Mann, Jerome   Gardens Decision from
                                          Groomes, Ken Baar,   Court of Appeals
                                          Anthony Taylor,
                                          Sunny Soltani

    9/21/06           William Wynder      Ken Freschauf, Ken   Email regarding legal     Attorney-Client Privilege
                                          Baar, Anthony        arguments .
                                          Taylor

    3/27/06           William Wynder      Ken Freschauf, Ken   Email regarding meeting   Attorney-Client Privilege
                                          Baar, Anthony        schedule
                                          Taylor

    3/29/06           William Wynder      Ken Freschauf, Ken   Email regarding meeting   Attorney-Client Privilege
                                          Baar, Anthony        schedule
                                          Taylor

    1/31/06           William Wynder      Ken Freschauf, Ken   Email regarding Carson    Attorney-Client Privilege
                                          Baar, Anthony        Gardens Appeal
                                          Taylor

    9/21106           Kenneth Freschauf   William Wynder,      Email regarding Carson    Attorney-Client Privilege
                                          Anthony Taylor       Gardens Motion for new
                                                               hearing


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   10/16/06       Linda Y arvis   Ken Freschauf,     Email with Carson           Attorney-Client Privilege
                                  William Wynder,    Gardens Opposition
                                  Anthony Taylor

    4/6/06        Ken Freschauf   William Wynder,    Email regarding revisions   Attorney-Client Privilege
                                  KenBaar, Anthony   to Carson Gardens Staff
                                  Taylor             Report

                                                     Draft Summary               Attorney-Client Privilege
                                                     Comparison Chart of Rent
                                                     Increase Proposals for
                                                     Carson Gardens Trailer
                                                     Lodge- (1999 Expense
                                                     Year)

                                                     Draft Summary               Attorney-Client Privilege
                                                     Comparison Chart ofRent
                                                     Increase Proposals for
                                                     Carson Gardens
                                                     Mobilehome Park

                                                     Draft Summary               Attorney-Client Privilege
                                                     Comparison Chart of Rent
                                                     Increase Proposals for
                                                     Carson Gardens Trailer
                                                     Lodge- (1999 Expense
                                                     Year)

    8/22/01                                          Draft Staff Report to       Attorney-Client Privilege
                                                     Mobilehome Park Rental
                                                     Review Board

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   DATE                    FROM               TO                 DOCUMENT              BASIS FOR PRIVILEGE

    5/8/08        William Wynder       Sunny Soltani,       Email regarding Colony     Attorney-Client Privilege
                                       Anthony Taylor,      Cove Fair Return
                                       Ken Freschauf, Ken   Application
                                       Baar

    1/19/08       William Wynder       Ken Freschauf,       Draft of Carson Gardens    Attorney-Client Privilege
                                       Anthony Taylor       letter

    6/20/06           Ken Freschauf    William Wynder,      Email regarding            Attorney-Client Privilege
                                       Anthony Taylor       36690.005 Community
                                                            Asset Mgmt/Carson
                                                            Gardens Suppl. Writ/Case
                                                            # BS072845

    6/10/08           Ken Freschauf    Anthony Taylor        Email regarding Carson    Attorney-Client Privilege
                                                             Gardens 2007 MHP Rent
                                                            'Increase Application
                                                                  I




    11/1/08           William Wynder   Ken Freschauf, Ken   Email regarding Carson     Attorney-Client Privilege
                                       Baar, Anthony        Gardens III decision on
                                       Taylor               writ petition

    9/25/08           Ken Freschauf    William Wynder,      Email regarding            Attorney-Client Privilege
                                       Anthony Taylor       comments on Carson
                                                            Gardens document

    5/ 10/06          Ken Freschauf    Anthony Taylor,      Email regarding Legal      Attorney-Client Privilege
                                       Ken Baar             Analysis for Carson
                                                            Gardens' StaffReport



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    7/20/06             William Wynder     Ken Freschauf,    Email regarding              Attorney-Client Privilege
                                           Anthony Taylor    Objections to Discharge of
                                                             Writ and Request to Take
                                                             Judicial Notice

                                                             Draft Litigation History.    Attorney-Client Privilege
                                                             and the Board's Task at
                                                             this Proceeding

   12/12/06             Janet Byrne        Anthony Taylor,   Email regarding PRA          Attorney-Client Privilege
                                           Belinda Hayes,    Requests from HK&C
                                           Donyea Adams,
                                           Norberto Boceta

   12/13/06             N orberto Boceta   Anthony Taylor,   Email regarding PRA          Attorney-Client Privilege
                                           Belinda Hayes     Requests from HK&C

    5/24/06             Ken Freschauf      Anthony Taylor    Email chain regarding        Attorney-Client Privilege
                                                             closed session memo

     5/9/09             William Wynder     Ken Freschauf,    Email regarding              Attorney-Client Privilege
                                           Anthony Taylor    36690.005 Community
                                                             Asset Mgmt/Carson
                                                             Gardens Suppl. Writ/Case
                                                             # BS072845

    9/18/08             Ken Freschauf      Anthony Taylor    Email regarding              Attorney-Client Privilege
                                                             scheduling of meeting

    9/17/08             Ken Freschauf      Anthony Taylor    Email regarding              Attorney-Client Privilege
                                                             scheduling of meeting

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  DATE                     FROM               TO                 DOCUMENT               BASIS FOR PRIVILEGE

   5/15/06        Ken Freschauf        Anthony Taylor       Email regarding             Attorney-Client Privilege
                                                            scheduling of meeting

   5/12/06        William Wynder       Anthony Taylor,      Email regarding Hearing     Attorney-Client Privilege
                                       Ken Freschauf, Ken   regarding Carson
                                       Baar                 Garden' s Motion for
                                                            Remand Order

   6/22/06        Jen Freschauf        Anthony Taylor       Email regarding PRA         Attorney-Client Privilege
                                                            Requests from HK&C

    5/3/06        William Wynder       Anthony Taylor,      Email regarding Carson      Attorney-Client Privilege
                                       Ken Freschauf, Ken   Gardens Remand Order
                                       Baar

    9/25/08           Anthony Taylor   Ken Freschauf        Email regarding need for    Attorney-Client Privilege
                                                            Declaration

    3/17/06           William Wynder   Anthony Taylor,      Email chain regarding       Attorney-Client Privilege
                                       Ken Freschauf, Ken   scheduling of meeting
                                       Baar

   10/31/08           William Wynder   Anthony Taylor,      Email regarding decision    Attorney-Client Privilege
                                       Ken Freschauf, Ken   on writ petition and next
                                       Baar                 course of action

   10/30/08           William Wynder   Anthony Taylor,      Email regarding decision    Attorney-Client Privilege
                                       Ken Freschauf, Ken   on writ petition and next
                                       Baar                 course of action



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   DATE                 FROM              TO                 DOCUMENT               BASIS FOR PRIVILEGE

    11/3/08       William Wynder   Anthony Taylor,      Email regarding decision    Attorney-:Client Privilege
                                   Ken Freschauf, Ken   on writ petition and next
                                   Baar                 course of action

   9/18/08        William Wynder   Sunny Soltani,       Email regarding Indian      Attorney-Client Privilege
                                   Anthony Taylor,      Springs draft opinion and
                                   Ken Freschauf, Ken   scheduling of meeting
                                   Baar

   6/27/06        William Wynder   Anthony Taylor,      Email regarding draft of    Attorney-Client Privilege
                                   Ken Freschauf, Ken   Carson Resolution
                                   Baar

   12/22/08       Ken Freschauf    Anthony Taylor,      Email regarding info. for   Attorney-Client Privilege
                                   Williams Wynder      untimely filing of a
                                                        general rent increase
                                                        application

   11/15/06       William Wynder   Ken Freschauf,       Email regarding ruling in   Attorney-Client Privilege
                                   Anthony Taylor,      favor of the MRRB on all
                                   Jerome Groomes       grounds

    9/23/08       Ken Freschauf    Anthony Taylor       Email regarding PRK-        Attorney-Client Privilege
                                                        Hearings

    8/20/08       Eileen Lee       Anthony Taylor       Email regarding billing      Work Product Privilege
                                                        history

    8/20/08                                             July Ledger Report of        Work Product Privilege
                                                        Billing


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   DATE                 FROM                 TO              DOCUMENT               BASIS FOR PRIVILEGE

   10/23/08       Eileen Lee         Anthony Taylor,    Email chair regarding        Work Product Privilege
                                     Terry Vickrey,     Carson's copy bill
                                     Rhonda Villines,
                                     Candace Boyer

   11/22/06       William Wynder     Linda Y arvis,     Email chain regarding        Work Product Privilege
                                     Anthony Taylor     11/3/06 Carson Gardens
                                                        Transcript

                                                        May to August Ledger         Work Product Privilege
                                                        Report of Billing

                                                        November 2007- January       Work Product Privilege
                                                        2008 Ledger Report of
                                                        Billing

    3/7/08        Fred Galante       Attorneys          Email regarding Carson       Work Product Privilege
                                                        Audit

    10/4/06       Linda Y arvis      Anthony Taylor,    Email regarding Ex Parte     Work Product Privilege
                                     William Wynder     Notice

    6/29/06       Linda Y arvis      Anthony Taylor     Email regarding Carson       Work Product Privilege
                                                        Gardens completed filing
                                                        in Dept. 85

   10/13/06       Kimberly Bradley   Anthony Taylor,    Email regarding Motion to    Work Product Privilege
                                     Linda Y arvis      Disqualify opposition due
                                                        date



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   DATE                     FROM              TO               DOCUMENT                BASIS FOR PRIVILEGE

    7/9/07            Linda Y arvis    William Wynder,    Email regarding and           Work Product Privilege
                                       Anthony Taylor,    Notice from Court of
                                       Kimberly Bradley   Appeal

    4/5/06            William Wynder   Anthony Taylor     Email regarding and Draft     Work Product Privilege
                                                          of Proposed Remand
                                                          Order

    9/4/07            William Wynder   Anthony Taylor     Email regarding receipt of    Work Product Privilege
                                                          Carson Gardens' brief

    8/30/07           William Wynder   Anthony Taylor     Email regarding deadlines     Work Product Privilege
                                                          of Carson Gardens' brief

    7/19/07           William Wynder   Anthony Taylor     Email regarding receipt of    Work Product Privilege
                                                          Carson Gardens' clerks
                                                          and reporter's transcripts

    5/2/06            William Wynder   Anthony Taylor     Email regarding date of       Work Product Privilege
                                                          hearing

    9/27/06           JeffMalawy       William Wynder,    Email regarding status of     Work Product Privilege
                                       Anthony Taylor     brief for Carson Gardens

    9/30/08           William Wynder   Anthony Taylor     Email regarding review of     Work Product Privilege
                                                          brief




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   DATE                       FROM                 TO             DOCUMENT               BASIS FOR PRIVILEGE

    1/24/06             William Wynder     Attorneys        Email regarding and           Work Product Privilege
                                                            article regarding Court's
                                                            reversal of rent increases
                                                            at Carson Mobilehome
                                                            Park

    7114/06             Kimberly Bradley   Anthony Taylor   Email regarding Carson        Work Product Privilege
                                                            Gardens Privilege Log

    4/19/06             Linda Y arvis      Anthony Taylor   Email regarding filing of     Work Product Privilege
                                                            Carson Gardens

   10/15/07             William Wynder     Anthony Taylor   Email regarding Carson        Work Product Privilege
                                                            Gardens' Appellate Order

   10/16/08             Linda Y arvis      Anthony Taylor   Email regarding Joint         Work Product Privilege
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     5/5/08             William Wynder     Glen Tucker      Email regarding Cypress       Work Product Privilege
                                                            and Carson Litigation
                                                            Matters

     2/8/07             Christy Lopez      Anthony Taylor   Email regarding and case      Work Product Privilege
                                                            regarding legal research

     6/5/06             William Wynder     Anthony Taylor   Email regarding               Work Product Privilege
                                                            settlement proposal

    6/23/06             William Wynder     Anthony Taylor   Email regarding proposed      Work Product Privilege
                                                            resolution


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   DATE                     FROM               TO             DOCUMENT                BASIS FOR PRIVILEGE

    6/5/06        William Wynder       Anthony Taylor    Email regarding possible      Work Product Privilege
                                                         offer

    1/29/08       William Wynder       Anthony Taylor,   Email regarding and letter    Work Product Privilege
                                       Sunny Soltani     regarding Carson Gardens
                                                         2007 MHP Rent Increase
                                                         Application

    8/30/07       William Wynder       Anthony Taylor    Email regarding Court of      Work Product Privilege
                                                         Appeal Notification for
                                                         B196223

    7/21/08           William Wynder   Attorneys         Email regarding and           Work Product Privilege
                                                         Appellate Decision

   11/16/06           William Wynder   Anthony Taylor    Email regarding Carson        Work Product Privilege
                                                         Gardens Memo

    1/25/06           William Wynder   Anthony Taylor    Email regarding and           Work Product Privilege
                                                         summary of Carson
                                                         Gardens' rent options

    8/20/08           Linda Y arvis    Anthony Taylor    Email regarding and New       Work Product Privilege
                                                         Stipulation

    7/22/08           William Wynder   Anthony Taylor    Email regarding and           Work Product Privilege
                                                         Carson Gardens Web Page
                                                         Article




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   DATE                     FROM              TO              DOCUMENT                BASIS FOR PRIVILEGE

   3/16/06        William Wynder       Anthony Taylor    Email regarding               Work Product Privilege
                                                         analyzation of judge's
                                                         ruling

    10/4/06       William Wynder       Anthony Taylor    Email regarding California    Work Product Privilege
                                                         Property Rights Journal
                                                         Huntington Beach Mobile
                                                         Home Park Conversion

   12/11/08           Dave Aleshire    Glen Tucker,      Email regarding and           Work Product Privilege
                                       Anthony Taylor,   January seminar flyer
                                       Wesley Miliband

    7/31107           Deanne Castore   Anthony Taylor    Email regarding and           Work Product Privilege
                                                         Proposed Civil Gang
                                                         Injunction - V arrio
                                                         Hawaiian Gardens

    3/22/06           William Wynder   Anthony Taylor    Email regarding and Insert    Work Product Privilege
                                                         for 32006 Carson Gardens
                                                         Response Letter

     8/7/07           Deanne Castore   Anthony Taylor    Email regarding Magin         Work Product Privilege
                                                         Civil Language

    8/15/07           Linda Y arvis    William Wynder,   Email regarding and           Work Product Privilege
                                       Anthony Taylor,   appellate filing schedule
                                       Sunny Soltani

     2/8/07           Fred Galante     Attorneys         Email regarding               Work Product Privilege
                                                         Montelello vote

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                                                #:1582




  DATE                      FROM             TO              DOCUMENT              BASIS FOR PRIVILEGE

   5/30/08        William Wynder      Anthony Taylor    Email regarding New         Work Product Privilege
                                                        Carson Gardens Writ Case

   9/20/07        William Wynder      Anthony Taylor    Email regarding Padilla     Work Product Privilege
                                                        and Carson Gardens

   4/27/06        Linda Y arvis       Anthony Taylor    Email regarding and         Work Product Privilege
                                                        Motion for Remand Order
                                                        &judgment

   6/29/06            Linda Y arvis   Anthony Taylor    Email regarding and         Work Product Privilege
                                                        Carson Gardens Return on
                                                        Supplemental Writ of
                                                        Mandate with exhibits

   10/23/06           Linda Y arvis   Anthony Taylor    Email regarding and         Work Product Privilege
                                                        Carson Gardens Reply
                                                        Motion to Enforce
                                                        Judgment and Reply to
                                                        Opposing Motion and
                                                        exhibits

    9/20/06           Linda Y arvis   William Wynder,   Email regarding and         Work Product Privilege
                                      Anthony Taylor    Carson Gardens Motion to
                                                        Enforce Judgment

    7/20/06           Linda Y arvis   William Wynder,   Email regarding and         Work Product Privilege
                                      Anthony Taylor    Carson Gardens Notice of
                                                        Objection ofWrit and
                                                        Request to Take Judicial
                                                        Notice

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                                                 #:1583




   DATE                     FROM              TO              DOCUMENT                BASIS FOR PRIVILEGE

   11128/06           Linda Y arvis    William Wynder,   Email regarding and           Work Product Privilege
                                       Anthony Taylor    Carson Gardens Motion
                                                         for Reconsideration &
                                                         Proposed Order and
                                                         exhibits

   11/27/07           Linda Y arvis    William Wynder,   Email regarding and           Work Product Privilege
                                       Anthony Taylor    Carson Gardens Reply
                                                         Brief

    7/25/06           Linda Y arvis    Anthony Taylor    Email regarding and           Work Product Privilege
                                                         Carson Gardens Report

    12/3/07           Linda Y arvis    William Wynder,   Email regarding and           Work Product Privilege
                                       Anthony Taylor    Carson Gardens Appeal

    12/3/07           Linda Y arvis    William Wynder,   Email regarding and           Work Product Privilege
                                       Anthony Taylor    Carson Gardens Letter of
                                                         Withdraw of Adjustment
                                                         Under Protect

     6/7/07           William Wynder   Anthony Taylor    Email regarding Litigation    Work Product Privilege
                                                         Report

   10/10/06           William Wynder   Anthony Taylor,   Email regarding board         Work Product Privilege
                                       Dawn Honeywell    member contact
                                                         information

    9/20/06           William Wynder   Anthony Taylor    Email regarding Carson        Work Product Privilege
                                                         Gardens Motion to
                                                         Enforce the Writ

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                                                 #:1584




   DATE                     FROM              TO             DOCUMENT               BASIS FOR PRIVILEGE

    7/1/06            William Wynder   Anthony Taylor   Email regarding              Work Product Privilege
                                                        scheduling

    4/18/06           William Wynder   Anthony Taylor   Email regarding review       Work Product Privilege
                                                        and comments

    3/31/06           Linda Y arvis    Anthony Taylor   Email regarding Court of     Work Product Privilege
                                                        Appeal record

    10/4/06           William Wynder   Anthony Taylor   Email regarding board        Work Product Privilege
                                                        member contact
                                                        information

    10/3/06           William Wynder   Anthony Taylor   Email regarding legal        Work Product Privilege
                                                        strategy

    6/20/06           William Wynder   Anthony Taylor   Email regarding draft        Work Product Privilege
                                                        resolution

    5120/06           William Wynder   Anthony Taylor   Email regarding attorneys    Work Product Privilege
                                                        fees for motion for
                                                        remand hearing

   10/18/07           William Wynder   Anthony Taylor   Email regarding and          Work Product Privilege
                                                        Revised appellate brief

   10/16/07           William Wynder   Anthony Taylor   Email regarding Palm         Work Product Privilege
                                                        Springs case




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                                                  #:1585




   DATE                       FROM                 TO             DOCUMENT               BASIS FOR PRIVILEGE

    10/9/07             Dawn Honeywell   Anthony Taylor     Email regarding housing       Work Product Privilege
                                                            issue and rent review
                                                            board
                                               -
    9/21/06             William Wynder   Anthony Taylor     Email regarding Motion to     Work Product Privilege
                                                            Disqualify firm

    9/19/06             William Wynder   Anthony Taylor     Email regarding counsel's     Work Product Privilege
                                                            request for stipulation

   10/22/08             William Wynder   Anthony Taylor     Email regarding Response      Work Product Privilege
                                                            to Evidentiary Objections

    6/29/08             William Wynder   Anthony Taylor      Email regarding Return on    Work Product Privilege
                                                            ·Supplemental Writ

   12/11106             William Wynder   Anthony Taylor     Email regarding PRA           Work Product Privilege
                                                            Request

 . 11115/06             William Wynder   Anthony Taylor ·   Email regarding ruling on     Work Product Privilege
                                                            Carson Gardens Motion
                                                            Requiring any Further
                                                            Rent Increase

     7/4/07             Deanne Castore   Anthony Taylor     Email regarding and draft     Work Product Privilege
                                                            complaint regarding
                                                            Hawaiian Gardens

    6/26/08             Linda Y arvis    Anthony Taylor     Email regarding and           Work Product Privilege
                                                            redline of Carson
                                                            Resolution

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   DATE                    FROM                TO            DOCUMENT               BASIS FOR PRIVILEGE
                                                                          ~




   6/23/06            Doug Haubert     Attorneys        Email regarding Rent         Work Product Privilege
                                                        increase approved for
                                                        Carson mobile home park

    8/10/06           William Wynder   Anthony Taylor   Email regarding and          Work Product Privilege
                                                        Response to Carson
                                                        Gardens Objections to
                                                        Writ Return

    4/6/06            William Wynder   Anthony Taylor   Email regarding revisions    Work Product Privilege
                                                        to Carson Gardens
                                                        Remand Order

    8/26/07           Deanne Castore   Anthony Taylor   Email regarding VHG          Work Product Privilege
                                                        Injunction

   11114/08           William Wynder   Anthony Taylor   Email regarding proposed     Work Product Privilege
                                                        revisions and settlement
                                                        offer

   10/30/08           William Wynder   Anthony Taylor   Email regarding Carson       Work Product Privilege
                                                        Gardens III decision on
                                                        writ petition

    9/26/08           William Wynder   Anthony Taylor   Email chain regarding        Work Product Privilege
                                                        draft opposition brief

    8/15/07           Rick Hicks       Anthony Taylor   Email regarding Gang         Work Product Privilege
                                                        Injunction



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   DATE                     FROM                TO              DOCUMENT                    BASIS FOR PRIVILEGE

    9/26/07           Tracy Rinauro     Anthony Taylor     Email regarding Gang               Work Product Privilege
                                                           Injunction

    6/7/06            Williams Wynder   Doug Haubert       Email regarding Judge              Work Product Privilege
                                                           Janavs

   2/16/94            Rochelle Browne   James D. Mellein   Letter regarding General          Attorney-Client Privilege
                                                           Rent Increase Application

    2/1194            Rochelle Browne   James Mellein      Internal Memorandum               Attorney-Client Privilege
                                                           regarding Rent Increase
                                                           Application by Imperial
                                                           Carson - Debt Service and
                                                           Fair Return Issues

    2/2/94            Shelly Browne     Jim Mellein        Fax Cover Sheet                   Attorney-Client Privilege
                                                           forwarding Internal
                                                           Memorandum

    9/18/95           Rochelle Browne   Adolfo Reyes       Letter regarding Lea              Attorney-Client Privilege
                                                           Associates Invoices and
                                                           Invoice

     6/1195           Rochelle Browne   Sheri Repp and     Letter regarding Shangri          Attorney-Client Privilege
                                        Adolfo Reyes       Lodge Rent Increase
                                                           Application

    5/19/95           John G. Ellis     Rochelle Brown,    Letter regarding            Attorney-Client Privilege; Deliberative
                                        Esq.               Consulting Services           Process Privilege; Mental Process
                                                                                                     Privilege


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   DATE                     FROM               TO                  DOCUMENT                     BASIS FOR PRIVILEGE

   6/15/95            Rochelle Browne   Adolfo Reyes          Fax Cover Sheet              Attorney-Client Privilege; Deliberative
                                                              transmitting                   Process Privilege; Mental Process
                                                              correspondence and                         Privilege
                                                              correspondence regarding
                                                              Shangri Lodge Rent
                                                              Increase Application and
                                                              Consulting Services

    6/19/15           Rochelle Browne   Adolfo Reyes          Letter regarding Shangri     Attorney-Client Privilege; Deliberative
                                                              Lodge Rent Increase            Process Privilege; Mental Process
                                                              Application w/enclosures                   Privilege

    8/3/95            Lea Associates    Rochelle Browne       Invoice for completion of    Attorney Client; Deliberative Process
                                                              rate of return analysis       Privilege; Mental Process Privilege

    1116/95           Rochelle Browne   Mayor and Members     Memorandum regarding               Attorney-Client Privilege
                                        of the City Council   Pending Litigation

    7/19/95           John G. Ellis     Patrick Brown         Letter regarding             Deliberative Process Privilege; Mental
                                                              Consulting Services                     Process Privilege

     817/95           AR                James Mellein         Note regarding calculation   Deliberative Process Privilege; Mental
                                                              of value                                Process Privilege

   11/16/95           AR                Jim                   Note regarding discussion    Attorney-Client Privilege; Deliberative
                                                              with S. Browne                 Process Privilege; Mental Process
                                                                                                         Privilege

     6/1/95           Rochelle Browne   Sheri Repp and        Letter regarding Shangri     Attorney-Client Privilege; Deliberative
                                        Adolfo Reyes          Lodge Rent Increase            Process Privilege; Mental Process
                                                              Application                                Privilege

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  DATE                     FROM                 TO            DOCUMENT                     BASIS FOR PRIVILEGE

    817/95        Rochelle Browne       Adolfo Reyes    Letter regarding                    Attorney-Client Privilege
                                                        Mobilehome Park Rental
                                                        Review Board

   10/20/95       Rochelle Browne       James Mellein   Letter regarding Litigation         Attorney-Client Privilege
                                                        with Fax Cover Sheet

   7/25/95        John G. Ellis         Patrick Brown   Amended Analysis              Deliberative Process Privilege; Mental
                                                                                                 Process Privilege

    5/16/95           Adolfo Reyes      Jim Mellein     Regarding Shangri Lodge       Deliberative Process Privilege; Mental
                                                        Mobilehome Park                          Process Privilege

    7/19/94                                             Calculator tapes and notes    Deliberative Process Privilege; Mental
                                                        with various figures and                 Process Privilege
                                                        calculations

                                                        Staff Report Calculations     Deliberative Process Privilege; Mental
                                                        and various documents                    Process Privilege
                                                        with hand-written notes

                                                        Copies of pages from          Deliberative Process Privilege; Mental
                                                        review copies of                         Process Privilege
                                                        correspondence with
                                                        hand-written notes and
                                                        calculations

    9/23/92           Rochelle Browne   MPRRB           Memorandum regarding          Attorney-Client Privilege; Deliberative
                                                        Legal Interpretation            Process; Mental Process Privilege



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   DATE                    FROM                TO               DOCUMENT                     BASIS FOR PRIVILEGE

   12/11/96                                                Staff Report to MPRRV        Deliberative Process Privilege; Mental
                                                                                                   Process Privilege

    1/30/97       Patrick D. Brown      Mayor Mitoma and   Internal Memorandum re       Deliberative Process Privilege; Mental
                                        City Council       MRRB Hearing of 1/22/97                 Process Privilege
                                        Members

     1/9/97           Rochelle Browne   James Mellein      Fax Cover Sheet and Draft    Attorney-Client Privilege; Deliberative
                                                           Staff Report                   Process; Mental Process Privilege

   10/17/96           Rochelle Browne   James Mellein      Letter regarding Rent        Attorney-Client Privilege; Deliberative
                                                           Increase Application           Process; Mental Process Privilege

    6/20/96           Rochelle Browne   James Mellein      Letter regarding Rent              Attorney-Client Privilege
                                                           Increase Application

                                                           Calculator tapes and hand-   Deliberative Process Privilege; Mental
                                                           written notes with various              Process Privilege
                                                           figures and calculations

    2/5/97            Rochelle Browne   Mayor Michael      Memorandum regarding               Attorney-Client Privilege
                                        Mitoma             Rent Increase

                                                           Copies of pages from         Deliberative Process Privilege; Mental
                                                           review copies of                        Process Privilege
                                                           correspondence with
                                                           hand-written notes and
                                                           calculations




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   DATE               FROM            TO             DOCUMENT                     BASIS FOR PRIVILEGE

                                                Hand-written notes           Deliberative Process Privilege; Mental
                                                regarding discussions with              Process Privilege
                                                counsel and copies of
                                                pages from review copies
                                                of correspondence and
                                                various documents with
                                                hand-written notes and
                                                calculations




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                                             #:1592




                    1                                   PROOF OF SERVICE
                    2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                    3       At the time of service, I was over 18 years of age and not a party to this action. I
                      am employed in the County of Los Angeles, State oCCalifomia. My business address
                    4 is 2361 Rosecrans Ave., Suite 475, El Segundo, CA 90245.
                    5       On October 26, 2015, I served true copies of the following document(s)
                      described as DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF
                    6 COLONY COVE PROPERTIES, LLC'S REQUEST FOR PRODUCTION OF
                      DOCUMENTS PROPOUNDED ON DEFENDANT CITY QF CARSON, SET
                    7 NO. ONE on the interested parties in this action as follows:
                    8                            SEE ATTACHED SERVICE LIST
                    9          BY MAIL: I enclosed the document(s) in a sealed envelope or package
                        addressed to the persons at the addresses listed in the Service List and placed the
                   10   envelope for collection and mailing, following our ordinary business practices. I am
                        readily familiar with the practice of Aleshire & Wynder, LLP for collecting and
                   11   2rocessing correspondence for mailing. On the same day that correspondence is p1aced
c-25 :lp., "-;::        lor collectiOn and mailing, it is deposited in the ordinary course of business with the
~~ -'              12   Un~ted States Postal S~rvice, in a sealed envelope .~ith postage fully: prepaid. I am a
~~ ·,;                  resident or employed m the county where the mallmg occurred. The envelope was
                        placed in the mail at El Segundo, California.
530 '"        >·   13
w~
~  ~~              14        I declare under penalty of perjury under the laws of the United States of America
~             ~       that the foregoing is true and correct and that I am employed in the office of a member
<C~ :              15 of the bar of this Court at whose direction the service was made.



I
                   16            Executed on October 26, 2015, at El Segundo, California.
                   17
                   18
                                                                     DIANE N. BRANCHE
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                        01007.0504/2698431                        -1-               Case No . CV14-03242 PSG (PJWx)
                           DEFENDANT CITY OF CARSON ' S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                         REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


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                                         #:1593




               1                                          SERVICE LIST
                                         Colony Cove Properties, LLC v. City of Carson, et al.
               2                                     Case No. CV14-03242 PSG
               3
                 Richard H. Close, Esq.                                Attorneys for Plaintiff
               4 Thomas W. Casparian, Esq.
                 Yen N. Hope Esq.                                      Colony Cove Properties, LLC
               5 GILCHRIST & RUTTER
                 1299 Ocean Avenue, Suite 900
               6 Santa Monica, CA 90401
                 Tel: (31 0) 393-4000
               7 Fax: (31 0))94-4700
                 rclose    Ilchristrutter.com
               8 teas anan     1 c nstrutter.com
                           1 c nstrutter.com
               9
              10
              11                                                       Attorneys for Plaintiff
c.25 ~;:lc'
pJ~-          12                                                       Colony Cove Properties, LLC
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                   01007,0504/269843.1                     -2-               Case No. CV14-03242 PSG (PJWx)
                      DEFENDANT CITY OF CARSON'S RESPONSES TO PLAINTIFF COLONY COVE PROPERTIES, LLC'S
                                    REQUEST FOR PRODUCTION OF DOCUMENTS , SET NO. ONE


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                  EXHIBIT 3
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                                           #:1595
Yen Hope

From:                                          Jeff M. Malawy <jmalawy@awattorneys.com>
Sent:                                          Friday, January 08, 2016 5:42 PM
To:                                            Yen Hope
Cc:                                            June S. Ailin; Stephen R. Onstot; Margaret Rose; Lara Leitner; Thomas Casparian;
                                               'dtully@omm.com'; 'Close, Matthew W.'
Subject:                                       RE: Colony Cove v. Carson


Yen -- Baar’s meeting in San Jose is Wednesday, January 27. Based on his schedule and A&W’s schedule, the best
days for his deposition are February 1, 2, or 3. His deposition can be taken in the LA area -- in your Santa Monica office
or in downtown. Do any of those dates work for your side?

Also, I have unfortunate news to report about Jim Dear’s deposition. Mr. Dear is no longer available on January 22. This
is an inconvenience for us as well, as Bill Wynder had planned to be here that day from Ohio. We are trying to get a list of
available dates from Mr. Dear for the weeks of January 18, January 25, and February 1.

Jeff Malawy
Aleshire & Wynder, LLP | 18881 Von Karman Ave., Suite 1700, Irvine, CA 92612
Tel: (949) 223-1170 | Dir: (949) 250-5422 | Fax: (949) 223-1180 | jmalawy@awattorneys.com | awattorneys.com
This email and any files transmitted with it may contain privileged or otherwise confidential information. If you are not the intended recipient, or believe that you
may have received this communication in error, please advise the sender via email and delete the email you received.




From: Jeff M. Malawy
Sent: Wednesday, December 30, 2015 7:45 PM
To: 'Yen Hope'
Cc: June S. Ailin; Stephen R. Onstot; Margaret Rose; Lara Leitner; Thomas Casparian; dtully@omm.com; Close, Matthew
W.
Subject: RE: Colony Cove v. Carson

Yen -- Mr. Dear is confirmed for January 22 at 10 a.m. in your Santa Monica office. I will provide you available dates for
Dr. Baar by January 10.

Our proof of service indicates John Neet was served on November 30, 2015. The process server left the subpoena with
the receptionist at his office in Murrieta.

We have not been able to get anywhere with GE. It is unlikely we will schedule another GE PMQ deposition.

Jeff Malawy
Aleshire & Wynder, LLP | 18881 Von Karman Ave., Suite 1700, Irvine, CA 92612
Tel: (949) 223-1170 | Dir: (949) 250-5422 | Fax: (949) 223-1180 | jmalawy@awattorneys.com | awattorneys.com
This email and any files transmitted with it may contain privileged or otherwise confidential information. If you are not the intended recipient, or believe that you
may have received this communication in error, please advise the sender via email and delete the email you received.




From: Yen Hope [mailto:yhope@gilchristrutter.com]
Sent: Tuesday, December 29, 2015 1:32 PM
To: Jeff M. Malawy
Cc: June S. Ailin; Stephen R. Onstot; Margaret Rose; Lara Leitner; Thomas Casparian; mclose@omm.com;
dtully@omm.com; Close, Matthew W.
Subject: RE: Colony Cove v. Carson

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                                                                              Exhibit 3
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                                            #:1596
Hi Jeff,

Thank you for accommodating our request regarding Detling.

With respect to Dear and Baar, I don’t see how the ball is in our court. You had stated: “It seems to me the
best solution is to confirm Dear for January 22 and leave the Baar date floating until at the latest January 10
(likely earlier).” Accordingly, we are confirming Dear for the 22nd and asking that you advise us of Mr. Baar's
availability to be deposed, in our Santa Monica office, by the end of next week. I believe the ball is therefore
in your court to advise us of Mr. Baar’s availability.

Lastly, please me know if you have successfully served Neet. We are reaching out to him, but have not yet
been able to confirm.




Thanks,


Yen Hope, Esq.
Gilchrist & Rutter


From: Jeff M. Malawy [mailto:jmalawy@awattorneys.com]
Sent: Tuesday, December 29, 2015 12:24 PM
To: Yen Hope
Cc: June S. Ailin; Stephen R. Onstot; Margaret Rose; Lara Leitner; Thomas Casparian; mclose@omm.com;
dtully@omm.com
Subject: RE: Colony Cove v. Carson

Hi Yen. Thank you for confirming Detling. An 11 am start time is good for us.

On Dear and Baar, I thought the ball was in your court. See my attached December 17 email to Tom. Let me know if that
proposal is ok with you.

Also, I proposed several January dates for the John Neet deposition back on December 16. They were January 7, 8, 11,
13, 14. Let me know as soon as possible which date is best for you and Mr. Neet.

I will get back to you on the GE PMQ.

Thank you.

Jeff Malawy
Aleshire & Wynder, LLP | 18881 Von Karman Ave., Suite 1700, Irvine, CA 92612
Tel: (949) 223-1170 | Dir: (949) 250-5422 | Fax: (949) 223-1180 | jmalawy@awattorneys.com | awattorneys.com
This email and any files transmitted with it may contain privileged or otherwise confidential information. If you are not the intended recipient, or believe that you
may have received this communication in error, please advise the sender via email and delete the email you received.




From: Yen Hope [mailto:yhope@gilchristrutter.com]
Sent: Monday, December 28, 2015 7:31 PM
To: Jeff M. Malawy


                                                                                   2

                                                                              Exhibit 3
                                                                              Page 75
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                                            #:1597
Cc: Thomas Casparian; mclose@omm.com; dtully@omm.com
Subject: Colony Cove v. Carson

Hi Jeff,

We have confirmed that Mr. Detling is available to be deposed on January 7th at Aleshire & Wynder’s Irvine
office. However, we request that the deposition be pushed back to 11 am. Please let me know if you are
amenable to the request.

With respect to Mr. Dear, as you know, we have rescheduled his deposition as an accommodation to Mr.
Wynder. Please confirm that Mr. Dear will be available for a deposition on January 22nd at 10 am in our Santa
Monica office.

Relatedly, we are still waiting for confirmation of Mr. Baar's deposition date, previously scheduled for January
22nd. Please advise us of Mr. Baar's availability to be deposed, in our Santa Monica office, by the end of next
week.


Lastly, please let me know if you have made any progress in scheduling a deposition for GE's PMQ. We have
still not received any documents from GE in response to our document subpoena and they have not responded
to any of our recent outreach attempts.

Thanks,



Yen Hope, Esq.
Gilchrist & Rutter
1299 Ocean Avenue, Suite 900
Santa Monica, CA 90401
Tel:      (310) 393-4000
Fax:      (310) 394-4700




                                                        3
                                                     Exhibit 3
                                                     Page 76
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                                 #:1599


      JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page ·1
      COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

·1· · · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · ·CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT

·3

·4

·5·   ·COLONY COVE PROPERTIES, LLC· ·)
· ·   ·a Delaware limited liability· )
·6·   ·company,· · · · · · · · · · · )
· ·   · · · · · · · · · · · · · · · ·)
                            JAMES F.· GOLDSTEIN,· on 12/18/2015
·7·   · · · · · · · Plaintiff,· · · ·)
                            COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

· ·   · · · · · · · · · · · · · · · ·)
·8·   · · · · vs.· · · · · · · · · · ) Case No. CV14-03242 PSG (PJWx)
· ·   · · · · · · · · · · · · · · · ·)
·9·   ·CITY OF CARSON, a municipal· ·)
· ·   ·corporation; CITY OF CARSON· ·)
10·   ·MOBILEHOME PARK RENTAL REVIEW )
· ·   ·BOARD, a public administrative)
11·   ·body; and DOES 1 to 10,· · · ·)
· ·   ·inclusive,· · · · · · · · · · )
12·   · · · · · · · · · · · · · · · ·)
· ·   · · · · · · · Defendants.· · · ) (Pages 1 - 197)
13·   ·______________________________)

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19· · · · · · · · VIDEOTAPED DEPOSITION OF
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20· · · · · · · · · · JAMES F. GOLDSTEIN

21· · · · · · · · Friday, December 18, 2015

22

23

24· ·Reported by:· · Irene Nakamura, RPR, CLR
· · · · · · · · · · ·CA CSR No. 9478, HI CSR No. 496
25· · · · · · · · · ·NV CSR No. 893, WA CCR No. 3177


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                                                            Exhibit 4
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                                 #:1600


      JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 2
      COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

·1· · · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · ·CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT

·3

·4
· ·   ·COLONY COVE PROPERTIES, LLC,· )
·5·   ·a Delaware limited liability· )
· ·   ·company,· · · · · · · · · · · )
·6·   · · · · · · · · · · · · · · · ·)
· ·   · · · · · · · Plaintiff,· · · ·)
                            JAMES F.· GOLDSTEIN,· on 12/18/2015
·7·   · · · · · · · · · · · · · · · ·)
                            COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

· ·   · · · · vs.· · · · · · · · · · ) Case No. CV14-03242 PSG (PJWx)
·8·   · · · · · · · · · · · · · · · ·)
· ·   ·CITY OF CARSON, a municipal· ·)
·9·   ·corporation; CITY OF CARSON· ·)
· ·   ·MOBILEHOME PARK RENTAL REVIEW )
10·   ·BOARD, a public administrative)
· ·   ·body; and DOES 1 to 10,· · · ·)
11·   ·inclusive,· · · · · · · · · · )
· ·   · · · · · · · · · · · · · · · ·)
12·   · · · · · · · Defendants.· · · )
· ·   ·______________________________)
13

14

15

16· · · · · · Videotaped Deposition of James F.

17· ·Goldstein, taken on behalf of Defendants, at

18· ·2361 Rosecrans Avenue, Suite 475, El Segundo,

19· ·California, commencing at 10:01 a.m., Friday,
                                                       323.393.3768 • 888.99.iDepo
                                                        www.iDepoReporters.com
20· ·December 18, 2015, before Irene Nakamura, Certified

21· ·Shorthand Reporter for the State of California

22· ·No. 9478, RPR, CLR,Hawaii CSR No. 496, Nevada CSR

23· ·No. 893, Washington CCR No. 3177.

24

25


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                                 #:1601


      JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 3
      COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

·1· ·APPEARANCES:

·2

·3· ·For Plaintiff:

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·6·   ·   ·   ·Santa Monica, California· 90401
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                            JAMES F.· GOLDSTEIN,· on 12/18/2015
·7·   ·   ·   ·tcasparian@gilchristrutter.com
                            COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.




·8

·9· ·For Defendants:

10·   ·   ·   ·ALESHIRE & WYNDER, LLP
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14· · · · · ·- and -

15·   ·   ·   ·ALESHIRE & WYNDER, LLP
· ·   ·   ·   ·BY:· JUNE S. AILIN, ESQ.
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                                                        www.iDepoReporters.com
20

21· ·Also Present:

22· · · ·Dennis Davis, Videographer

23

24

25


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                                                            Exhibit 4
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        JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 97
        COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

    ·1· ·BY MS. AILIN:                                                                                13:44:49
    ·2· · · ·Q.· ·And this is a document with page numbers                                            13:45:03
    ·3· ·CC002691 through CC002754.· And it has a cover                                               13:45:05
    ·4· ·page on it that says "Loan Agreement Between Colony                                          13:45:14
    ·5· ·Cove Properties, LLC as Borrower and General                                                 13:45:20
    ·6· ·Electric Capital Corporation as Lender," dated                                               13:45:23
                              JAMES F.· GOLDSTEIN,· on 12/18/2015
    ·7· ·March 30, 2006.      COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.                       13:45:26
    ·8· · · · · · And do you recall seeing this document                                              13:45:32
    ·9· ·before, Mr. Goldstein?                                                                       13:45:34
    10· · · ·A.· ·Yes.                                                                                13:45:35
    11· · · ·Q.· ·And on page 2731, is that your signature?                                           13:45:35
    12· · · ·A.· ·Yes.                                                                                13:45:45
    13· · · ·Q.· ·And on page 2716, there's a paragraph 8.4                                           13:45:57
    14· ·that has the title "Operation Maintenance                                                    13:46:13
    15· ·Inspection Conversion."· And in that paragraph on                                            13:46:17
    16· ·the next page, 2717, there are some provisions                                               13:46:22
    17· ·related to a condominium conversion of Colony Cove                                           13:46:28
    18· ·Mobile Estates.                                                                              13:46:42
    19· · · · · · Were you already planning to convert                                                13:46:42
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    20· ·Colony Cove to a condominium before you purchased                                            13:46:45
    21· ·it?                                                                                          13:46:49
    22· · · · · · MR. CASPARIAN:· Objection; vague and                                                13:46:49
    23· ·ambiguous.                                                                                   13:46:54
    24· · · · · · When you say "convert," do you mean                                                 13:46:54
    25· ·seek to --                                                                                   13:46:56


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·                                                             Exhibit 4
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        JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 98
        COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

    ·1· · · · · · MS. AILIN:· Subdivide it.                                                           13:46:57
    ·2· · · · · · MR. CASPARIAN:· But do you mean seek to                                             13:46:58
    ·3· ·obtain the map, or do you mean proceed to actually                                           13:47:00
    ·4· ·sell lots?                                                                                   13:47:02
    ·5· · · · · · MS. AILIN:· Seek to obtain the map, the                                             13:47:03
    ·6· ·subdivision approval.· So let me re-ask that.                                                13:47:07
                              JAMES F.· GOLDSTEIN,· on 12/18/2015
    ·7· ·BY MS. AILIN:        COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.                       13:47:10
    ·8· · · ·Q.· ·Had you already decided before you                                                  13:47:11
    ·9· ·purchased Colony Cove Mobile Estates that you were                                           13:47:13
    10· ·going to file an application for subdivision of the                                          13:47:16
    11· ·mobile home park?                                                                            13:47:21
    12· · · ·A.· ·I had decided to file for a subdivision,                                            13:47:22
    13· ·but I had not decided to proceed with the                                                    13:47:30
    14· ·subdivision.                                                                                 13:47:34
    15· · · ·Q.· ·And have you received the subdivision                                               13:47:35
    16· ·approval from the City for Colony Cove Mobile                                                13:47:38
    17· ·Estates?                                                                                     13:47:43
    18· · · ·A.· ·Yes, I have.                                                                        13:47:43
    19· · · ·Q.· ·And have you taken any additional steps                                             13:47:44
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    20· ·towards selling units in Colony Cove Mobile                                                  13:47:47
    21· ·Estates?                                                                                     13:47:50
    22· · · ·A.· ·No, I haven't.                                                                      13:47:50
    23· · · ·Q.· ·Why not?                                                                            13:47:51
    24· · · ·A.· ·Because the market conditions do not                                                13:47:52
    25· ·warrant the sale of spaces.                                                                  13:48:01


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·                                                             Exhibit 4
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                                     #:1604


        JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 99
        COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

    ·1· · · ·Q.· ·What is it about the market conditions                                              13:48:06
    ·2· ·that sale of the spaces is not warranted?                                                    13:48:13
    ·3· · · ·A.· ·I don't feel that I would have the ability                                          13:48:17
    ·4· ·to sell the spaces at an attractive price at this                                            13:48:23
    ·5· ·time.                                                                                        13:48:34
    ·6· · · ·Q.· ·When you say "an attractive price," do you                                          13:48:34
                              JAMES F.· GOLDSTEIN,· on 12/18/2015
    ·7· ·mean attractive to you or attractive to the buyer?
                              COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.                       13:48:37
    ·8· · · ·A.· ·The price that would be attractive to the                                           13:48:40
    ·9· ·buyer would not be a price that would be attractive                                          13:48:47
    10· ·to me.                                                                                       13:48:51
    11· · · ·Q.· ·If you were to sell a unit in Colony Cove,                                          13:49:01
    12· ·that would change how the rental control ordinance                                           13:49:09
    13· ·applies to Colony Cove; correct?                                                             13:49:12
    14· · · ·A.· ·Correct.                                                                            13:49:14
    15· · · ·Q.· ·And if you sold a unit in Colony Cove, you                                          13:49:14
    16· ·could generate more revenue from Colony Cove;                                                13:49:20
    17· ·correct?                                                                                     13:49:25
    18· · · ·A.· ·Correct.                                                                            13:49:25
    19· · · ·Q.· ·So why don't you do it?                                                             13:49:25
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    20· · · ·A.· ·It was never my intent to get around rent                                           13:49:27
    21· ·control by virtue of proceeding with the sale of                                             13:49:36
    22· ·spaces.                                                                                      13:49:42
    23· · · ·Q.· ·Then why go through the subdivision                                                 13:49:49
    24· ·process?                                                                                     13:49:52
    25· · · ·A.· ·Why did I do it?                                                                    13:49:53


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·                                                             Exhibit 4
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        JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 100
        COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

    ·1· · · ·Q.· ·Yes.· Why go through the application                                                 13:49:55
    ·2· ·process and spend the money that it takes to go                                               13:49:59
    ·3· ·through that process if you don't intend to sell                                              13:50:03
    ·4· ·the spaces?                                                                                   13:50:07
    ·5· · · ·A.· ·As I mentioned before, I always like to                                              13:50:08
    ·6· ·have as many options available to me as possible.                                             13:50:13
                              JAMES F.· GOLDSTEIN,· on 12/18/2015
    ·7· ·I think that in the long run, at some point, the
                              COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.                        13:50:18
    ·8· ·market might be at a level that warrants selling                                              13:50:26
    ·9· ·the spaces, but I don't know when that is going to                                            13:50:33
    10· ·happen.· But I want to have the ability to sell                                               13:50:40
    11· ·spaces or a future owner to have that ability                                                 13:50:44
    12· ·because I think it's in my better interest.                                                   13:50:48
    13· · · ·Q.· ·Before you could sell the spaces in Colony                                           13:50:53
    14· ·Cove, there's a process you would have to go                                                  13:50:57
    15· ·through with the Bureau of Real Estate; correct?                                              13:50:59
    16· · · ·A.· ·Correct.                                                                             13:51:02
    17· · · ·Q.· ·And it will take some time to go through                                             13:51:02
    18· ·that process; correct?                                                                        13:51:05
    19· · · ·A.· ·Correct.                                                                             13:51:06
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    20· · · ·Q.· ·Do you have any idea how long it takes to                                            13:51:06
    21· ·go through that process?                                                                      13:51:09
    22· · · ·A.· ·I've been told it's, I think, six to nine                                            13:51:09
    23· ·months, something like that.                                                                  13:51:15
    24· · · ·Q.· ·And do you have no concern that the market                                           13:51:16
    25· ·could change between when you start that process                                              13:51:23


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·                                                             Exhibit 4
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        JAMES F.· GOLDSTEIN,· on 12/18/2015                                            Page 101
        COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

    ·1· ·and when you complete that process?                                                           13:51:27
    ·2· · · ·A.· ·I have minor concern, not major concern.                                             13:51:28
    ·3· · · ·Q.· ·Wouldn't it be preferable to go through                                              13:51:47
    ·4· ·that process now so that if the market changes in                                             13:51:49
    ·5· ·such a way that selling the units would be                                                    13:51:51
    ·6· ·feasible, you're ready to go?                                                                 13:51:55
                              JAMES F.· GOLDSTEIN,· on 12/18/2015
    ·7· · · · · · MR. CASPARIAN:· Objection; speculation,
                              COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.                        13:51:57
    ·8· ·incomplete hypothetical, and misstates his prior                                              13:51:59
    ·9· ·testimony.                                                                                    13:52:10
    10· · · · · · THE DEPONENT:· I don't feel that market                                              13:52:10
    11· ·conditions are going to significantly change in the                                           13:52:16
    12· ·next six months.                                                                              13:52:21
    13· ·BY MS. AILIN:                                                                                 13:52:23
    14· · · ·Q.· ·From your perspective, what would be an                                              13:52:31
    15· ·attractive price for a unit in Colony Cove Mobile                                             13:52:33
    16· ·Estates?                                                                                      13:52:39
    17· · · · · · MR. CASPARIAN:· Today?                                                               13:52:39
    18· · · · · · MS. AILIN:· Today.                                                                   13:52:40
    19· · · · · · THE DEPONENT:· I can't answer that without                                           13:52:50
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    20· ·giving it considerable thought.· My only answer to                                            13:52:51
    21· ·that is currently the prices are not -- I should                                              13:52:57
    22· ·say the values are not in the range that are of                                               13:53:04
    23· ·interest to me.                                                                               13:53:11
    24· ·BY MS. AILIN:                                                                                 13:53:12
    25· · · ·Q.· ·How do you know that?                                                                13:53:12


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·                                                             Exhibit 4
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                                 #:1607


      JAMES F.· GOLDSTEIN,· on 12/18/2015                                       Page 196
      COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.

·1·   · · ·I, Irene Nakamura, CSR 9478, RPR, CLR, do
· ·   ·hereby declare:
·2
· ·   · · ·That, prior to being examined, the witness
·3·   ·named in the foregoing deposition was by me duly
· ·   ·sworn pursuant to Section 30 (f)(1) of the Federal
·4·   ·Rules of Civil Procedure and the deposition is a
· ·   ·true record of the testimony given by the witness.
·5
· ·   · · ·That said deposition was taken down by me in
·6·   ·shorthand at the time and place therein named and
· ·   ·thereafter reduced to text under my direction.
                            JAMES F.· GOLDSTEIN,· on 12/18/2015
·7                          COLONY COVE PROPERTIES vs. CITY OF CARSON, et al.




·8·   ·   ·   ·XX___·   ·That the witness was requested to
· ·   ·   ·   · · · ·   ·review the transcript and make any
·9·   ·   ·   · · · ·   ·changes to the transcript as a result
· ·   ·   ·   · · · ·   ·of that review pursuant to Section
10·   ·   ·   · · · ·   ·30(e) of the Federal Rules of Civil
· ·   ·   ·   · · · ·   ·Procedure.
11
· ·   · · ·_____· ·No changes have been provided by the
12·   · · · · · · ·witness during the period allowed.

13·   · · ·_____· ·The changes made by the witness are
· ·   · · · · · · ·appended to the transcript.
14
· ·   ·   ·   ·_____·   ·No request was made that the transcript
15·   ·   ·   · · · ·   ·be reviewed pursuant to Section 30(e)
· ·   ·   ·   · · · ·   ·of the Federal Rules of Civil
16·   ·   ·   · · · ·   ·Procedure.

17
· · · · ·I further declare that I have no interest in
18· ·the event or the action.

19· · · ·I declare under penalty of perjury under the
· · ·laws of the United States
                           323.393.3768of       America that the
                                       • 888.99.iDepo
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20· ·foregoing is true and correct.

21
· · · · ·Witness my hand this 28th day of December,
22· ·2015.

23

24· · · · · ·____________________________________
· · · · · · · · · · ·DEPOSITION OFFICER
25


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                  EXHIBIT 5
Case 2:14-cv-03242-PSG-PJW Document 72 Filed 02/22/16 Page 92 of 232 Page ID
                                 #:1609

1                    UNITED STATES DISTRICT COURT
2                   CENTRAL DISTRICT OF CALIFORNIA
3    ____________________________
4    COLONY COVE PROPERTIES, LLC,
5    a Delaware limited liability
6    company,
7                           Plaintiff,
8    v.
9    CITY OF CARSON, a municipal                         Case No.
10   corporation; CITY OF CARSON                         CV 14-03242
11   MOBILEHOME PARK RENTAL                              PSG(PJWx)
12   REVIEW BOARD, a public
13   administrative body; and
14   DOES 1 to 10, inclusive,
15                          Defendants.
16   ____________________________
17
18                VIDEOTAPED DEPOSITION OF KEN FRESCHAUF
19                         NEWPORT BEACH, CALIFORNIA
20                          FRIDAY, JANUARY 15, 2016
21   Reported by:
22   DENISE HESS
23   CSR NO. 7564
24   Job No.:       2212875
25   PAGES 1 - 295

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                              Veritext Legal Solutions
                                   866 299-5127
                                  Exhibit 5
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                                 #:1610

1                    UNITED STATES DISTRICT COURT
2                   CENTRAL DISTRICT OF CALIFORNIA
3    ____________________________
4    COLONY COVE PROPERTIES, LLC,
5    a Delaware limited liability
6    company,
7                           Plaintiff,
8    v.
9    CITY OF CARSON, a municipal                         Case No.
10   corporation; CITY OF CARSON                         CV 14-03242
11   MOBILEHOME PARK RENTAL                              PSG(PJWx)
12   REVIEW BOARD, a public
13   administrative body; and
14   DOES 1 to 10, inclusive,
15                          Defendants.
16   ____________________________
17
18                Videotaped Deposition of KEN FRESCHAUF,
19        taken at 610 Newport Center Drive, 17th Floor,
20        Newport Beach, California, beginning at
21        10:04 a.m. and ending at 5:13 p.m on Friday,
22        January 15, 2016, before DENISE HESS,
23        CSR No. 7564.
24
25

                                                                    Page 2

                              Veritext Legal Solutions
                                   866 299-5127
                                  Exhibit 5
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                                 #:1611

1    APPEARANCES:
2
3    For Plaintiff:
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8    Newport Beach, California 90071
9    (213) 430-6000
10   mclose@omm.com
11
12   For Defendants:
13   ALESHIRE & WYNDER LLP
14   BY:     JUNE S. AILIN, ESQ.
15   AND
16   BY:     JEFF M. MALAWY, ESQ.
17   2361 Rosecrans Avenue
18   Suite 475
19   El Segundo, CA 90245
20   (310) 527-6660
21   jailin@awattorneys.com
22
23
24   ALSO PRESENT:         JENNIFER WILLIAMS, Videographer
25

                                                                Page 3

                              Veritext Legal Solutions
                                   866 299-5127
                                  Exhibit 5
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                                 #:1612

1      spaces, pads, or lots?                                        11:08

2               A     The market rate?

3               Q     The market value of those -- that

4      piece of land upon which those coaches sit is

5      irrelevant to the setting of the rent levels in               11:08

6      Colony Cove?

7               A     Correct.

8                     MS. AILIN:     Objection; vague and

9      ambiguous.

10     BY MR. CLOSE:                                                 11:08

11              Q     Sorry, go ahead and answer.

12                    MS. AILIN:     Go ahead and answer.

13     BY MR. CLOSE:

14              Q     You said correct?

15              A     Correct, yes.                                  11:08

16              Q     So the market value of the entire

17     park, then, would be irrelevant to your rent

18     setting decisions for Colony Cove in 2007,

19     correct?

20                    MS. AILIN:     Objection; vague and            11:09

21     ambiguous.

22                    Go ahead and answer.

23                    THE WITNESS:      Well, what a park

24     owner -- are you talking about the value of the

25     park or what the park owner paid for the park?                11:09

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1      BY MR. CLOSE:                                                 11:09

2               Q     I said the value -- well, the value

3      of the park is irrelevant to the rent setting

4      decisions in the City of Carson in the 2007 time

5      period, correct?                                              11:09

6               A     Yes, correct.

7               Q     And, in fact, when you were advising

8      the Rent Control Board on Colony Cove rent

9      applications in 2007, you had no idea what the

10     value of the Colony Cove Park was, correct?                   11:09

11                    MS. AILIN:     Objection; deliberative

12     process privilege, mental process privilege.

13                    Don't answer.

14     BY MR. CLOSE:

15              Q     Over the course of your career at              11:10

16     the City of Carson, would you -- would it be

17     fair to say you reviewed over 200 rent control

18     applications?

19              A     Yes.

20                     (Whereupon the document referred              11:10

21     to is marked by the reporter as Exhibit 47 for

22     identification and is attached hereto.)

23     BY MR. CLOSE:

24              Q     I would like to mark as Exhibit 47 a

25     document that I think you will help me identify               11:11

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1      including debt service, yes.                                  11:28

2               Q     Okay.   What -- who else other than

3      yourself and whoever was serving on the Rent

4      Control Board, who else at the City of Carson

5      participated in the evaluation of rent control                11:28

6      applications or the making of recommendations to

7      the board on rent control applications in the --

8      let's say the 2005 to 2008 time period?

9                     MS. AILIN:     Objection; vague and

10     ambiguous as to participated.                                 11:28

11                    But go ahead and answer.

12                    THE WITNESS:      Well, I'd say

13     99.9 percent of it was probably mine.

14     Occasionally, I would have to bounce something

15     off of our attorney's office.             I would             11:28

16     bounce something off my supervisor, Sherry Repp.

17     And once in a long while, we'd have to call a

18     consultant in on something.             But generally

19     speaking, it was my decision.

20     BY MR. CLOSE:                                                 11:29

21              Q     So generally speaking in the 2005 to

22     2007 time period, I think you said 99 percent of

23     the evaluation of rent control applications was

24     done by you?

25              A     Correct.     And we're talking about           11:29

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1      just the evaluation of the application itself.                11:29

2               Q     Okay.

3               A     Which could be different than I'm

4      getting information later on.

5               Q     Okay.                                          11:29

6               A     But I did the actual evaluations.

7               Q     Okay.   Did anyone at the City of

8      Carson ever tell you to go hard or be difficult

9      on my client's rent control applications?

10                    MS. AILIN:     Objection; deliberative         11:29

11     process privilege, mental process privilege.

12                    Do not answer.

13                    THE WITNESS:      Okay.

14     BY MR. CLOSE:

15              Q     Did Sherry Repp ever tell you to go            11:30

16     hard on Mr. Goldstein's applications?

17                    MS. AILIN:     Objection; deliberative

18     process privilege, mental process privilege.

19                    Do not answer.

20     BY MR. CLOSE:                                                 11:30

21              Q     Did Jim Dear ever tell you to go

22     hard and go tough on my client's rent

23     applications?

24                    MS. AILIN:     Objection; deliberate

25     process privilege, mental process privilege.                  11:30

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1                     Do not answer.                                 11:30

2      BY MR. CLOSE:

3               Q     Will you testify about what elected

4      officials in the City of Carson told you about

5      how they wanted you to review rent control                    11:30

6      applications filed by my client?

7                     MS. AILIN:     Objection; assumes --

8      well, objection; calls for speculation,

9      attorney-client privilege.

10                    Don't answer.                                  11:30

11                    MR. CLOSE:     Are you sure that you

12     want to make a privilege objection to will you

13     testify about something?         I mean, this is

14     probably going to go -- I mean, I would like to

15     try and -- if the witness -- if you're                        11:30

16     instructing the witness not to answer and you're

17     not going to let me ask about it, I'm not going

18     to argue about it on the record, but I just want

19     to make sure we all understand what's happening

20     here.                                                         11:31

21                    I'm inquiring about whether the

22     person who was 99.9 percent responsible for

23     making recommendations on rent control

24     applications ever received pressure or direction

25     from elected officials about how to do his job                11:31

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1       on our applications.                                           11:31

2                        And you're going to refuse to allow

3       me to elicit testimony on that subject.

4                        Is that -- I just want to make sure

5       we're correct, because this probably will go to                11:31

6       the court.

7                        MS. AILIN:     Let's go off the record.

8                        MR. CLOSE:     Sure.

9                        MS. AILIN:     If that's okay.

10                       THE VIDEOGRAPHER:        Going off the        11:31

11      record.       The time is 11:31.

12                      (Brief recess.)

13                       THE VIDEOGRAPHER:        This is the

14      beginning of Media 2.          We are back on the record

15      at 11:45.                                                      11:45

16      BY MR. CLOSE:

17                Q      Before the break, Mr. Freschauf, I

18      think you testified that you were the person who

19      was 99 percent responsible for making the staff

20      recommendations on rent control applications in                11:45

21      the 2005, 2007 time period, correct?

22                A      Correct.

23                Q     In making those recommendations on my

24      client's rent control applications, did you ever

25      feel pressure from any elected officials to --                 11:46

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1       to influence your recommendations?                           11:46

2                     MS. AILIN:      Objection; deliberative

3       process privilege, mental process privilege.

4                     Do not answer.

5       BY MR. CLOSE:                                                11:46

6               Q     And I assume you will follow your

7       client's -- your lawyer's instruction?

8               A     Yes.

9               Q     Okay.   Did the -- did Mayor Jim Dear

10      ever communicate to you any of his views in the              11:46

11      2005, 2007 time period in connection with my

12      client's rent control applications on Colony

13      Cove?

14                    MS. AILIN:      Objection; deliberative

15      process privilege, mental process privilege.                 11:46

16                    Do not answer.

17      BY MR. CLOSE:

18              Q     Did you ever feel any pressure

19      from any elected official to influence or shade

20      or affect your recommendation on my client's                 11:47

21      rent control applications?

22                    MS. AILIN:      Objection; deliberative

23      process privilege, mental process privilege.

24                    Do not answer.

25

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1       BY MR. CLOSE:                                                11:47

2               Q     Were the staff reports that were

3       published on my client's rent control

4       applications in any way influenced by political

5       pressure in the City of Carson in your judgment              11:47

6       and experience?

7                     MS. AILIN:      Objection; deliberative

8       process privilege, mental process privilege.

9                     Do not answer.

10      BY MR. CLOSE:                                                11:47

11              Q     You were the person who drafted

12      those staff recommendations on my client's rent

13      control applications, correct?

14              A     With the exception of the MNOI

15      reports that were done by Dr. Baar, yes.                     11:47

16              Q     Okay.   Is it -- what

17      consideration -- well, is it -- let me strike

18      that.   Let me start again.

19                    Isn't it true that the preferences

20      and desires of mobilehome park residents are one             11:48

21      of the most important factors in setting the

22      rents in the City of Carson?

23                    MS. AILIN:      Objection; no

24      foundation, deliberative process privilege,

25      mental process privilege.                                    11:48

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1                     Do not answer.                                 11:48

2       BY MR. CLOSE:

3                Q    Are the --

4                     In your 20-plus years experience,

5       are the views of residents taken into                        11:48

6       consideration when the City of Carson sets

7       rents?

8                     MS. AILIN:      Objection; deliberative

9       process privilege, mental process privilege.

10                    Do not answer.                                 11:48

11      BY MR. CLOSE:

12               Q    When doing -- when preparing your

13      staff recommendations on my client's rent

14      control applications, did you give any

15      consideration to the preferences, desires or                 11:48

16      views of the residents in the park?

17                    MS. AILIN:      Objection; deliberative

18      process privilege, mental process privilege.

19                    Do not answer.

20      BY MR. CLOSE:                                                11:49

21               Q    Do residents in the park have any

22      opportunity to voice their opinions or views on

23      rent control applications?

24               A    Yes.

25               Q    Are they allowed to do so in public            11:49

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1       trying to remember how this was phrased.                           12:39

2                        The -- somehow we got on to the

3       issue of the park being converted.                 And the

4       letter was sent out to the park residents within

5       two weeks of the purchase of the park by your                      12:40

6       client.       And that's how -- in the context of

7       what was happening, I know some question came up

8       from a board member or somebody, is my

9       recollection, that, you know, what I thought was

10      going to happen or -- because an application had                   12:40

11      been filed at that point.           Hadn't been approved

12      by the City.       And that drug -- drug out quite a

13      while, which had its own life.             But ...

14      BY MR. CLOSE:

15                Q      Do you remember --                                12:40

16                       Were you under oath when you -- when

17      you -- when you speak at these hearings?

18                A      I don't take an oath, but I'm -- so

19      I don't know what the correct answer for that

20      is.                                                                12:40

21                Q      But you don't take an oath?

22                A      No.

23                Q      But you --

24                       As I assume at these hearings you

25      try to be -- to the best of your ability,                          12:40

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1       truthful and accurate?                                       12:40

2               A      Yes.

3               Q      Okay.

4               A      Yes.

5               Q      Was it your view in 2008 that my              12:41

6       client purchased the park to take a one- or

7       two-year loss and then convert the park and make

8       a huge gain?

9               A      Yes.

10              Q      Has that happened?                            12:41

11              A      No.

12              Q      Almost ten years later, correct?

13              A      That's correct.

14              Q      Because you thought the park would

15      be converted within a matter of one or two                   12:41

16      years, and because you thought that conversion

17      would generate a huge gain, you recommended a

18      rent increase to the board that was well below

19      the amount that would allow my client to cover

20      debt service, correct?                                       12:41

21                     MS. AILIN:     Objection; assumes facts

22      not in evidence.

23                     But go ahead and answer.

24                     THE WITNESS:      No.     The

25      recommendation came from Dr. Baar.                           12:41

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1       BY MR. CLOSE:                                                12:41

2               Q     You didn't make any recommendation

3       on my client's rent control applications?

4               A     It was from Dr. Baar.

5               Q     So there is a -- oh, the two staff             12:42

6       reports that you told me you wrote, correct?

7               A     Right.

8               Q     They include a recommendation,

9       correct?

10              A     Correct.                                       12:42

11              Q     Those weren't in any way your

12      recommendations?

13              A     They were my recommendations, but

14      they were from the report done by Dr. Baar.

15              Q     But you had other -- you had also an           12:42

16      analysis that showed $200 per space, correct?

17              A     I had all kinds of analyses in there

18      like we always did.

19              Q     And who chose -- what member of the

20      staff decides which of those analyses should be              12:42

21      the basis for the staff recollection?

22              A     I do.    Sometimes in consultation

23      with -- with counsel and/or expert witnesses.

24              Q     Okay.    In connection with my

25      client's applications, were you the -- was it                12:42

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1       not in evidence, calls for speculation.                      02:24

2                     Go ahead and answer.

3                     THE WITNESS:       Yes.

4       BY MR. CLOSE:

5               Q     Okay.   Now, because of that                   02:24

6       objection, we saw documents before, and you

7       testified before based on your staff report that

8       including debt service and before any

9       disallowances, the park was actually operating

10      at a million or more loss, correct?                          02:24

11              A     As the initial application was

12      submitted, yes.

13              Q     And that was reviewed and verified

14      by the staff subject to some disallowances,

15      correct?                                                     02:24

16              A     Correct.

17              Q     So in this circumstance, the rent

18      control ordinance and Rent Control Board did not

19      provide a rent level that would allow my client

20      to maintain the park, correct?                               02:24

21                    MS. AILIN:      Objection; vague and

22      ambiguous as to this circumstance.

23                    Go ahead and answer.

24                    THE WITNESS:       Yes.

25

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1       BY MR. CLOSE:                                                 02:24

2               Q     That's correct?

3                     The rent levels would not allow my

4       client -- would not permit my client to maintain

5       the park, correct?                                            02:25

6                     MS. AILIN:      Objection; vague and

7       ambiguous, assumes facts not in evidence, calls

8       for speculation.

9                     Go ahead and answer.

10                    THE WITNESS:       Yes.                         02:25

11      BY MR. CLOSE:

12              Q     Has the City of Carson, to your

13      knowledge, done any studies to ascertain the

14      income of park residents in Colony Cove?

15              A     No.                                             02:25

16              Q     To your knowledge, has the City of

17      Carson done any studies or analyses to determine

18      the net worth of the residents --

19              A     I'm sorry.      Let's back up.

20              Q     Sure.                                           02:25

21              A     Yes to the first question about

22      whether we had done a study or anything.

23                    We did send out surveys -- man, I

24      can't remember when it went out.             We sent out a

25      mobilehome residents survey and asked for all                 02:25

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1       kinds of information.           We based it off of                    02:25

2       something similar to the -- your -- the

3       ten-year ...

4                Q       I'd help you if I could.             I don't

5       know.                                                                 02:26

6                A       Yeah, I'm trying to think of the

7       term.    Every ten years the federal government

8       does it.

9                Q       Census.

10               A       Thank you.       There we go, the census,            02:26

11      bing, bing, bing.

12                       We took something similar to the

13      census and took out questions that we didn't

14      think would apply.          This was something that I

15      believe my boss Sherry Repp got heavily involved                      02:26

16      with.    And we put together a survey to send out

17      to mobilehome residents.

18                       Don't remember the time frame that

19      that went out.       I know we did it two different

20      times.       And I believe one of the questions on at                 02:26

21      least one of the two surveys, if not both, had

22      to do with income levels.              And we left the broad

23      brackets of income, so that we would know

24      whether they were very low, low, moderate, above

25      moderate type of calculations.                                        02:27

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1                      And then household size, I believe            02:27

2       we put a chart in there each of the two years,

3       so the people would be able to tell where they

4       are at.

5                      So, yes, we did have a vague idea of          02:27

6       what generally rents were -- not rents, income.

7                 Q    Based on the residents' own sort of

8       self-reporting?

9                 A    Right, yeah.      It was not probably

10      the best survey in the world, but it at least                02:27

11      gave us something to generally go by.

12                Q    And probably the residents had a lot

13      of incentive to use lower numbers for rent

14      setting purposes, correct?

15                     MS. AILIN:     Objection; calls for           02:27

16      speculation.

17                     Go ahead and answer.

18                     THE WITNESS:      They didn't know why

19      we were doing this.      And I don't know whether it

20      would affect -- I mean we had a lot of people                02:27

21      did not respond at all.        I think we had as high

22      as -- well, 30 percent.        But I guess for survey

23      purposes that's usually statistically pretty

24      good -- reply from a number of parks.

25                     I believe Colony Cove we had upwards          02:28

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1       of 30 percent also.                                              02:28

2       BY MR. CLOSE:

3                Q     Was this data relevant to rent

4       setting?

5                A     Not to rent setting itself, no, and               02:28

6       I don't even remember the context of why we did

7       this.    This was something that Sherry had pushed

8       and wanted.     And I don't remember if it had

9       something to do with the conversion or what it

10      was that triggered wanting to get information.                   02:28

11      It wasn't rent control, I know that.

12                     MR. CLOSE:     I don't believe any of

13      this has been produced to us.             If it's something

14      the City intends to use in the case, I would

15      formally request that it be searched for and                     02:28

16      produced.     Just for the record, first I've heard

17      of it.

18                     MS. AILIN:     I don't think it -- it's

19      the first I've heard of it.             I don't think it

20      falls within any of the categories of documents                  02:28

21      that were requested.

22                     MR. MALAWY:     Yeah, I agree with

23      that.

24                     MS. AILIN:     And as I'm asking here

25      right now, I can't say.                                          02:28

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1                     MR. CLOSE:      It wasn't in any initial         02:28

2       disclosures or anything else.            I'm just kind

3       of -- my request is noted if it shows up later.

4       I don't believe it's been produced to us.

5       And --                                                         02:29

6                     MS. AILIN:      Understood.

7                     MR. CLOSE:      Okay.

8       BY MR. CLOSE:

9                Q    Do you have any knowledge of the net

10      worth of the residents in Colony Cove as of --                 02:29

11      as of 2006, 2007?

12                    MS. AILIN:      Objection; vague and

13      ambiguous, calls for speculation.

14                    Go ahead and answer.

15                    THE WITNESS:       You know, we had a            02:29

16      chart on that for each park that's in that

17      report, actually.     I can't remember.           I mean, I

18      know majority of the residents were below

19      moderate income.     I don't remember the exact

20      breakdown, though.                                             02:29

21                    And that's probably changing now, as

22      time goes by, too.      We have got, seems like more

23      and more people moving into the park that

24      probably are still working versus a lot of the

25      retired folks that originally were in the park.                02:29

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1       BY MR. CLOSE:                                                02:30

2               Q      Do you recall at one time on Carson

3       Harbor my client obtained a rent increase that

4       was large enough that some residents were

5       objecting to it?                                             02:30

6               A      Uh-huh.

7               Q      Yes?   I just want to --

8                      Do you recall in connection with

9       that, my client offered to provide deferrals and

10      other accommodations to any residents who were               02:30

11      unable, because of their income level or

12      wherewithal, to pay increased rents?

13              A      Well, the one that's coming to mind

14      to me is like a $55 increase a dozen years or so

15      ago.   Had to do with the removal of the bridge              02:30

16      in the park.     I don't offhand remember him

17      offering that, although I know he did offer a

18      couple other times, like during the conversions

19      and other things to, you know, make concessions

20      to residents.                                                02:31

21                     So it wouldn't surprise me if you

22      pulled out a piece of paper that said that, but

23      I don't recall it offhand.

24              Q      I'm not that good a lawyer to pull

25      it out right now.                                            02:31

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1       control guidelines, as they existed at the time                 02:33

2       my client purchased the park.

3                     And we can talk about it, but I just

4       want to -- I know there was an amendment to the

5       guidelines sometime around, but I think this is                 02:33

6       prior to the amendment.

7                     Take a moment and familiarize

8       yourself with it, please.

9                     Am I wrong about it?

10                    MR. MALAWY:        No, you're correct.            02:34

11                    MR. CLOSE:        Okay.     Thanks, Jeff.

12      BY MR. CLOSE:

13              Q     So as I said, this is the ordinance

14      and guidelines as they existed at the time my

15      client purchased the park.                                      02:34

16              A     Yes.

17              Q     Okay.     I would like -- I don't think

18      the ordinance changed, but turning to page 4 of

19      7 in the top right, it's you know, 47, Ordinance

20      Section 4704.       I guess is it -- it's not --                02:35

21      ordinance isn't the right word, is it?

22              A     Resolution you're talking about?

23              Q     No.     It's --

24                    MS. AILIN:        No.     It is part of the

25      municipal code.                                                 02:35

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1       BY MR. CLOSE:                                                  02:35

2               Q     I think it's the code.              It's

3       codified in the code.

4                     That's right.        4704G at the top of

5       the page there.                                                02:35

6               A     Okay.

7               Q     Is it your view that the rent

8       decisions in Year 1 and Year 2 on my client's

9       application were fair, just and reasonable?

10              A     Yes.                                             02:35

11              Q     At the time my client purchased the

12      park, is it correct that the guidelines provided

13      that an owner's debt service shall be considered

14      as an allowable operating expense?

15              A     And I believe the wording is                     02:36

16      generally allowable operating expense.

17              Q     Okay.   And historically prior --

18                    The guidelines were changed after my

19      client purchased the park, correct?

20              A     Yes.                                             02:37

21              Q     What's your understanding as to why

22      the guidelines were charged after my client

23      purchased the park?

24                    MS. AILIN:      Objection; deliberative

25      process and mental process privileges.                         02:37

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1                     Do not answer.        And also potentially     02:37

2       attorney-client privilege.

3       BY MR. CLOSE:

4               Q     So I don't want to -- was there.

5                     I don't want any information about             02:37

6       what the City attorneys may have told you or you

7       may have heard from them.

8                     Were the guidelines -- did the City

9       of Carson change the guidelines in response to

10      my client's purchase of Colony Cove?                         02:37

11                    MS. AILIN:      Objection; deliberative

12      process privilege, mental process privilege.

13                   Do not answer.

14      BY MR. CLOSE:

15              Q     Can you identify any reason why the            02:37

16      City of Carson changed the guidelines other than

17      my client's purchase of Colony Cove?

18                    MS. AILIN:      Objection, no

19      foundation, assumes facts not in evidence,

20      deliberative process privilege and mental                    02:38

21      process privilege.

22                    Do not answer.

23      BY MR. CLOSE:

24              Q     Because of the foundation objection.

25                    The guidelines were changed shortly            02:38

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1       after my client purchased Colony Cove, correct?                     02:38

2                     MS. AILIN:      Vague and ambiguous as

3       to shortly after.

4                     THE WITNESS:       I'm not sure what the

5       date was.                                                           02:38

6       BY MR. CLOSE:

7               Q     Okay.

8               A     Because I don't have --

9               Q     The guidelines were charged after my

10      client purchased the park, correct?                                 02:38

11              A     Yes.

12              Q     Okay.

13                    MR. CLOSE:      And am I correct,

14      Counsel, that you're going to instruct on any

15      question I ask about why those guidelines were                      02:38

16      changed?

17                    MS. AILIN:      Yes.     And I'll also

18      point out that Mr. Freschauf was not in a

19      position to make a decision about whether they

20      would be changed, but I would stand by the                          02:38

21      deliberative process and mental process

22      privilege objection as to why.

23                    MR. CLOSE:      Okay.      Well, he's the

24      99 percent expert on rent control.                And we're

25      talking to rent control guidelines, so you and I                    02:39

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1       have met and conferred off the record on this.               02:39

2       We disagree.       I don't want to spill more ink or

3       drag the afternoon off.          I mean we've used a

4       period of time off the record to meet and confer

5       on this.                                                     02:39

6       BY MR. CLOSE:

7                Q       Is there anything you can point me

8       to prior to the time my client purchased Colony

9       Cove that should have put him on notice that the

10      City would be changing the guidelines?                       02:39

11                       MS. AILIN:     Objection; because for

12      speculation.

13                       But go ahead and answer.

14                       THE WITNESS:      Changing the

15      guidelines, well, I'm sure we sent out notices               02:39

16      on it.       We'd also been using Dr. Baar for a

17      couple of years for various rent control cases

18      when issues on debt service came up, and

19      especially when debt service changed and park

20      owners changed in the park.                                  02:40

21                       So he should have had some idea that

22      something was changing.

23      BY MR. CLOSE:

24               Q       Do you have a recollection if notice

25      went out to the public of a potential change in              02:40

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1       the guidelines before my client purchased Colony             02:40

2       Cove?

3               A     Of the change in the guidelines

4       before he purchased, no.         I think there was a

5       bit of time between there.          I don't remember the     02:40

6       exact dates, but --

7               Q     Okay, okay.      Is there anything in

8       the guidelines as they existed at the time my

9       client purchased the park that referred to

10      Dr. Baar?                                                    02:40

11              A     That referred to Dr. Baar?

12              Q     Yes.

13              A     No.

14              Q     So there is nothing about the

15      guidelines as they existed at the time my client             02:41

16      purchased the park that would have put any one

17      on notice about the importance of Dr. Baar,

18      correct?

19              A     No, but I mean, there -- there are

20      comments in the guidelines, the second page of               02:41

21      the guidelines, paragraph D, No one factor in

22      the ordinance is determinative, and the factors

23      must be considered together and balanced in

24      light of the purposes of the ordinance and all

25      relevant evidence.      The ordinance does not               02:41

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1       because gross profit could be manipulated                    03:02

2       depending on purchase price of a park, how

3       expenses were used, versus MNOI, which gives you

4       a more true, steady picture of how a park is

5       done over the years.                                         03:02

6                 Q   But the MNOI ignores the reality of

7       actual debt expense that is being paid, correct?

8                 A   Yes.

9                 Q   Did the staff rely on the gross

10      profit maintenance analysis in making its                    03:02

11      recommendations on the Year 1 application by my

12      client?

13                    MS. AILIN:      Objection; vague and

14      ambiguous; deliberative process privilege,

15      mental process privilege.                                    03:02

16                    Do not answer.

17                    THE WITNESS:       Okay.

18                    MS. AILIN:      It's in the document or

19      it's not in the document.

20                    MR. CLOSE:      Yeah, okay.                    03:03

21                    MS. AILIN:      You've got the staff

22      report.

23                    MR. CLOSE:      Let me try and move it

24      along.

25

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1       BY MR. CLOSE:                                                03:03

2               Q     You would agree that the City did

3       not give Colony Cove a rent increase sufficient

4       to cover its debt service for operating years

5       2007 or 2008, correct?                                       03:03

6               A     Well, as to which part he didn't get

7       enough for is up to Mr. Goldstein on which part

8       to pay, but he did not have enough of an

9       increase to cover all of his allowable expenses,

10      yes.                                                         03:03

11              Q     And was that because the City of

12      Carson deemed the debt service to be

13      unreasonably high?

14                    MS. AILIN:      Objection; deliberative

15      process privilege, mental process privilege.                 03:04

16                    Do not answer.

17      BY MR. CLOSE:

18              Q     Did the City of Carson in setting

19      the rents on this park conclude that the debt

20      service actually being paid was unreasonably                 03:04

21      high?

22                    MS. AILIN:      Objection; the

23      resolution speaks for itself.

24                    But go ahead and answer.

25                    THE WITNESS:       Okay, I'm sorry, say        03:04

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1       it one more time.                                            03:04

2       BY MR. CLOSE:

3               Q     Did the City of Carson in setting

4       the rents on this park, Year 1 and Year 2,

5       conclude that the debt service my client was                 03:04

6       actually paying was unreasonably high?

7                     MS. AILIN:      Objection; the

8       resolution speaks for itself.

9                     Go ahead and answer.

10                    THE WITNESS:       I don't think the debt      03:04

11      service was the only issue, but I guess in

12      short, yes, okay.

13      BY MR. CLOSE:

14              Q     And the debt service was based on

15      the purchase price, correct?                                 03:05

16              A     Yes, yes.

17              Q     The same purchase price you used to

18      calculate the allowable amount of property

19      taxes, correct?

20              A     That Dr. Baar calculated, yes, that            03:05

21      wasn't my calculation.

22              Q     But the same purchase price that the

23      City of Carson used to determine the allowable

24      amount of property taxes, correct?

25              A     That the board approved, yes.                  03:05

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1       public.                                                      04:53

2                     MR. CLOSE:       I'm asking him -- the

3       statement makes no sense, take rent control in a

4       different direction.

5                     What --                                        04:53

6                     MS. AILIN:       Well --

7                     MR. CLOSE:       North, south, east,

8       west, up, down.

9                     MS. AILIN:       For whatever reason, a

10      decision was made not to disclose the different              04:53

11      direction in this document.             And --

12                    MR. CLOSE:       And you can -- your

13      position is it can be hidden in this litigation

14      from the court and the jury.

15                    MS. AILIN:       The waiver goes to            04:53

16      what's been disclosed.         It doesn't go to what

17      has not been disclosed.

18                    MR. CLOSE:       I'm not going to spend

19      more time.    We're going to go before the court.

20                    My position is, just to be clear,              04:53

21      the City of Carson has no grounds to hide from

22      the court, the jury and the public what in the

23      world was meant by the public statement that the

24      mayor and City tried to take control of rent

25      control and take it in a different direction.                04:54

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1                      But the court will have to decide                 04:54

2       that.

3                      And I'm reserving my right to recall

4       the witness to examine all these lines of

5       inquiry, because there has been a ton of                         04:54

6       instructions earlier today that are clearly

7       improper in terms of what is on the City's

8       website in my view, and the City Attorney should

9       know what's on the City's website.                There was a

10      waiver of the attorney-client privilege that the                 04:54

11      City Attorney should know about, the lead

12      counsel in this case on the pleadings is the

13      City Attorney of the City of Carson, yet all day

14      I faced instructions on subjects that are out on

15      the website.                                                     04:54

16      BY MR. CLOSE:

17              Q      Did Mayor Jim Dear request that the

18      guidelines be changed after my client purchased

19      the park?

20                     MS. AILIN:     Objection; vague and               04:55

21      ambiguous, calls for speculation, because

22      Mr. Freschauf is -- is not a member of the

23      legislative body that would make that decision.

24      BY MR. CLOSE:

25              Q      Do you know if Mayor Jim Dear was                 04:55

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1       involved -- encouraged the City to change the                   04:55

2       rent control guidelines after my client

3       purchased the park?

4                     MS. AILIN:      Objection; deliberative

5       process privilege and mental process privilege.                 04:55

6                     Do not answer.

7                     And legislative privilege actually.

8       BY MR. CLOSE:

9               Q     How were at-large members of the

10      Rent Control Board selected?                                    04:56

11              A     There is a notice period given when

12      there is a vacancy on the board.             I think it

13      stays open for 30 days, and then any

14      applications that come in are reviewed by the

15      mayor and/or City Council who decide, you know,                 04:56

16      who to put on the board.         Or on every two-year

17      election cycle, as they have done on some years

18      was vacate the entire board and make everyone

19      reapply, which was more than a problem on one

20      occasion.                                                       04:56

21              Q     Do at-large members play an

22      important role on the Rent Control Board in

23      balancing between the park owner representatives

24      and resident representatives?

25              A     Yes.                                              04:56

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 1               Q     Isn't it correct that Rent Control             04:57

 2       Board members faced de-appointment in 2007          and

 3       2008 if they would have approved a $200 per

 4       space rent increase on Colony Cove?

 5                     MS. AILIN:       Objection; no                 04:57

 6       foundation, calls for speculation.

 7                     Go ahead and answer.

 8                     THE WITNESS:        I have no idea.

 9       BY MR. CLOSE:

10               Q     Okay.     Is it your understanding that        04:57

11       Mayor Jim Dear told board member Vaughn to

12       recuse himself from a rent control matter if

13       Mr. Vaughn knew what was good for him?

14                     MS. AILIN:       Objection; no

15       foundation, calls for speculation.                           04:57

16                     Go ahead and answer.

17                     THE WITNESS:        Are you asking me if

18       I -- if I had, what, firsthand knowledge or --

19       BY MR. CLOSE:

20               Q     No.     Is that your understanding that        04:58

21       Mayor Dear told board member Vaughn to recuse

22       himself if he was -- if he knew what was good

23       for him?

24               A     Again, it was not within the time

25       period that we're discussing, but, yes, I                    04:58

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 1                 I, the undersigned, a Certified Shorthand
 2       Reporter of the State of California, do hereby
 3       certify:
 4                  That the foregoing proceedings were
 5       taken before me at the time and place herein set
 6       forth, that any witnesses in the foregoing
 7       proceedings, prior to testifying, were placed
 8       under oath; that a record of the proceedings was
 9       made by me using machine shorthand which was
10       thereafter transcribed under my direction;
11       further, that the foregoing is an accurate
12       transcription thereof.
13              I further certify that I am neither
14       financially interested in the action nor a
15       relative or employee of any attorney of any of
16       the parties.
17              IN WITNESS WHEREOF, I have this date
18       subscribed my name.
19                  Dated 1/20/16
20
21
22             <%signature%>
23             DENISE HESS CSR No. 7564
24
25

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               Analysis of Reasonable Investment Backed Expectations
                             of Colony Cove Mobile Estates
                                        and
      Discussion of Treatment of Debt Service and Rationale for Maintenance of
         Net Operating Income Fair Return Standard under Rent Regulation

                                          (Carson, California)




                                                                   Kenneth K. Baar, Ph.D
                                                                      (January 2016)



    This report was prepared on behalf of the City of Carson. The opinions expressed herein are those of the
    author and do not necessarily represent the views of the City or of the Mobilehome Rental Review Board.




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       1. Did the Park Owner Have a Reasonable "Investment Backed Expectation" that a
          Rent Increase Could be Obtained to Cover Its Debt Service

          In this analysis, this author's views of what constitutes an "investment backed
          expectation" are based on the concepts that:" 'Distinct investment-backed expectations'
          implies reasonable probability," "those who do business in a regulated field cannot
          object if the legislative scheme is buttressed by subsequent amendments to achieve the
          legislative end," and the current legislative scheme and the decisions implementing that
          scheme should be taken into account in formulating what is a reasonable investment
          backed expectation.

          A. The ordinance and regulations in place when the Park Owner purchased the
             property did not command the allowance of debt-service pass-through


          The Park Owner purchased Colony Cove in April, 2006.

          When the park owner purchased the property the ordinance set forth broad principles in
          regard to the setting of maximum allowable rents. It stated that the Board shall set rents
          at levels that protect mobilehome owners from "excessive" rent increases while allowing
          a park owner "a fair return on investment." Rather than containing a specific formula or
          standard for setting allowable rents or creating a right to a rent adjustment based on a
          single factor, the ordinance included a list of factors that shall be considered. These
          directions were subject to the qualification that "no one (1) factor shall be
          determinative."

          The ordinance stated:

                 The Board shall grant such rent increases as it determines to
                 be fair, just and reasonable. A rent increase is fair, just and
                 reasonable if it protects Homeowners from excessive rent
                 increases and allows a fair return on investment to the Park
                 Owner. The Board shall consider the following factors and any
                 Guidelines adopted by the City Council, as well as any other
                 relevant factors, in making its determination and no one (1)
                 factor shall be determinative. (Ordinance, Section 4704)

          The terms "no one (1) factor shall be determinative" pointed to a process in which
          differing factors could be considered and given differing weights in setting rents, as
          opposed to creating a right to a rent adjustment based on a single factor.



                                                  1




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          The ordinance did not list debt service as a factor to be considered; but the ordinance
          directed the Board to consider "Guidelines" adopted pursuant to the ordinance. The
          Guidelines provided that debt service "shall be considered". However, the direction to
          consider debt service was subject to qualifications in regard to the extent to which debt
          service would be considered. That extent was dependent on the reasonability of the
          debt service "in light of existing rents."

                 Debt service shall be considered as an allowable operating
                 expense. Debt service obtained after the adoption the ordinance
                 shall be an allowable operating expense to the extent that it is
                 reasonable in light of the existing rents and prudent financing
                 procedures. (Guidelines, Sec. II.A.2.f)

          The Guidelines also stated that a "Gross Profits Maintenance analysis" (GPM) "shall be
          performed." (Guidelines, Sec. II.B) A GPM analysis takes into account mortgage
          payments and operating expenses in order to determine cash flow. (A GPM analysis
          may be distinguished from a "maintenance of net operating income (MNOI) analysis"
          which is based on a calculation of net operating income (income net of operating
          expenses without consideration of debt service.)

          While the Guidelines require the performance of the GPM analysis they reiterated the
          concept in the ordinance that the no single factor shall be determinative by stating that
          this factor shall be "considered in conjunction with other factors" and shall not "create
          any entitlement."

                 This analysis shall be considered in conjunction with other
                 factors; however, it shall not "create any entitlement"
                 (Guidelines, Sec.ll.B.)

          One may debate precisely what the ordinance and the Guidelines would require in a
          particular case. However, at a minimum, these terms provided notice of a significant
          probability that an increase in debt service may not be covered by an allowable rent
          adjustment.

          Also, the ordinance provided notice and direction that consideration of other factors
          could offset consideration based on any single factor including an allowance for
          increases in debt service. Most notably the ordinance contained the purpose of
          preventing "excessive" rent increases.




                                                 2




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            B. The Circumstances in the Colony Cove case pointed to a possible limitation or
               exclusion of the debt service in setting the allowable rent.

            As indicated the Guidelines provided that debt service shall be an allowable factor in
            determining the permissible rent to the extent the debt service was "reasonable in light
            of the existing rents." In this case, the Park Owner expected the Board to consider
            whether the existing rents were reasonable in light of the debt service. However, the
            Guidelines directed consideration of whether the debt service was reasonable in light of
            the existing rents.

            In this case of Colony Cove, claimed that an increase in monthly space rents of $342.46
            was required to cover debt service and maintain gross profits (cash flow).1 Clearly, there
            was a significant possibility that the purpose in the ordinance of preventing "excessive"
            increases would be an offsetting factor and that the debt service would not be
            considered reasonable.



            C. Since 1996 the Board Had Not Allowed a Substantial Rent Increase Based on
               an Increase in Debt Service (Except under one special circumstance.)

               City Analysis of Debt Service As a Factor in Setting Allowable Rents Provided
               to Board


           In the Carson Gardens rent increase application submitted in 2004 (by another park
           owner), the applicant submitted a detailed memorandum about why the GPM formula,
           including the debt service factor, should be considered. The applicant's memorandum
           stated that "the Board invariably uses the GPM method, as the dispositive method for
           rent calculations." In support of the analysis, the applicant included an "Analysis of
           Resolutions and Dispositive Methodology," which consists of a table which lists the
           methodology used in each of 31 Board decisions. The applicant's memorandum stated:
           "Of thirty (sic) 31 Board decisions since 1996 to present, only three (3) times has the
           Board not used the GPM formula for unique reasons inapplicable here."

           In that case the city staff prepared a chart which compared the debt service in the base
           year and in the current year in each case decided by the Board.

           The data submitted by the staff to the Board covered the 33 cases, which had
           considered fair return issues, that had come before Board since 1996. The data


    1 Colony Cove Rent Increase Application,p. 3 (September 28, 2008), supplied by the City in discovery in

    this case.
                                                      3




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          indicated that in 30 out of the 33 cases debt service either decreased, stayed the same,
          or increased by only a very small amount. (In 21 of the cases debt service decreased. In
          4 of the cases debt service remained unchanged. In 5 cases debt service increased by
          less than $5.00 per space per month.)

          In 3 cases, there was a significant increase in debt service. However, in one of those
          cases the Board used the CPI rather than the GPM methodology in order to determine
          the allowable rent increase. In another one of the cases, the Board did not permit any
          rent increase. In the third case, the debt service increases were equal to $23.13 per
          space per month and the Board granted a rent increase of $15.29.

                                         Rent Adjustment Cases
                                                1996-2003
                        Impact of Debt Service in Rent Adjustment Determinations

                                Impact of Debt Service              No. of Cases

                          Debt service decreased from base
                                                                          21
                                  year to current year
                             Debt service did not change                  4
                            Debt service increase less than
                                                                          5
                           $5/month per mobilehome space
                          Debt service increase significant -
                          award of rent adjustment based on               1
                                          CPI
                          Debt service increase significant no
                                                                          1
                                 rent increase granted
                                Debt service increase -
                          $23/space/mo. Rent Board granted                1
                                 $15.23 rent increase.

             The foregoing data indicated that from 1996 to 2003 the Board had not granted
             substantial rent increases based on increases in debt service. Furthermore, in the
             one case where a rent determinations took into account a significant increase in
             debt service, on a per space basis the increase was equal to less than one-third of
             the increase involved in this case.

             Prior Denial of Debt Service Pass-through Involving Rent Increase Application
             by the Owner of Colony Cove in a Case Involving Another Mobilehome Park

             In 1983, the owner of Colony Cove, submitted a rent increase application,
             requesting a rent increase that would cover the increased debt service associated
             with his purchase of the Carson Harbor Village Mobilehome Park in April1983.


                                                 4




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                The Board's rent increase decision did not include an allowance for this cost. The
                Board's decision noted that: "However, the increase in debt service was due to the
                applicant's purchase of the park for $8,000,000 in 1983 ... Said purchase was made
                ... with knowledge of the existing rents and expenses and of the debt which would
                be incurred as a result of the purchase."2

                D. In the Paradise Trailer Park case in 2004, the Board excluded
                consideration debt service in allowable rent determination.

                The Park Owner presented evidence that from 1999 through 2003, the total of its
                operating expenses and debt service expenses increased by $125,268. Most of this
                increase, $103,492 out of $125,268, was attributable to an increase in debt service
                associated with the purchase mortgage of the new owner.

                In its decision, the Board excluded any allowance for the increase in debt service.3



                E. Judicial Precedent involving Carson Set Forth Potential Limitations on
                Consideration of Increases in Debt Service Its Rent Setting Cases.
                The Carson Gardens Case

               In the Carson Gardens case, the treatment of debt service was the central issue. At
               the same time, it should be noted that the precedential weight of that case was
               largely impacted by its procedural posture.

               In that case, the debt service on the property had increased from $0 to $88,638, an
               increase of $76.71 per month per mobilehome space. This increase accounted for
               most of the $105.50 rent increase requested by the applicant.

               The increase in mortgage costs occurred in conjunction with the sale of the property.
               If the prior owner had a substantial mortgage (rather than owning the property free
               and clear), there would have been only a small increase in debt service expenses.
               If the current owner had paid cash for the property, there would be no allowable cost
               increase associated with an increase in debt service, although the current owner's
               overall investment in the property (cash + mortgage) would be the same.



    2 Rental Review Board Resolution No. 84-057, Section d„ Feb. 4,1984, supplied by the City in discovery

    in this case.
    3 Rental Review Board Resolution No. 2004-225, (May 12, 2004) (supplied by the City in discovery in

    this case)
                                                      5




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        The staff report concluded that it would not be appropriate to consider the increase in debt
        service:




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                  Ordinarily, staff would prepare and include an Estimated Gross Profit
                  Maintenance Analysis for this staff report. The purpose of the Estimated Gross
                  Profit Maintenance Analysis is to help determine how a park has been
                  operating since its last general rent increase and/or last hearing before the
                  Board and the effects that inflation may have had on the park's profit level...
                  However, the use of an Estimated Gross Profit Maintenance Analysis would
                  not be appropriate in an instance such as this, in which the park was
                  purchased with such a high proportion of debt, whereas the previous owner
                  had no debt service costs. In such an instance, the expenses over the period
                  under review are not directly comparable. ...4

          The report indicated that the gross profit maintenance analysis would "not be appropriate in an
          instance such as this." (emphasis added) due to an exceptional increase in debt service.

          In April 2003 the Superior Court remanded that decision to the Rental Review Board for
          reconsideration.5 The Writ that was issued by the Court ordered the Board to take into
          consideration "reasonable expenses in acquiring the park."

                  ... apply the gross profits maintenance analysis discussed in the Guidelines ...
                  or another reasonable analysis or methodology that gives due consideration to
                  the Park's actual reasonable operating expenses, including actual reasonable
                  expenses incurred in acquiring the Park, and comports with the requirements
                  of the pre-existing Ordinance and the Guidelines.


         That decision was never appealed. Instead, on remand the Board used an MNOI formula,
         based on its belief that such an action would be consistent with the writ order.

         The Park Owner returned to court contending that because the Board had not considered
         the park owner's debt service it had not complied with the original writ. The trial court
         concurred with this conclusion.

         The City appealed the trial court opinion. However, the Court of Appeal ruled that by failing
         to appeal the initial trial court judgment the Board waived the right to raise the issue of
         whether the Board was required to consider debt service and, therefore the Court of
         Appeal could not consider this issue. T

         However, the Court emphasized that if it were writing on a "clean slate", in the absence of a
         trial court judgment which could not be reviewed, it was not addressing the "fundamental
         issue ... whether Carson Gardens was entitled to rely on the Board's use of gross profits
         methodology in determining a fair return." In other words, the Court stated that it might

    4 Provided   by the City in discovery. Administrative Record in Carson Gardens case, AR 198, Staff Report,
    p. 198.
    5Carson Gardens v. City of Carson Mobilehome Rent Review Board, BS 072845 (Superior Court, County
    of Los Angeles, Judgment (March 19, 2003)

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         have ruled differently in regard to whether the Board was required to use a methodology
         that considered debt service.

              If we were writing on the proverbial clean slate, our analysis of the propriety of
              the trial court's order would first require an assessment of a fundamental,
              controlling issue; the meaning of the Carson ordinance, including whether
              Carson Gardens was entitled to rely on the Board's use of gross profits
              maintenance methodology in determining a fair return        On the other hand, if
              the ordinance does not require use of that methodology, and does not require
              the Board to include debt service costs in operating expenses, then the Board
              was free to use some other method of determining the amount of a rent
              increase that would provide a fair return. (See Carson Mobilehome Park
              Owners' Assn. v. City of Carson (1983) 35 Cal.3d. 184, 191 [rent control
              agencies are not obliged by the state or federal Constitution to fix rents by
              application of any particular method or formula].)

              We are not, however, writing on a clean slate.... by failing to appeal the April
              16, 2003 judgment, the Board "waived any right to raise [any] issues" arising
              out of the judgment The Board having failed to do so, we cannot now review
              that issue.6

           At the same time, the Court of Appeal concluded that while the Board cannot take new
           evidence, it was not required to apply "any particular formula or methodology without
           deviation" and that it can make findings "in consonance with its duty under the ordinance
           to grant an increase that both 'protects Homeowners from excessive rent increases and
           allows a fair return on investment...'"

                 While the Board cannot take new evidence on remand, nothing in the
              City's ordinance requires the Board to apply any particular formula or
              methodology without deviation.           Indeed, the city's Guidelines
              specifically state that the gross profits maintenance analysis "is an aid
              to assist the Board in applying the factors in the Ordinance and is to be
              considered together with the factors in [the ordinance], other relevant
              evidence presented and purposes of the Ordinance," and is not
              intended to create any entitlement to any particular rent increase.
              Accordingly we see no reason why the Board may not, on the present
              administrative record, assess the evidence, consider the results of the
              gross profits maintenance analysis, and make findings as to the
              appropriate implementation of that analysis - all in consonance with its
              duty under the ordinance to grant an increase that both "protects



    6Carson Gardens, L.L.C. v. City of Carson Mobilehome Park Rental Review Bd. (2006), 135 Cal.
    App.4th 856, 867.

                                                   8




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                  Homeowners from excessive rent increases and allows a fair return on
                  investment.." (Mun. Code Sec.4704, subd (g).)7

              At, another point in its decision, the Court explained that "the Board can exercise
              discretion on the question of whether passing through the entire amount of debt service
              costs was necessary to provide a fair return":

                  ... the trial court's order sets a rent increase in an amount the Board
                  expressly found would create a "windfall" for Carson Gardens.
                  Moreover, the court itself expressly recognized that, if the Board had
                  used gross profits maintenance analysis "and would have come to the
                  conclusion that not all of it would be passed because it is too excessive
                  and fifty percent would be fair to add, that's one thing." The court,
                  however, could not tell whether allowing 50 percent would amount to a
                  fair return, "because the City did not use that method." Under these
                  circumstances, we think the court was obliged to remand the case once
                  again, so that the Board can exercise discretion on the question of
                  whether passing through the entire amount of debt service costs was
                  necessary to provide a fair return.8




              F. In Published California Court of Appeal Decisions Involving Fair Return Cases
                 pursuant to Mobilehome Park Rent Control Ordinances of other jurisdictions in
                 1993 and 1994, Courts held that Consideration of Debt Service in Setting
                 Allowable Rents was not Reasonable or had no Rational Basis

              The general judicial doctrine regarding fair return, which has been frequently reiterated
              in California appellate decisions has been that: u[r]ent control agencies are not obliged
              by either the state or federal Constitution to fix rents by application of any particular
              method or formula."9 However, in three cases the California Court of Appeal has held
              that consideration of debt service in a rent setting process has "no reason" or "no
              rational basis." In one case the Court stated:

                         Assume two identical parks both purchased at the same time for
                         $1 million each. Park A is purchased for cash; Park B is heavily
                         financed. Under Palomar's approach, calculating return based on
                         total historic cost and treating interest payments as typical
                         business expenses would mean that Park A would show a
                         considerably higher operating income than Park B. Assuming a

    7   Id, 135 Cal. App.4"1 at        )
    8   Id., 135 Cal.   App.4"1 at   867.
    9   Kavanau v. Santa Monica Rent Control Board, 16 Cal.4lh 761, 768 (1997)

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                     constant rate of return, the owners of Park B would be entitled to
                     charge higher rents than the owners of Park A. We see no reason
                     why this should be the case.10

           In a subsequent opinion, the same Court of Appeal reaffirmed its conclusion in regard to
           the treatment of debt service expenses. "We have previously rejected the notion that
           permissible rental rates based on a fair rate of return can vary depending solely on the
           fortuity of how the acquisition was financed."11




           G. Overall Conclusion Regarding Investment Backed Expectations of a Right to a
              Rent Adjustment Covering a Park Owner's Increase in Debt Service

           In this case, it was clear that a purchaser of a mobilehome park in Carson in 2006 could
           not have an investment backed expectation that an increase in debt service costs,
           especially a large increase, would be incorporated into the allowable rent under the
           City's rent ordinance.

                     (i)     The City's ordinance and Guidelines set forth qualifications and limitations
                             on the consideration of debt service, including the purpose of preventing
                             "excessive" rent increases and the limitation of not allowing for debt
                             service costs that were not "reasonable in light of existing rents."

                     (ii)    There was a prior record of Rent Board exclusion of increases in debt
                             service costs associated with park purchases,

                     (iii)   The appellate courts had not ruled that consideration of debt service
                             would be required,

                     (iv)    In two cases involving fair rent determinations for mobilehome parks in
                             other cities, a Court of Appeal had held that consideration of debt service
                             had no rational basis.


           Rather than having an investment backed expectation of a right to a rent increase that
           would cover its debt service, at best the Park Owner might have had an expectation that
           such a rent increase was not an impossibility.




    I0, Palomar Mobilehome Park Ass'n v. Mobile Home Rent Review Commission [of San Marcos], 16

    Cal.App.4th 481,489(1993);
    11 Westwinds   Mobile Home Park v. Mobilehome Park Rental Review Bd., 30 Cal.App.4th 84, 94 (1994)

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           2. Why it is not rational to include purchase mortgage costs in a determination of
              allowable rents (a fair return calculation)


           Mortgage costs are a standard cost of investors in income producing real estate (as well
           other purchasers of real estate). Consideration of mortgage costs is central to calculations
           by real estate investors of their rate of return.

           However, it is not rational to take into account individual owner's mortgage costs in the
           context of a determination of fair return and of what rents should be permitted under a rent
           regulation.

           Mortgage costs are a part of the purchase cost of a property, constituting the cost of
           acquiring the capital to undertake the purchase. If mortgage costs are taken into account,
           the regulatory process becomes circular. Under a standard which includes mortgage debt
           service as a cost the regulated owner is able to determine the allowable rent by setting the
           mortgage amount and terms, with the only on the rent being the market.

           Under rent regulation (and land use regulation in general) it becomes the duty of the
           investor to determine what investment is reasonable in light of the regulation, rather than the
           regulator's role to determine what rent level or what land use should be permitted based on
           the costs of the investment.

           If mortgage costs are considered under Carson's rent stabilization, two park owners with
           comparable parks and comparable operating costs may be permitted greatly different rents
           depending on their mortgages. The practical consequence would be that recent purchasers
           would be allowed much higher rents than long term owners, who had lower purchase prices
           and usually much smaller mortgage debt.

           Even in the case of park owners who purchased mobilehome parks at about the same time
           for the same price per mobilehome space, mortgage costs may vary substantially as a result
           of differences in the portion of the purchase price that was financed with a mortgage.

           The general judicial doctrine regarding fair return, which has been frequently reiterated in
           California appellate decisions has been that: u[r]ent control agencies are not obliged by
           either the state or federal Constitution to fix rents by application of any particular method or
           formula."12 However, in three cases the California Court of Appeal has held that
           consideration of debt service in a rent setting process has "no reason" or "no rational basis."
           In one case, the Court stated:


                      Assume two identical parks both purchased at the same time for
                      $1 million each. Park A is purchased for cash; Park B is heavily
                      financed. Under Palomar's approach, calculating return based on
    12   Kavanau v. Santa Monica Rent Control Board, 16 Cal.4,h 761, 768 (1997)

                                                       11




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                         total historic cost and treating interest payments as typical
                         business expenses would mean that Park A would show a
                         considerably higher operating income than Park B. Assuming a
                         constant rate of return, the owners of Park B would be entitled to
                         charge higher rents than the owners of Park A. We see no reason
                         why this should be the case.13

                In a subsequent opinion, the same Court of Appeal reaffirmed its conclusion in regard to
                the treatment of debt service expenses. "We have previously rejected the notion that
                permissible rental rates based on a fair rate of return can vary depending solely on the
                fortuity of how the acquisition was financed."14

                In a recent (2013) opinion, a California Court of Appeal again affirmed the view that tying
                rents to individual owners' financing arrangements has no rational basis.

                         Apart from the inequities that would result from permitting a party
                        who financed its purchase of rent-controlled property to obtain
                        higher rents than a party who paid all cash, there are additional
                        reasons for disregarding debt service. ...debt service
                        arrangements could easily be manipulated for the purpose of
                        obtaining larger rent increases, by applying for an increase based
                        on servicing a high interest loan and then refinancing at a lower
                        interest rate or paying off the loan after the increase was granted.
                        Alternatively, an owner might periodically tap the equity in a
                        valuable piece of rental property, thus increasing the debt load. In
                        any event, we discern no rational basis for tying rents to the
                        vagaries of individual owners' financing arrangements.15

               While the foregoing precedent holds that debt service should not be considered, in two
               cases around 1990, a California Court of Appeal carved out an exception to this rule.
               The Court held that mobilehome park owners have a vested right to have their debt
               service considered if the debt service was an allowable expense under the fair return
               standard in effect at the time the property was purchased.16 In Palacio de Anza v. Palm
               Springs Rent Review Commission, the Court concluded that the guidelines in effect
               when the mobilehome park was purchased created vested rights.


    13   Id, at 489.
    14 Westwinds       Mobile Home Park v. Mobilehome Park Rental Review Bd., 30 Cal.App.4th 84, 94 (1994)
    15 Colony Cove Properties v. City of Carson, 220 Cal.App. 840,871 (2013), . Courts in other states have
    reached similar conclusions. In 1978, when considering the constitutionality of an apartment rent control
    ordinance, the New Jersey Supreme concluded that: "Similarly circumstanced landlords ... must be
    treated alike. Discrimination based upon the age of mortgages serves no legitimate purpose." Helmsley v.
    Borough of Fort Lee, 394 A.2d. 65,80-81 (1978).
    16 Palacio   de Anza v. Palm Springs Rent Review Com., 209 Cal.App.3d. 116 (1989)

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               [the guidelines]... created land-use property rights which became vested ...
               when the financing of the ... purchase was undertaken in reliance on the
               existing rent-control laws. In this sense, [the park owner] enjoys a situation
               or status analogous to that of one who had established the right to pursue
               a nonconforming use on land following a zoning change.17

            In a subsequent case, in 1991, the same court reaffirmed this conclusion.18



         3. The rationale for using a "maintenance of net operating income" (MNOI) standard
            for determining fair return.


         Under a maintenance of net operating income (MNOI) standard, owners are permitted rent
         increases which cover increases in operating costs and provide for an increase in net
         operating income based on the increase in the CPI.

         The rationale for a maintenance of net operating income (MNOI) approach is that regulated
         owners are permitted an equal rate of growth in NOI regardless of their particular purchase
         and financing arrangements. Therefore, rents are regulated depending on increases in
         expenses and the inflation rate (Consumer Price Index). It becomes the investors task to
         determine what investment and financing arrangements make sense in light of the growth in
         net operating income permitted under the fair return standard. By permitting growth in net
         operating income, the standard makes room for increasing debt service and finance costs.

         This formula provides for reasonable growth in net operating income, which is the portion of
         rental income that is available to cover reasonable increases in debt service. Rather than
         considering each owner's particular financing circumstances, it provides all owners with
         additional net operating income which can cover additional financing costs and/or provide
         additional cash flow return on investment.

         Furthermore, because value is a function (multiple) of net operating income, indexing NOI
         leads to appreciation in the value of a property, which may be converted into a capital gain.
         This approach meets the ordinance objectives of providing a fair return on investment and
         at the same meet its objectives of "protecting" the mobilehome owners from "excessive
         increases" and providing park owners with a "fair return on investment".

         As opposed to considering the specific financing and purchasing arrangements of particular
         investors, the use of a maintenance of net operating income (MNOI) formula would insure
         the provision of a fair return while protecting the mobilehome owners from excessive rent
         increase. The MNOI standard is now widely used in California in fair return cases under
         mobilehome space rent regulations.

 17   Palacio, Id,, 209 Cal. App.3d at 120.
 18 El   Dorado Palm Springs, Ltd.v. Rent Review Com., 230 Cal.App.3d. 335 (1991).

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      In Rainbow Disposal v. Mobilehome Park Rental Review Board, the Court concluded that
      the MNOI formula is a "fairly constructed formula" which provides a ""just and reasonable"
      return on ... investment," even if another formula may provide a higher return.

           ...[The] MNOI approach adopted by the Board is a "fairly constructed formula"
           which provided Rainbow a sufficiently "just and reasonable" return on its
           investment. ... The Board was not obliged to reject Baar*s MNOI analysis just
           because an historical cost/book value formula using Rainbow's actual cost of
           acquisition and a 10 percent rate of return would have yielded a higher rent
           increase.19

      Prior to the Rainbow case, in several cases, California appellate courts approved the MNOI
      method. In Oceanside Mobilehome Park Owners' Ass'n v. City Oceanside and Baker v. City
      of Santa Monica, California appellate courts upheld maintenance of net operating income
      fair return standards.20 In Oceanside the Court found that the standard was reasonable
      because it allowed an owner to maintain prior levels of profit.




                                                     Kenneth K. Baar




 " Rainbow Disposal v. Mobilehome Park Rental Review Board [Escondido], 64 Cal.App.4,h 1159, 1172
 (1998)
 20Oceanside Mobilehome Park Owners' Ass'n v. City of Oceanside, 157 Cal.App 887 (1984)- Baker v
 City of Santa Monica, 181 Cal.App.3d. 972 (1986)                                       '

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                                      GUIDELINES FOR IMPLEMENTATION OF THE
                                     MOBILEHOME SPACE RENT CONTROL ORDINANCE

                   These Guidelines are intended to assist the Board in
         implementing the Ordinance. However, the purpose of the
         Ordinance and the provisions of the Ordinance are controlling.
(
i        I.         Purpose and General Principles

               A.   The purpose of the Ordinance is to protect the
l-       homeowners who rent spaces in mobilehome parks in the city from
         excessive rents and to allow Park Owners to earn a "just and
         reasonable" or "fair" return on investment. Mobilehome owners
          ("homeowners") are a uniquely vulnerable group of tenants due to
         the investment made in purchasing and maintaining their homes and
         the high cost and difficulty involved in attempting to move a
         home. Additionally, many of the homeowners in the city are
         seniors on fixed incomes and many have low or moderate incomes.
         Unlike apartment tenants, homeowners cannot just pack their
         personal belongings and move if rents increase to a level they
         cannot afford.   In order not to lose the considerable investment
         made in purchasing and maintaining their homes, they must either
         sell their home in place in the park or move their home if they
         cannot afford the rent. However, it is very costly to move a·
         home and even when vacant spaces are available in the surrounding
         area, 'the parks having those vacant spaces often restrict them to
         rental by new ~obilehomes and will not accept homes being
         relocated· from another park.  Thus, moving the mobilehome is not
         generally a feasible alternative. A homeowner who can no longer
         afford the rent must sell the home quickly to avoid being evicted
         or defaulting on the mortgage on the home. However, excessive
         rents make a home difficult to sell and often require the
         homeowner to sell the home at a price which is insufficient to
         allow recovery of the investment made in the home.

              B.   Prior approval of the Board is required before any rent
         increase may be charged unless a specific exception is provided
         in the California Mobilehome Residency Law, Civil Code § 798, .et
         seq.  That Law exempts spaces subject to long term leases meeting
         its requirements from local regulation. It also exempts ~
         increases in utility charges under certain circumstances and
         exempts newly constructed spaces, as defined by the Mobilehome
         Residency Law.

              c.   The Ordinance assumes that the profit.earned by park



tj
     i   owners when the Ordinance was adopted provided a fair return
         because it was based on rents chosen by the owners prior to
         regulation.   (see §I(F) re rebutting this assumption) The
         Ordinance, therefore, uses the factors in § 4704(g) to focus on
         changes in a park's income, expenses and circumstances, including
         changes in the general economy, to determine whether a rent
         increase is appropriate to allow the owner to keep earning a fair
         return, and when a rent increase is appropriate to determine the
         amount of that increase.   The factors also require the Board to


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          consider any changes in the maintenance, services and amenities
          provided and rents for spaces in comparable mobilehome parks in
          the City and any change in the Consumer Price Index {"CPI") since
          the last hearing on an application by a park. A decrease in, or
          elimination of, services, maintenance or amenities may constitute
          a de facto rent increase in violation of the Ordinance and
(         increases in the CPI may, in certain circumstances, indicate the
          need for a rent increase to offset the erosion of profit by
'         inflation.

               D.   No one factor in the Ordinance is determinative and the
          factors must be considered together and balanced in light of the
          purposes of the Ordinance and all the relevant evidence.  The
          Ordinance does not mandate the use of any formula or guarantee
          increases equal to the increase in the CPI, or any percentage of
          the CPI.

               E.   Each park owner had the right to rebut the assumption
         that the rents set before the Ordinance was adopted provided a
         fair return when the park owner applied for the park's first rent
         increase, but cannot challenge the decisions of the Board except
         by legal challenge as provided in Ordinance §4798(c). When the
         Board grants a rent increase it is making a determination that
         the rent approved is "fair, just and reasonable." In other
         words, the Board determined that the rent approved was not
         excessive and allowed the park owner a fair return. The Board
         cannot reconsi9er its decisions on a rent adjustment application
         after they have been embodied in a formal written resolution
         setting forth the findings of the Board. Therefore, each rent
         increase application after the first application is evaluated
         only on the basis of changes in income, expenses, profit, the
         CPI, maintenance, amenities and services that have occurred since
         the date of the last increase approved by the Board. A park
         owner or homeowner who wishes to challenge the decision may do so
         by seeking review in the\courts, as set forth in §4708(c) of the
         Ordinance.

              F.   Notwithstanding Section D above, each park owner has
         the right to apply for an increase on the ground that existing
         rents do not allow the park owner to earn a fair return, as set
         forth in §IV below, in addition to an increase based on the
         factors in § 4704(g).

         II.        Income, Operating Expenses And Profit

              A.   An applicant must provide the most current data which


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    .
         is reasonably available concerning its income, expenses and
         profit.  In general, an application should include expenses,
         income and profit documentation for all years subsequent to those
         for which data was supplied with the last application through at
         least six months prior to the date of the application. An
         application that does not provide income, expense and profit data
         for the period between the date of the data submitted for the
         last increase application through six months prior to the date of


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        the current application will be deemed incomplete unless
        satisfactory reason is shown why such data cannot be supplied.
         (For example, records destroyed by fire, flood, etc., new owner
        cannot obtain files going back to date of last application.) The
        necessary data may be provided by calendar year, fiscal year or
        any other 12 month period selected by the applicant provided that
        the same 12 month period is used for all data supplied and the
        applicant utilizes the same 12 month period (e.g., July 1, 1993
        through June 30, 1994, January 1, 1993 through December 31,. 1993,
        April 1, 1993 through March 31, 1994) each time it applies for a
        rent increase. If an applicant changes the 12 month reporting
        period used, the applicant will have to supply calendar year data
        for the years since the last increase as well as data presented
        according to the newly selected 12 month reporting period.

                  1.   Income includes rents, fees for services not
        included in the rent such as RV parking, cable TV, security,
        etc., and any other income derived from the Park.  Income from
        utilities is not income within the meaning of the Ordinance. No
        fee may be charged in addition to the rent for a service that was
        included in the rent charged when the Ordinance was adopted,
        except as otherwise provided in the Mobilehome Residency Law.

                  2.   Examples of operating expenses are taxes, utility
        costs paid to a public utility if not billed separately,
        maintenance (except maintenance of utilities which is to be paid
        for from utili~y income pursuant to PUC ruling), repairs,
        management and accounting services. All expenses may be reviewed
        for reasonableness.

                        a.  Owner performed labor is generally an
        allowable operating expense so long as the amount and type of
        labor performed is documented and is not duplicated by expenses
        paid to others.

                        b.   Fees paid to management companies not in
        excess of 5% of gross rents are generally allowable; higher fees
        are not generally allowed unless justified by the applicant. .
        Costs incurred for resident managers are allowable in addition to
        off-site management expenses so long as there is no evide:ace of
        dup:Lication of services.

                       c.   Land lease payments are generally an
        allowable operating expense only when paid to a landowner other
        than the park owner. Lease payments made by a park owner to an
[:J     entity owned by the park owner will generally be deemed prof it


u
        rather than an operating expense.

                       d.   Debt service incurred prior to adoption of
        the Ordinance to purchase or operate the park is generally an
        allowable operating expense.

                       e.   Debt Service necessarily incurred to operate
        the park after adoption of the Ordinance is generally an


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      allowable operating expense if the financing arrangements were
      prudent and consistent with customary business practice.

                     f.  Debt service incurred after adoption of the
     Ordinance to purchase a park may be an allowable operating
     expense if the purchase price paid was reasonable in light of the
     rents allowed under the Ordinance and involved prudent and
     customary financing practices. An applicant shall have the
     burden of establishing the reasonableness of the purchase price
     and financing procedures.  If the applicant relies on an
     appraisal, the appraiser must be available for questioning at the
     hearing. Any other person relied upon must also be available at
     the hearing. When it is determined that some increase in debt
     service was reasonably necessary to acquire the park, but that
     the amount incurred was not reasonable in light of the Ordinance
     and customary and prudent financing practices, then only the
     appropriate portion of the debt service incurred may be allowed
     as an operating expense. The reason for these general rules is
     that passing on increased debt service due to purchases at prices
     above those that can be justified by the income earned by the
     park under rent control or incurred by unusual financing methods,
     such as 100% financing, would defeat the purpose of rent control.

                    g.   Debt service incurred in making capital
     improvements to a park may be recovered pursuant to the Capital
     Improvement Rent Increase provisions set forth below and is not
     an allowable ~perating expense.

                    h.   Principal payments on a mortgage are not an
     allowable operating expense.

                    i.    Reasonable attorneys' fees directly incurred
     in operating a park are generally allowable operating expenses.
     Attorneys' fees incurreq in presenting applications to the Board,
     for enforcing court rules or for eviction are examples of fees
     that are allowable operating·expenses. Examples of attorneys'
     fees which are not allowable are those incurred in connection
     with challenging the Ordinance or decisions of the Board or in
     connection with litigation seeking to recover damages or
     reimbursement from third parties or the City.             =

                    j.   Charitable and political contributions are
     not allowable operating expenses.

                    k.   If the operating expenses submitted for a



u
     park show a significant increase in expenses which is not due to
     the increased cost of regular operating expenses, is for an item
     which is not normally recurring, or is due to accumulating
     significant expenses in a single year instead of spreading them
     pursuant to a regular maintenance schedule, or if the expenses
     for a year are unusually low, the Board may consider the average
     of the park's last three years of expenses. The Board may
     consid~r the pattern of a park's income and expenses instead of




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       focusing on the income and expenses for a single year in order to
       avoid unreasonable results.

                      1.   An operating expenditure which covers
      expenses for more than one year may be pro-rated over the years
      to which it is attributable even if the cost thereof is paid all
(      in one year in order to avoid unreasonable results. An example
I
      of such an operating expense is an insurance premium which covers

l     two or three years. An operating expense which is financed
      ·shall also be pro-rated over the life of the loan by which it was
      financed.

           B.   Gross Profits Maintenance Analysis. In evaluating a
      rent increase application, the Board may consider, in addition to
      the factors specified in §4704(g) of the Ordinance, a "gross
      profits maintenance analysis," which compares the gross profit
      level expected from the last rent increase granted to the park
      prior to the current application ("target profit") to the gross
      profit shown by the current application. This analysis will be
      included in the staff report to the Board in addition to analysis
      concerning the eleven factors when there is sufficient data to
      permit such an analysis.

                The analysis is intended to provide an estimate of
      whether a park is earning the profit estimated to provide a fair
      return, as established by the immediately prior rent increase,
      with some adjustment to reflect any increase in the CPI. The
      analysis is an aid to ·assist the Board in applying the factors in
      the Ordinance and is to be considered together with the factors
      in §4704(g), other relevant evidence presented and the purposes
      of the Ordinance. The analysis is not intended to create any
      entitlement to any particular rent increase.

      III. Comparable Parks and Changes in Services, Maintenance and
      Amenities

           A.   Comparable Parks. The Ordinance directs the Board to
      consider rents in comparable parks in the city. Consideration of
      the rents for spaces in comparable mobilehome parks can assist
      the Board in determining the range of reasonable rents foJ;-:-a
      particular park. The reason the Ordinance specifies parks in the
      City is that comparison to rents in parks outside the City which
      are not subject to rent control would promote the excessive
      upward pressure on rents that the Ordinance is designed to avoid.
      Rents in unregulated markets are the result of ~he unequal
      bargaining power which arises from the shortage of spaces for
      relocating homes and the cost and difficulties inherent in trying
      to relocate a home.  The Ordinance is designed to prevent the
      excessive rents that can occur in such a market absent
      regulation.  Even if evidence were submitted showing a park in a
      neighboring jurisdiction with rent control to be comparable in
      quality, amenities, services and location, evidence would be
      required concerning the nature of the rent control·regulations in
      effect in that jurisdiction during the period from 1979 td the


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                present before the Board could determine whether the park was
                comparable within the meaning·of the Ordinance. Parks subject to
                the Los Angeles County mobilehome rent regulation ordinance have
                not been subject to rent regulation at all times since the
                adoption of the Carson Ordinance and were not and are not now
                subject to similar rent regulation. Therefore, rents in spaces
(        I
                in parks in unincorporated areas of Los Angeles County are not
                comparable within the meaning of the ordinance. Newly


l               constructed spaces, as defined by the Mobilehome Residency Law,·
                are also not comparable spaces within the meaning of the
                Ordinance even when they are located in City because the rents
                for those spaces are exempt from rent control and have never been
                subject to rent regulation.

                     B.   Changes in Park Amenities, Services and Maintenance.
                There is a range of rents or zone of reasonableness which will
                permit a fair return. Decreases in amenities, services and
                maintenance may indicate that a lesser increase within the zone
                of reasonableness is appropriate and increases in services,
                amenities and maintenance may indicate that a greater increase
                within the zone of reasonableness is appropriate. Further, the
                elimination of or decrease in maintenance, services and amenities
                may constitute a de facto rent increase imposed without the
                approval of the Board in violation of the Ordinance and may, in
                some circumstances require a decrease in the rent increase that
                might otherwise be granted or the denial of a rent increase.

                IV.       OTHER REi'EVANT EVIDENCE AND FAIR RETURN

                    A.   The Ordinance is based on the assumption that the rents
               in effect before the adoption of the Ordinance provided a fair
               return and park owners attempted to rebut that presumption when
               they first applied for an increase. Most applications submitted
               to the Board have been based on the factors in the Ordinance and
               Park Owners rarely off e~ evidence concerning their investment in
               a park, the return being earned on the park or the return being
               earned by comparable mobilehome parks. However, an applicant may
               file an application based on the claim that a rent increase i~
               necessary because the park cannot earn a fair return without an
               increase greater than that permitted by application of th~
               factors in the Ordinance as well as on the grounds provided by
               the factors in the Ordinance. Such an application must be made
               at the same time as aragular rent increase application and must
               include the following information, including supporting
               documentation and testimony, as well as the information



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               concerning income, expenses and profit which is ordinarily
     .
     .         required:
    .

                         1.   The date the applicant purchased the park and the
               purchase price of the park.  If the park was purchased after the
               adoption of the Ordinance, the applicant shall also provide the
               rents charged, the net operating income of the park prior to the
               purchase and an appraisal of the park at the time of purchase.
               Net operating income means gross income minus allowable operating


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               expenses (as set forth above) minus debt service. The appraiser
               performing the appraisal and preparing any appraisal report will
               be required to attend the hearing on the rent increase
               application.

                         2.   Any down payment made upon purchase of the park
r-             and the total amount of equity in the park on the date of the
               application. Any refinancing of the park since the date of
'       I
               purchase and whether the proceeds of the refinancing were used to
l              improve the park or for other purposes.

                         3.   Any capital improvements made to the park, the
               cost thereof and whether that cost was recovered by a capital
               improvement rent increase.

                        4.    The Overall Rate of Return (ratio of net operating
              income to purchase price) being earned by comparable mobilehome
              parks in jurisdictions with and without rent control at the time
              of the application. The overall Rate of Return being earned by
              the applicant's park (after making any adjustments to the
              purchase price necessary as a result of purchase after the
              adoption of rent control) . Other measures of the rate of return
              being earned on the applicant's park and comparable parks and
              other evidence considered relevant by the applicant may also be
              submitted, but the Board is concerned with return on investment.
              It will not consider return based on the current fair market
              value of a par~ or the value of park property for purposes other
              than use as a·mobilehome park.   Any expert relied upon concerning
              the return being earned by the applicant or comparable parks or
              investments must be available for testimony and questioning at
              the hearing.   Since mobilehome parks are unique investments, it
              is unlikely that the return on other types of investments would
              be found relevant by the Board.   Thus, the return on investments
              which do not have the potential for appreciation in value are not
              relevant. Similarly, comparison to the return being earned by
              other residential rental property is not likely to be relevant
              since the owners of such properties must maintain.the actual
              housing units whereas the owners of mobilehome parks do not h~ve
              this responsibility or expense because mobilehome owners are
              responsible for maintaining them and the spaces which theJC-:-rent.
              The owners of apartment complexes incur expenses in re-renting
              vacant units which are not incurred by mobilehome park owners and
              apartment owners experience a much higher vacancy rate .• In the
              case of mobilehome parks, the existence of a vacant space is
              uncommon since homes are usually sold in place and rent is



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              generally paid on a space so the home can remain on the space
    .
    .         until it is sold even if the owner has moved out.   Further, the
              residents of mobilehome parks invest in improvements which
              enhance the applicant's investment and this does not occur in
              other types of residential rental properties.




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       V.       MISCELLANEOUS

            A.   Evidence concerning the income of the park owner from
       sources other than the mobilehome park is not relevant and will
       not be considered.  Evidence of the income of homeowners will
       generally not be considered because the need to protect low
       income homeowners is one of the reasons for adopting the
       Ordinance, which is designed to protect them and all homeowners
       from excessive rents.

            B.   Evidence concerning expenses, income, profit or changes
       in services, maintenance and amenities that was considered at the
       last hearing on a rent increase application by a park will not be
       reconsidered.

            c.   The Board cannot grant an increase greater than that
       specified in the application. Considering a larger increase
       could deprive affected homeowners of an opportunity to oppose the
       larger increase. Residents are given notice of the specific
       increase requested and decide whether to submit written
       opposition or appear to testify concerning the application based,
       in part, on the amount of the increase noticed. Although a
       resident might not oppose the noticed increase and not be present
       to testify at the hearing for that reason, that resident might
       have appeared to oppose a larger increase.


       VI.       Capital Ifuprovement Rent Increases

            A.   Definition and Examples. Capital Improvement is
       defined by Section 4701(c) of the Mobilehome Space Rent Control
       Ordinance to mean "improvements to a mobilehome park and major
       rehabilitation of a mobilehome park that involve more than
       ordinary maintenance antj. repairs."
                                         \,



                 1.   Normal routine maintenance and repair of a park is
       not a capital improvement. For example, patching of potholes and
       slurrying of asphalt streets and roadways constitute ordinary.
       repairs and are not capital improvements within the meaning of
       the Ordinance.                                           -

                 2.   Replacement or major reconstruction of an existing
       facility or improvement constitutes a capital improvement.   For
       example, the replacement and/or reconstruction of streets or
       roadways, constitute capital improvements. Repairs to common
(J     areas where such work is part of a major rehabilitation,
       refurbishment, reconstruction, or remediation project, are also

u      examples of capital improvements.

                 3.   Addition of new facilities in a park, such as a
       new office or utility room, a sauna, jacuzzi, pool or an addition
       to a recreation room, are also examples of capital improvements.




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                       4.   The costs of major rehabilitation or refurbishment
             necessitated by acts of nature (earthquake, fire, ·flood, storm)
             or major remediation work such as environmental clean-up are also
             examples of capital improvements.

                      5.   Capital improvements which would otherwise form
            the basis for a capital improvement rent increase cannot be the
            basis of such an increase if the park owner charges a fee for the
            use of the improvement.  For example, additional washers and
            dryers installed for the use of residents cannot be the basis for
            a capital improvement rent increase if the tenants must pay to
            use them.

                      6.   Portable items, such as pool furniture and
            landscaping or gardening equipment, do not constitute capital
            improvements, unless they are part of a major rehabilitation or
            refurbishment.

                      7.   Costs of any capital improvement that have been
            recovered by the owner through any insurance claim, litigation,
            or other right of indemnity shall be excluded for purposes of
            determining the amount of any capital improvement.

                       B.         Determination of Allowable Increases.

                                  1.           Amortization Periods

                      In a~ortizing capital improvements, the following
            schedule shall be used to determine the amortization period of
            the capital improvement.  For those items not listed, the
            amortization period for an improvement which has similar
            characteristics shall be used.  The amortization period below may
            be increased or decreased depending upon the quality of the
            improvement, the conditions placed upon it or any other relevant
            factors affecting amortization. The Board may rely upon
            Department studies or reports it deems appropriate in
            establishing a greater or lesser amortization period or an
            amortization period for any item not listed below:

                       Expenditure                                      Years

                       Appliances
                        Major Appliances, residential                   10-18
                        Garage door openers                              8-11
                        Garbage disposers, washing machines              6-.12




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 ~.




                        Home electronics                                 5-12
  -   l                 Telephone systems
                        Vacuum-cleaning system
                                                                         9-12
                                                                         12-17

                       Exterior
                        Awnings and window screens                        3-9
                        Canopies and patio covers                        12-19
                        Exterior paint                                    3-7
                           sealers, silicone, etc.                        1-5


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                        Fireplaces, chimneys, masonry       35-55
                          metal                             20-35
                        Shutters                             3-7
                        Storefronts                         18-25
                          entrance doors, automatic          7-20

 (                  Floor Covering
 i                    Access (Computer) floor               10-18
                      Carpet and pad                         4-10
                      Carpet tiles                           5-10
                      Ceramic, quarry, precast terrazzo
                         tile/pavers                        25-40
                      Indoor-outdoor carpet                  3-10
                      Linoleum                              10-20
                      Rubber mats                            3-6
                      Terrazzo, bonded or epoxy             25-50
                      Vinyl composition tile or sheet        7-19
                      Vinyl or rubber tile or sheet         12-24
                      Wood flooring                         20-35

                   Hazardous waste Removal/
                    Environmental Clean-up                  10-20

                   Interior
                     Acoustical ceiling tiles or panels      8-15
                     Cabinets                               15-35
                     counter~ops, laminates                 10-35
                     Doors, 'hollow core                    18-25
                        solid                               25-50
                        shower                               5-25
                     Drapery                                 6-12
                     Lighting                               15-35
                     Paint                                  ,3-10.
                     Tile, glazed                           20-45
                     Vertical blinds                         5-16
                     Wallpaper                               7-18

                   Heating, Ventilating and Air
                   Conditioning
                    Solar-heating systems                   5-15
                    Exhaust and ventilating fans            6-18
                    Air ducts, galvanized steel            17-30
                        aluminum                           15-32
                        fiberglass                         14-28
                        duct insulation                    12-24
                    Fans and motors                        14-20
                    Heating and cooling coils              10-17

                   Plumbing
                        Plumbing fixtures                  17-30
                          enameled steel                    5-14
                          fiberglass                       10-20
                        Faucets and valves                  8-16



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                                 Water heaters, residential            3-12
                                   commercial                          8-20
                                 Pumps, sump and well                  8-15
                                 Pipe, galvanized                     12-30
                                   copper                             20-35
                                   plastic                            15-33
(                                Sprinkler and fire protection
                                 systems                              20-30
l
                                 residential smoke detectors          10-17
t
!
                                 smoke and heat detectors             13-20
\                                fire hose and misc. equip             7-13
                                 Miscellaneous pumps, motors,
                                 controls                               3-10

                      Rehabilitation Expenses (Earthquake,
                      fire, flood, storm)
                           Architectural and
                             Engineering Fees                          3-5
                           Emergency Services
                             Clean-up                                  3-5
                             Fencing and
                               Security                                3-5
                             Management                                3-5
                             Tenant Assistance                         3-5
                                 Structural Repair and Retrofitting
                                   Foundation Repair                   5-10
                                   Fcfundation Replacement            15-20
                                   Foundation Bolting                 15-20
                                   Iron or Steel Work                 15-20
                                   Masonry-Chimney Repair             15-20
                                   Shear Wall Installation             5-10

                                 Grading      \._                     15-20

                      Roofing
                        Built-up tar and gravel                       10-20
                        Composition shingles                          12-30
                        Elastomeric                                   12-25
                        Metal                                         13-45
                        Slate or copper                               50-60
                        Tile, concrete or clay                        30-50
                        Wood shakes                                   20-35
                        Wood shingles                                 16-30
                        Exposed insulation                            19-24



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    -·i
                        Gutters and downspouts                        10-30
     .
     .
                      Site Improvements
                        Bulkheads, concrete                           30-40
                          steel                                       25-35
                          wood                                        20-30
                        Culverts, concrete                            30-40
                        Curbing, poncrete                             15-25
                        Flagpole                                      16-30


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                     Fencing, chain link                                   13-20
                       masonry walls                                       20-35
                       wood                                                 6-12
                       wind screens                                         4-7
                     Landscaping, decorative shrubs,
                     trees, etc.                                            7-20
                     outdoor furniture                                      3-10
                     outdoor lighting fixtures                             10-20
                     Parking lot bumpers                                    3-7
                       guard rails                                          7-13
                     Paving, asphalt                                        5-17
                       concrete/brick                                      10-20
                     Railings                                               5-10
                     Signs                                                  8-14
                     Sprinklers, galvanized pipe                           10-25
                       plastic pipe                                        15-28
                       controllers and pumping systems                      8-13
                     Stairway and decks, wood                               7-15
                       cement composition                                  12-25
                     structural Additions (utility room,
                     offices, guardhouses)                                10-20
                     swimming pool, commercial, concrete                  15-30
                     Mechanical equipment                                  10-20
                     Spas                                                   3-12
                     Solar pool equipment                                   7-20
                     synthetic sports surfaces                             3-8
                     Tennis court                                         18-25
                       asphilt/colored concrete
                          resurfacing                                       3-7
                       nets                                                1-3
                     Underground sewer and water lines                    22-32

                            2.           Calculation

                The monthly r~nt increase for each mobilehome space
      based on a capital improvement shall be calculated according to
      the following formula: Cost of the capital improvement,
      including interest, divided by the amortization period; the
      result of that calculation divided by twelve (12) months; and the
      result of th~t calculation by the number of all spaces.   =
           For example, the allowable capital improvement rent increase
      for a street replacement .(paving) costing $10,000 (including
      interest) and having a useful/amortizable life of ten (10) years
      is calculated as follows:

                            $10,000.00           =     $1, 000 .:oo annual amortization cost.
                            10 years

                            $ 1,000.00           =     $83.33 monthly amortization cost.
                            12 months

                            $            83.33   =     $2.78 monthly rent increase per space
                            30 spaces                  for ten years


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                3.   In general, a capital improvement should not be
      amortized over a period which would yield a monthly per space
      increase of over ten percent (10%).  In such a case, a longer
      amortization period may be appropriate. The percent increase
      represented by a particular capital improvement rent increase
      shall be calculated by dividing the proposed capital improvement
      rent increase by the amount of the existing base rent. Thus, in
      the case of the above street replacement example, the percent
      increase is calculated as follows:

                 $2.78 (proposed capital improvement
                 rent increase                            =   2.1% (rent increase)
                 $130 (existing base rent)

                In cases where a longer amortization period is used to
      avoid a monthly per space increase of over ten percent (10%),
      interest at the legal rate of interest shall be allowed over the
      entire amortization period.

                4.   Notwithstanding the subsections above, based·upon
      the circumstances of a particular case, the Board shall have the
      discretion to determine capital improvement costs or appropriate
      amortization in any alternative manner necessary to protect the
      residents of the mobilehome park from excessive rents while
      ensuring the park owner receives a fair return.

           c.    Cos~. of the Capital Improvement.  The applicant shall
      provide documentary evidence of the actual cost incurred for the
      capital improvement. The cost thereof shall include the interest
      expense incurred on money borrowed to pay for the capital
      improvement.    In those cases where the park owner finances the
      capital improvement or a part thereof with his/her own funds,
      interest at the legal rate of interest computed over a reasonable
      amount of time shall be included as a part of the capital
      improvement cost.    In d~termining the reasonable amount of time
      over which interest shall be allowed, the Board shall be guided
      by the. current practices of state and federally chartered banks
      and/or savings & loan associations as to the length of time for
      repayment of improvement loans, provided, however, that the time
      shall not exceed the amortization period used in calculating the
      allowable capital improvement rent increase. The staff report
      shall provide data to the Board concerning the reasonable amount
      of time over which interest shall be allowed.

                 D.         Application Procedures.

                1.   An applicant may, but is not required to, submit
      an application for a capital improvement rent increase at the
      same time as the application for a general rent increase.
      However, if an application for a general rent increase and an
      application for a capital improvement rent increase for the same
      park are submitted together they will be considered on the same
      hearing date except in unusual circumstances.·



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                                                                EXHIBIT B, Page 32

                                              Exhibit 7
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                      Case
                      ....
                       '•
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.....                                                   #:180                  Resolution No. 98-01 O
                                                                                 Page16ofl'G


                                      2.   An application for a capital improvement rent
                            increase is to be evaluated and heard separately from an
                            application for a general rent increase. A separate application
                            form must be submitted for each type of rent increase
                            application.  When a general rent increase application and a
                            capital improvement rent increase application are filed together,
                            the capital improvement rent increase application shall be heard
                            first.

                                      3.   A fee shall be charged for each rent increase
                            application. However, if an application for a capital
                            improvement rent increase and an application for a general rent
                            increase for the same park are submitted together, only one fee
                            will be charged.

                                      4.   When the owner submits an application for both a
                            general rent increase and a capital improvement increase at the
                            same time and they are set for hearing on the same date, the
                            notice to tenants prepared and sent by staff shall indicate that
                            both increases are requested and will be heard on the same
                            hearing date but will be heard separately. On the hearing date
                            set to consider the applications the Board shall hold a separate
                            public hearing on each application and the capital improvement
                            rent increase application shall be heard first.




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                        KENNETH BAAR - 02/02/2016                                                             ·

    ·1· · · · · · · · ·UNITED STATES DISTRICT COURT

    ·2· · · · · · · · ·CENTRAL DISTRICT OF CALIFORNIA

    ·3

    ·4·   ·COLONY COVE PROPERTIES, LLC, a· · )·                                              No. CV14-03242
    · ·   ·Delaware limited liability· · · · )·                                              · · PSG (PJWx)
    ·5·   ·company,· · · · · · · · · · · · · )
    · ·   · · · · · · · · · · · · · · · · · ·)
    ·6·   · · · · · · Plaintiff,· · · · · · ·)·                                              Volume 1
    · ·   · · · · · · · · · · · · · · · · · ·)·                                              Pages 1 to 250
    ·7·   · · · · · vs.· · · · · · · · · · · )
    · ·   · · · · · · · · · · · · · · · · · ·)
    ·8·   ·CITY OF CARSON, a municipal· · · ·)
                                             KENNETH BAAR - 02/02/2016

    · ·   ·corporation; CITY OF CARSON· · · ·)
    ·9·   ·MOBILEHOME PARK RENTAL REVIEW· · ·)
    · ·   ·BOARD, a public administrative· · )
    10·   ·body; and DOES 1 to 10, inclusive,)
    · ·   · · · · · · · · · · · · · · · · · ·)
    11·   · · · · · · Defendants.· · · · · · )
    · ·   ·__________________________________)
    12

    13

    14

    15· ·DEPOSITION OF:

    16

    17· · · · · · · · · · · ·KENNETH BAAR

    18· · · · · · · · · · · ·Tuesday, February 2, 2016
                                  DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com

    19· · · · · · · · · · · ·10:01 a.m.

    20

    21

    22

    23· ·Reported by:

    24· · · · · · · · · · · ·MONICA T. VOGELBACHER

    25· · · · · · · · · · · ·CSR No. 6406


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                        KENNETH BAAR - 02/02/2016                                             Page 2

    ·1· · · · · · Deposition of KENNETH BAAR, Volume 1, taken at
    ·2· ·1299 Ocean Avenue, Suite 900, Santa Monica, California,
    ·3· ·beginning at 10:01 a.m. and ending at 6:52 p.m., on
    ·4· ·Tuesday, February 2, 2016, before MONICA T. VOGELBACHER,
    ·5· ·Certified Shorthand Reporter No. 6406.
    ·6
    ·7· ·APPEARANCES:
    ·8                                        KENNETH BAAR - 02/02/2016




    ·9· ·For Plaintiff:
    10
    11· · · · · · GILCHRIST & RUTTER
    12· · · · · · BY:· THOMAS W. CASPARIAN
    13· · · · · · Attorney at Law
    14· · · · · · 1299 Ocean Avenue, Suite 900
    15· · · · · · Santa Monica, California· 90401
    16· · · · · · (310) 393-4000
    17· · · · · · tcasparian@gilchristrutter.com
    18                             DTI Court Reporting Solutions - Woodland Hills
                          1-800-826-0277                                 www.deposition.com


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                        KENNETH BAAR - 02/02/2016                                            Page 3

    ·1· ·APPEARANCES (Continued):
    ·2
    ·3· ·The Defendants:
    ·4
    ·5· · · · · · ALESHIRE & WYNDER, LLP
    ·6· · · · · · BY:· JUNE S. AILIN
    ·7· · · · · · · · ·JEFF M. MALAWY
    ·8· · · · · · Attorney at Law            KENNETH BAAR - 02/02/2016




    ·9· · · · · · 2361 Rosecrans Avenue, Suite 475
    10· · · · · · El Segundo, California· 90245
    11· · · · · · (310) 527-6665
    12· · · · · · jailin@awattorneys.com
    13· · · · · · jmalawy@awattorneys.com
    14
    15· ·Also Present:
    16
    17· · · · · · SUSY FORBATH
    18                            DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com


    19
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                        KENNETH BAAR - 02/02/2016                                            Page 96

    ·1· · · · A· ·What was your statement, again?
    ·2· · · · Q· ·Pursuant to the ordinance and guidelines, debt
    ·3· ·service must be considered in determining a fair, just
    ·4· ·and reasonable expense?
    ·5· · · · A· ·Yeah, there is a qualification in that, which
    ·6· ·is, you know, the rest of that, you know:
    ·7· · · · · · "Debt service obtained after the
    ·8· · · · · · adoption of the ordinance should be
                                             KENNETH BAAR - 02/02/2016




    ·9· · · · · · allowed all operating expenses to the
    10· · · · · · extent it is reasonable, in light of
    11· · · · · · the existing rents and prudent
    12· · · · · · financing procedures."
    13· · · · · · So it's a qualified.· Yes, it says it shall be
    14· ·considered, and then the next sentence says it's subject
    15· ·to this qualification to the extent it's reasonable.
    16· · · · Q· ·Understood.· So let's dig deeper into that.
    17· · · · · · That's -- according to your report, that's at
    18· ·II, capital A, 2, small f in the guidelines.
                                  DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com


    19· · · · A· ·Right.
    20· · · · Q· ·Tell me when you've located that within the
    21· ·guidelines.
    22· · · · A· ·Okay, that's on page 6 of 16.
    23· · · · Q· ·Okay.· And if you could read the first sentence.
    24· ·You want us to refer to this to qualify the extent to
    25· ·which debt services is allowable, correct?


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                        KENNETH BAAR - 02/02/2016                                            Page 97

    ·1· · · · A· ·That's correct.
    ·2· · · · Q· ·Okay.· If you could read the first sentence of
    ·3· ·what you're referring to here.
    ·4· · · · A· ·"Debt service incurred after
    ·5· · · · · · the adoption of the ordinance to
    ·6· · · · · · purchase a park may be an allowable
    ·7· · · · · · operating expense if the purchase
    ·8· · · · · · price paid was reasonable in light of
                                             KENNETH BAAR - 02/02/2016




    ·9· · · · · · the rents allowed under the ordinance
    10· · · · · · and involved prudent and customary
    11· · · · · · financing practices."
    12· · · · Q· ·Okay.· And in your report, you state, and
    13· ·purporting to quote that very same section, it seems:
    14· · · · · · "Debt service shall be considered as
    15· · · · · · an allowable operating expense.· Debt
    16· · · · · · service obtained after the adoption of
    17· · · · · · the ordinance shall be an allowable
    18· · · · · · operating expense to the extent that
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                         1-800-826-0277                                 www.deposition.com


    19· · · · · · it is reasonable in light of the
    20· · · · · · existing rents and prudent financing
    21· · · · · · procedures."
    22· · · · · · That phrase, "in light of the existing rents,"
    23· ·does not appear in these guidelines, does it?· It
    24· ·certainly doesn't appear in section 2A2f.
    25· · · · A· ·Right, the word "existing" isn't there.


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                         KENNETH BAAR - 02/02/2016                                           Page 98

    ·1· · · · Q· ·Right.· The guidelines actually say:· "...in
    ·2· ·light of the rents allowed under the ordinance..."
    ·3· ·Correct?
    ·4· · · · A· ·Yes.
    ·5· · · · Q· ·It does not say, "to the extent that it is
    ·6· ·reasonable in light of the existing rents."
    ·7· · · · A· ·Right.· Yes.· And that's a correction I would
    ·8· ·make.                               KENNETH BAAR - 02/02/2016




    ·9· · · · Q· ·You've misquoted the guidelines in your report,
    10· ·haven't you?
    11· · · · A· ·Right.· I've left -- I put in a word that is not
    12· ·there.
    13· · · · Q· ·No, it's more than just putting in a word,
    14· ·right?· You can take some time.· I'm not trying to, you
    15· ·know, trap you or anything.
    16· · · · · · It's more than just the word "existing rents."
    17· ·It's "rents allowed under the ordinance," as opposed to
    18· ·"existing rents."        DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com


    19· · · · A· ·Right.· Okay, yes.
    20· · · · Q· ·And in preparing your report, you relied on your
    21· ·phrasing of the guidelines as you quoted it here in the
    22· ·report, correct?
    23· · · · A· ·Yes.
    24· · · · Q· ·So we don't examine the debt services'
    25· ·reasonableness in light of existing rents, an investor


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    ·1· ·should examine the reasonableness of the debt service in
    ·2· ·light of what rents are allowed under the ordinance,
    ·3· ·correct?
    ·4· · · · A· ·Yes.
    ·5· · · · Q· ·That could change the whole meaning of the
    ·6· ·reasonableness of the debt service, couldn't it?
    ·7· · · · A· ·No.
    ·8· · · · · · MS. AILIN:· Objection, argumentative.
                                             KENNETH BAAR - 02/02/2016




    ·9· · · · · · Go ahead and answer.
    10· · · · · · THE WITNESS:· I'd say the rents -- the existing
    11· ·rents are the rents allowed under the ordinance.
    12· ·BY MR. CASPARIAN:
    13· · · · Q· ·Existing rents would be included in this rents
    14· ·allowed under the ordinance, right?
    15· · · · A· ·Yes.
    16· · · · Q· ·But rents allowed under the ordinance could also
    17· ·be future rent increases allowed under the ordinance,
    18· ·right?                   DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com


    19· · · · · · MS. AILIN:· Objection, vague and ambiguous,
    20· ·argumentative, calls for speculation.
    21· · · · · · Go ahead and answer.
    22· · · · · · THE WITNESS:· Well, if -- put it this way...
    23· ·Yeah, the rents allowed under the ordinance is not
    24· ·defined.
    25· ·BY MR. CASPARIAN:


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                         KENNETH BAAR - 02/02/2016                                            Page 131

    ·1· ·or not a park owner was earning a fair return?
    ·2· · · · A· ·My understanding is no.
    ·3· · · · Q· ·They don't discuss a maintenance of net
    ·4· ·operating income formula anywhere in them, do they?
    ·5· · · · A· ·No, they didn't at that time.
    ·6· · · · Q· ·I'm going to direct your attention back to your
    ·7· ·2016 report, page 2 of your report.
    ·8· · · · A· ·Okay.                       KENNETH BAAR - 02/02/2016




    ·9· · · · Q· ·You discuss the gross profit maintenance
    10· ·analysis.· You explain that the guidelines require the
    11· ·performance of a gross profit maintenance analysis, but
    12· ·they reiterate that no single factor shall be
    13· ·determinative, and it shall be considered in conjunction
    14· ·with other factors, correct?
    15· · · · A· ·Yes.
    16· · · · Q· ·And then you quote a section of the guidelines
    17· ·that they do not create an entitlement.
    18· · · · · · Next you state:  DTI Court Reporting Solutions - Woodland Hills
                          1-800-826-0277                                 www.deposition.com


    19· · · · · · "One may debate precisely what the
    20· · · · · · ordinance in the guidelines would
    21· · · · · · require in a particular case.
    22· · · · · · However, at a minimum, these terms
    23· · · · · · provided notice of a significant
    24· · · · · · probability that an increase in debt
    25· · · · · · service may not be covered by an


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                         KENNETH BAAR - 02/02/2016                                            Page 132

    ·1· · · · · · allowable rent adjustment."
    ·2· · · · · · Do you mean to say "probability" or do you mean
    ·3· ·to say "possibility"?
    ·4· · · · A· ·Okay, I would say possibility.
    ·5· · · · Q· ·So it would be fair to amend your opinion there
    ·6· ·to replace "probability" with "possibility"?
    ·7· · · · A· ·Right, when we're talking about the guidelines.
    ·8· · · · Q· ·Fair enough.                KENNETH BAAR - 02/02/2016




    ·9· · · · · · One of the purposes of the ordinance and
    10· ·guidelines is to prevent excessive rents, correct?
    11· · · · A· ·Yes.
    12· · · · Q· ·And "excessive" doesn't mean affordable to low
    13· ·income, right?
    14· · · · · · MS. AILIN:· Objection, vague and ambiguous.
    15· · · · · · Go ahead and answer.
    16· · · · · · THE WITNESS:· Well, it's not the way I would
    17· ·define "excessive."
    18· ·BY MR. CASPARIAN:         DTI Court Reporting Solutions - Woodland Hills
                          1-800-826-0277                                 www.deposition.com


    19· · · · Q· ·It's really got nothing to do with the income of
    20· ·the park residents, correct?· This isn't like the
    21· ·inclusionary housing that you were talking about, that
    22· ·was part of your work done for the city of Berkeley?
    23· · · · A· ·Let me say the fair return standards don't take
    24· ·into account tenant income.
    25· · · · Q· ·All right.


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                        KENNETH BAAR - 02/02/2016                                            Page 154

    ·1· ·expense calculation or not.
    ·2· · · · Q· ·Maybe I misunderstood your testimony.
    ·3· · · · · · I thought your report and your testimony today
    ·4· ·was that in 32 of these 33 cases, the final rent decision
    ·5· ·was based on the gross profit maintenance formula.
    ·6· · · · A· ·Yes.· Okay, all I'm saying, they used the gross
    ·7· ·profit maintenance formula, and I'm just saying, you
    ·8· ·know, when they applied it -- I don't remember looking at
                                             KENNETH BAAR - 02/02/2016




    ·9· ·the final calculation, I looked at the fact that the debt
    10· ·service decreased in 21 of those cases.· So I don't
    11· ·remember seeing the mathematical calculations.
    12· · · · · · I think -- I'm not disagreeing with you, I just
    13· ·don't remember exactly what they did.· They used a GPM
    14· ·analysis.
    15· · · · Q· ·When you say "they used the GPM analysis," you
    16· ·don't mean that it was performed as it was in the Colony
    17· ·Cove case but not relied on, you mean the GPM formula was
    18· ·the formula used to determine the rent increase in 32
                                  DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com


    19· ·cases, correct?
    20· · · · A· ·That was my understanding what they did.
    21· · · · Q· ·And you reviewed the rent decisions themselves?
    22· ·I don't expect you to have a perfect memory of any of
    23· ·them.· I'm just saying --
    24· · · · A· ·Yeah, I remember -- yeah, I don't completely
    25· ·remember the process, but, yeah, I think I reviewed them.


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 ·1· · · · Q· ·Okay.· KENNETH
                       So necessarily,   if the final rentPage
                              BAAR - 02/02/2016                                              155

 ·2· ·decision was the result of application of the gross
 ·3· ·profit maintenance formula, then, necessarily, the
 ·4· ·decrease in debt service was factored into that final
 ·5· ·decision?
 ·6· · · · A· ·Yes, I agree with that.· All I'm saying is, I
 ·7· ·didn't look to see if they necessarily completely
 ·8· ·followed it in those cases.· I mean --
                                             KENNETH BAAR - 02/02/2016


 ·9· · · · Q· ·You didn't look to see if they did it
 10· ·accurately?
 11· · · · A· ·Right.· Or, for example, they said, you know,
 12· ·"We're not going to reduce it by the reduction in debt
 13· ·service, we're not going to count what that" -- they did
 14· ·a GPM analysis.· I'm just saying I don't know if they
 15· ·followed every single step of it as you describe, which
 16· ·would be the logical result.
 17· · · · Q· ·Okay.· That wouldn't really be doing the gross
 18· ·profit maintenance analysis, would it?
                                  DTI Court Reporting Solutions - Woodland Hills
                         1-800-826-0277                                 www.deposition.com




 19· · · · A· ·Well, I say they wouldn't be following -- you
 20· ·know, I believe they followed it.· I'm just saying
 21· ·sitting here, if they decide in one case, well, we're
 22· ·using this GPM, but we're not going to subtract for the
 23· ·reduction in debt service, I don't remember verifying it.
 24· ·That's all I'm saying.
 25· · · · Q· ·But that would be --
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 ·1· ·STATE OF CALIFORNIA·
                     KENNETH· BAAR
                               · ·    ) 02/02/2016
                                      -                        Page 250
 · · · · · · · · · · · · · · · ·       : ss
 ·2· ·COUNTY OF LOS ANGELES· · ·       )

 ·3

 ·4· · · · · · I, the undersigned, a Certified Shorthand

 ·5· ·Reporter of the State of California, do hereby certify:

 ·6· · · · · · That the foregoing proceedings were taken before

 ·7· ·me at the time and place herein set forth; that any

 ·8· ·witnesses in the foregoing proceedings, prior to

 ·9· ·testifying, were placed under oath; that a verbatim

 10· ·record of the proceedings was made by me using machine

 11· ·shorthand which was thereafter transcribed under my

 12· ·direction; further, that the foregoing is a true record

 13· ·of the testimony given.

 14· · · · · · Before completion of the deposition, review of

 15· ·the transcript [X] was [ ] was not requested.· If

 16· ·requested, any changes made by the deponent (and provided

 17· ·to the reporter) during the period allowed are appended

 18· ·hereto.

 19· · · · · · I further certify that I am not interested in

 20· ·the outcome of the action.

 21· · · · · · WITNESS my hand this date February 17, 2016.

 22

 23

 24· · · · · · · __________________________________________

 25· · · · · · · MONICA T. VOGELBACHER, CSR No. 6406
               DTI Court Reporting Solutions - Woodland Hills
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                                      CURRICULUM VITAE

                                      Kenneth Kalvin Baar
                                    Urban Planner & Attorney
                                   2151Vz Stuart St. Berkeley, Ca. 94705
                                            kenbaar@aol.com


  Education:

  B.A., 1969, Wesleyan University, Middletown, Conn. Major: Government

  J.D., 1973, Hastings College of Law, Univ. of California, San Francisco, Ca.

  M.A., 1982, Urban Planning, University of California at Los Angeles

  Ph.D., 1989, Urban Planning, University of California at Los Angeles
               (Dissertation topic: "Explaining Crises in Rental Housing Construction: Myth and
               Schizophrenia in Policy Analysis")

  Foreign Languages: French and Italian

  Teaching:

  Instructor, San Francisco State University, Urban Studies Program (1983-1984)

  Visiting Professor (Fulbright Scholar), Budapest University of Economic Sciences (Sept. 1991- June
       1993)

  Visiting Assistant Professor, Urban Planning Department, School of Architecture, Planning, and
       Preservation, Columbia University, New York (1994 - 1995) (courses: planning law, introduction to
       housing, comparative housing)

  Visiting Professor (Fulbright Scholar), Technical University, Tirana, Albania
       (Introduction to urban planning) (2002-2003)




  Short Courses, Series of Lectures

  Kiev University Law School, real estate law (1992, one week course)

  Polis University, Tirana, Albania, urban planning studios (two week courses, 2009 & 2010)




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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA




 _________________________________________________
                                                  ) Case No. CV14-03242 PSG
 COLONY COVE PROPERTIES, LLC                      )          (PJWx)
                                                 )
             Plaintiff,                           )
                                                 )
       v.                                        )
                                                 )
 CITY OF CARSON and CITY OF CARSON               )
                                                 )
 MOBILEHOME PARK RENTAL REVIEW BOARD             )
                                                 )
             Defendants.                         )
                                                  )




                              EXPERT REPORT OF

                         PETER A. SALOMON, CPA, CFF

                               JANUARY 11, 2016




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I.      RETENTION

I have been retained by O’Melveny & Myers LLP and Gilchrist & Rutter Professional
Corporation, counsel for plaintiff Colony Cove Properties, LLC (“Colony Cove”). I have been
asked to offer my expert opinions on the amount of economic damages owed to Colony Cove
due to the actions of the City of Carson and the City of Carson Mobilehome Park Rental Review
Board (“Defendants”). These actions relate to not providing rent increases that account for the
financing costs incurred to purchase a 404-space mobilehome park in the City of Carson (the
“Mobilehome Park”) on April 4, 2006. I have also been asked to calculate a prejudgment
interest rate and calculate the amount of prejudgment interest on these economic damages.


II.     BACKGROUND


Colony Cove purchased the Mobilehome Park on April 4, 2006 for $23,050,000, with a down
payment of $5,050,000 (representing 21.9% of the purchase price) and a mortgage of
$18,000,000. 1 An independent appraisal of the property by Rob Detling indicated the property
had a value of $23 million as of March 30, 2006. There are 403 rentable spaces in the
Mobilehome Park.


In the first year of operations (fiscal year ended March 31, 2007) Colony Cove incurred a loss of
$1,082,191, in large part due to costs associated with financing the purchase of the property
(interest of $1,224,681 and loan fees of $29,461 2 for a total of $1,254,142). 3 Colony Cove had
the expectation when it purchased the property that the costs of financing the property would be
considered and included in future rent increases related to the general and fair return rent
increases that could be approved by Defendants. This expectation was principally based upon
the provisions contained in the City of Carson Guidelines for Implementation of the Mobile
Space Rent Control Ordinance (“City of Carson Guidelines”), the prior conduct of Defendants in
granting increases in rents for other rent-controlled properties as well as certain judicial rulings.

1
  First Amended Complaint, paragraphs 19 - 21.
2
  Pursuant to the City of Carson Staff Report corrections to reduce the operating expenses of Colony Cove for the
2007 fiscal year, the actual loan fees paid of $147,306 are amortized over the 5-year life of the loan at $29,461
(00733 – 00734).
3
  Colony Cove Mobile Estates Application for Mobilehome Space Rent Increase for the fiscal year ended March 31,
2007, page 11 of 16.

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The City of Carson Guidelines provide the following with regards to debt service:


           Debt service incurred after adoption of the Ordinance to purchase a park may be an
           allowable operating expense if the purchase price paid was reasonable in light of the rents
           allowed under the Ordinance and involved prudent and customary financing practices.
           An applicant shall have the burden of establishing the reasonableness of the purchase
           price and financing procedures. 4


Colony Cove submitted applications for mobilehome space rent increases for the two annual
periods ended March 31, 2007 and 2008 (the “Rent Applications”) for both general rent
increases and fair return rent increases. As part of both Rent Applications, Colony Cove
included its financing costs related to the purchase ($1,254,142 for 2007 and $1,353,161 for
2008). The Defendants excluded Colony Cove’s financing costs in determining the amount of
the monthly rent increase for the space rentals in the Rent Applications. Defendants awarded a
$36.74 per month, per space, rent increase related to 2007 and a $25.02 per month, per space,
rent increase related to 2008. None of these increases in rent reflected any of Colony Cove’s
financing costs. Colony Cove’s average monthly financing cost for each of the 404 spaces was
$258.69 for 2007 and $279.12 for 2008.


III.       ECONOMIC DAMAGES


Monthly Amount of Damages Per Space


I have created an economic damages model that isolates the impact of Defendants’ exclusion of
Colony Cove’s debt service from the calculation of the rent increase. In doing so I considered
Colony Cove’s other actual expenses and adopted the adjustments or exclusions made in the City
of Carson Staff Report (“Staff Report”) to reduce these actual expenses incurred and make
adjustments to inflation to acceptable amounts and levels to the Defendants. This approach or



4
    Resolution No. 98-010, Section II. A.2.f.

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methodology will isolate the impact of the exclusion of debt service in calculating the rent
increase.


To do this I looked at the work in the Staff Report and the conclusions of Defendants in granting
the rent increase related to Colony Cove’s application for fiscal 2007. I relied upon the work and
conclusions related to the Gross Profit Maintenance Standard (“GPM Standard”) to isolate the
impact of excluding debt service. In doing this I also excluded certain other expenses included
in Colony Cove’s rent application that were not acceptable to Defendants. I also relied upon the
Defendants’ finding that 75%, and not 100%, of the 6.19% increase in the Consumer Price Index
(for inflation), as contained in the Baar Report, 5 be used to calculate the actual rent increase
awarded of $36.74 per month per space under the maintenance of net operating income approach
(“MNOI Approach”).


The analysis performed in the Staff Report for the Gross Profit Maintenance Standard for the
year ended March 31, 2007, which includes an adjusted and reduced amount of debt service
costs, concluded the amount of monthly rent adjustment to be $200.93 per space. This amount
included an adjustment for 100% of the inflation of 6.19% noted above. Because the Defendants
concluded that only 75% of the inflation rate was appropriate under the MNOI Approach utilized
to award the $36.74 actual rent increase, I utilized 75% of the inflation rate in my damages
model to isolate the impact of the exclusion of debt service in calculating the rent increase. The
impact of utilizing 75% of the actual inflation rate is to reduce the $200.93 amount in the Staff
Report to $198.56. 6


I then reduced the $198.56 rent increase amount by the actual amount of the monthly rent
increase that was approved by Defendants of $36.74. 7 The monthly damage per space is the
difference between these two amounts, or $161.82. The annual damages would be $161.82
multiplied by 403 rental spaces ($65,213.46 per month) multiplied by 12 months, which equals
$782,561.52 per year. Based upon the appraisal performed in connection with the acquisition of

5
  Expert Report of Kenneth K. Baar, Ph.D prepared on behalf of the City of Carson (February 2008) entitled
Analysis of the Colony Cove Mobile Estates Rent Increase Application.
6
  Ibid., page 11 and Exhibit Y to the City of Carson Staff Report for fiscal year 2007.
7
  Resolution No. 2008-256, A Resolution of the Carson Mobilehome Park Rental Review Board Granting a General
Rent Increase for Colony Cove Mobile Estates, dated August 6, 2008, Exhibit A.

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the Mobilehome Park, there was historically a zero percent vacancy rate at this and at
comparable mobile home parks. 8 Therefore, no amount is provided to reduce the increased rents
for vacancies.


Period of Damages


The increased rents actually awarded to Colony Cove related to the application for the rent
increase for the year ended March 31, 2007, commenced December 1, 2008. 9 This is the date for
the commencement of the damages period. The trial in this matter is scheduled to commence
April 5, 2016, and is expected to end by the end of that week, or on or about April 8, 2016.


If Colony Cove prevails at trial, then Colony Cove will submit another application for a rent
increase on or before June 30, 2016, which would result in the increase becoming effective
approximately February 1, 2017. 10 Therefore, the damage period will end as of January 1, 2017
(representing the last rent payment due date for the month of January 2017 before the rent
increase can take effect for February 2017). The damages period is a little over eight years, and
the total damages amount prior to applying a present value discount is $6,390,919 ($65,213.46
per month for 98 months).


Discount Rate


The economic damages as of the commencement of the damages period of December 1, 2008,
through the end of the damages period of January 1, 2017, need to be discounted back to the start
of the damages period to account for the time value of money. The appropriate discount rate to
reflect that value would be equal to the risk of not collecting the rents. Based upon the fact that
rents are well below market rents in the rent-controlled Mobilehome Park, and historically there
has been effectively a zero percent vacancy rate, a risk free discount rate would be appropriate.

8
  Appraisal report of Rob A. Detling as of March 30, 2006, page 29.
9
  This is based upon the date that the rent increase actually awarded was permitted to be effective (90 days after
notice was given by the Carson Mobilehome Park Rental Review Board.
10
   This is based upon interpretation by counsel of documents identified in Section IV of this report, item numbers 18
– 21, that provide rules, regulations and time periods to process an application to increase rents and have the rent
increase approved.

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A risk-free discount rate in these particular circumstances would be the rate on a 10-year U.S.
treasury note as of December 1, 2008. That rate is 2.72%. 11 Discounting the $6,390,919 in
damages to the start of the damages period using a 2.72% discount rate results in damages of
$5,738,050. See Exhibit A to this report for the calculation of the damages amount. The present
valuing creates a discount of $652,869.


Prejudgment Interest


I have also been asked to calculate an appropriate prejudgment interest rate and then apply that
rate to the economic damages to calculate prejudgment interest damages. The prejudgment
interest rate I have calculated is based upon the concept of a reasonably prudent person investing
funds in a diverse group of securities (including U.S. treasury bills) to produce a reasonable
return while maintaining safety of principal. 12 The investments I have chosen to fit these criteria
are three types of securities. I have equally weighted the rates of returns of these securities to
calculate a weighted average return for the prejudgment interest rate. The securities I utilized are
listed below along with a calculation of the weighted average rate of return.


             1. 10-year U.S. treasury bill as of December 1, 2008
             2. AAA rated corporate bond rate as of December 1, 2008 13
             3. S&P 500 index average rate of return from December 1, 2008 to present 14


        Weighted Average Rate of Return for the Prejudgment Interest Rate
        U.S. treasury bills                2.72%
        AAA rated bonds                    5.35%
        S&P 500 index fund                15.34%
        Total                             23.41% divided by 3 = 7.80% Prejudgment Interest Rate




11
   https://research.st.louisfed.org/fred2/series/DGS10
12
   285 F.3d 784 United States Court of Appeals, Ninth Circuit. Louis Schneider v. County of San Diego
13
   https://research.stlouisfed.org/fred2/series/Daaa/downloaddata
14
   http://finance.yahoo.com/q/hp?s=SPY+Historical+Prices


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In the scenario above, one-third of the funds would be invested in a 10-year U.S. treasury bill as
of December 1, 2008, that had a 2.72% interest rate. One-third of the funds would be invested in
AAA corporate bonds, which had an average rate of return of 5.35% as of December 1, 2008.
This investment would have a high degree of safety of principal because this type of bond has
the highest possible rating from credit rating agencies, meaning the companies issuing these
bonds demonstrate an exceptional degree of creditworthiness in meeting their financial
commitments. The last one-third of the funds would be invested in an exchange-traded fund that
provides investment results, before fund expenses, equal to the performance of the Standard &
Poor’s 500 Index. This is a highly diversified equity investment due to the large number of
companies included in the index. In addition to the diversity of companies in this investment, the
duration of this investment being over eight years would contribute to the high degree of safety
of principal.


The prejudgment interest rate calculation is shown in more detail on Exhibit B to this report. The
amount of prejudgment interest damages is $4,229,607 and the calculation of this amount is
shown on Exhibit A to this report.


Total Damages


           Value of lost rent increases as of 12/1/08           $5,738,050
           Prejudgment interest                                  4,229,607
           Total damages                                        $9,967,657


Reasonableness of Damages


I have considered the increase in rent of $161.82 per month per space that I calculated in relation
to other economic considerations during this time frame. The average monthly per space rent in
the Mobilehome Park was approximately $408. 15 The monthly increase approved by Defendants
was $36.74, for a new total average of $444.74 per month. The lost rent damages of $161.82 per
month represents an increase of 36.4%, to a total monthly rent of $606.56.

15
     Appraisal report of Rob A. Detling as of March 30, 2006, page 45.

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The market value of the average monthly rent per space at the Mobilehome Park was $800 16
when it was purchased by Colony Cove. The $606.56 hypothetical rent is still 24% below
market value rents.


The $408 actual monthly rent for the fiscal 2007 year is “approximately $150 below the rents at
the most comparable mobile home park in Carson (Carson Harbor Village) and well below the
rent levels at other mobile home parks that are not subject to rent control…” 17 The average per
month space rental at Carson Harbor Village for rent controlled spaces was $560 at that time,
and for the eleven spaces at this mobile home park that are not rent controlled, the monthly
rentals ranged from $780 - $880 per month. 18


In its first five years of operations, 2007 through 2011, Colony Cove lost almost $4 million. 19
This represents a substantial negative return on the equity invested into Colony Cove.


IV.     DOCUMENTS AND OTHER INFORMATION CONSIDERED

The significant documents and other information I considered includes:

        1. First Amended Complaint

        2. Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss dated

             December 18, 2014

        3. Order Granting in Part and Denying in Part Defendants’ Motion to Dismiss dated

             June 23, 2015

        4. Application for Mobilehome Space Rent Increase for the period April 1, 2006

             through March 31, 2007

        5. Application for Mobilehome Space Rent Increase for the period April 1, 2007

             through March 31, 2008


16
   Appraisal report of Rob A. Detling as of March 30, 2006, page 45.
17
   Ibid., page 50.
18
   Ibid., page 45.
19
   First Amended Complaint, page 1, lines 20 – 23.

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      6. Report of John P. Neet, MAI dated September 25, 2007

      7. Appraisal report for Colony Cove MHP as of March 30, 2006 prepared by Rob A.

         Detling

      8. Analysis of the Colony Cove Mobile Estates Rent Increase Application by Kenneth

         K. Baar, Ph.D (February 2008)

      9. Analysis of the Colony Cove Mobile Estates Rent Increase Application by Kenneth

         K. Baar, Ph.D (June 2009)

      10. Memorandum to the Carson Mobilehome Park Rental Review Board from Michael

         St. John, Ph.D. dated May 27, 2008

      11. City of Carson Staff Report to the Mobilehome Park Rental Review Board dated

         February 13, 2008

      12. City of Carson Staff Report to the Mobilehome Park Rental Review Board dated

         June 10, 2009

      13. Resolution No. 2008-256, A Resolution of the Carson Mobilehome Park Rental

         Review Board Granting a General Rent Increase for Colony Cove Mobile Estates

      14. Resolution No. 2009-269, A Resolution of the Carson Mobilehome Park Rental

         Review Board Granting a General Rent Increase for Colony Cove Mobile Estates

      15. 612 F.2d 459 United States Court of Appeals, Ninth Circuit, U.S. v 429.59 Acres of

         Land

      16. 285 F.3d 784 United States Court of Appeals, Ninth Circuit, Louis Schneider v.

         County of San Diego and Reybro, Inc.

      17. Transcript of Public Meeting at Carson Planning Commission held on June 11, 2008

      18. Resolution No. 98-010, a Resolution of the City Council of the City of Carson

         adopting Revised Guidelines for the Implementation of the Mobilehome Space Rent

         Control Ordinance, Chapter 7, Article IV, of the Carson Municipal Code and

         Replacing the Policy Guideline for Capital Improvement Rent Increases



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       19. http://www.codepublishing.com/CA/Carson/html/Carson04/Carson040700.html

           (Chapter 7 Mobilehome Space Rent Control)

       20. City of Carson letter dated August 11, 2008 to the residents of the Mobilehome Park

           regarding a $36.74 general rent increase per space per month

       21. California Code of Civil Procedure paragraph 1094.6 Judicial review; decisions of

           local agencies; petition; filing; time; record; decision and party defined; ordinance or

           resolution

       22. Exhibit Y to the City of Caron Staff Report for fiscal 2007.

       23. Explanation of Staff Corrections and/or Additions/(Reduction) to the Applicant’s

           General Operating Income and Expense Sheets

       24. Letter to the Staff of the Mobilehome Rent Review Board of the City of Carson from

           Gilchrist & Rutter dated September 28, 2007

       25. Scheduling Order dated April 14, 2015


V.     QUALIFICATIONS OF PETER A. SALOMON, CPA, CFF

 I am the Managing Partner of Salomon Forensics, LLP, a certified public accounting firm

 specializing in performing litigation and forensic consulting services. I am a Certified Public

 Accountant in California and New York with over thirty-five years of professional accounting

 experience. I have specialized in forensic accounting for more than twenty-five years. Before

 specializing in forensic accounting, I worked for nine years auditing financial statements for

 two of the “Big 4” public accounting firms.



 I have provided expert testimony in Federal Courts, State Courts and arbitrations regarding the

 calculation of economic damages. I have been retained on five occasions as an accounting

 referee or special master by Superior Courts in California. I was retained by the United States

 Securities and Exchange Commission (“SEC”) as an expert witness. I have also assisted a


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 variety of public companies, audit committees and individuals under investigation by the SEC

 and others by performing independent and other specialized accounting investigations. I have

 made presentations to the SEC and the United States Department of Justice on the findings of

 several of these investigations.



 I am the most recent former Chair of the Forensic Services Section of the California Society of

 Certified Public Accountants and a former Chair of its Fraud Section. A copy of my curriculum

 vitae is attached as Exhibit C to this report.


VI.     PRIOR EXPERT TESTIMONY AND PUBLICATIONS WRITTEN


A list of all cases in which I have testified as an expert at trial or in deposition within the
preceding four years is attached as Exhibit D to this report. Articles I have written that were
published within the preceding ten years are listed in Exhibit E to this report.


VII. COMPENSATION

The compensation paid to Salomon Forensics for work performed by me and other professionals
working at my direction is based upon hourly billing rates ranging from $180 to $495. In
addition to professional fees, Salomon Forensics is reimbursed at cost for out-of-pocket
expenses. Salomon Forensics has incurred fees of approximately $16,000 through the date of
this report.




This report presents my opinions. The opinions in this report are subject to modification based
upon additional facts or information that may become available. I may amend this report based
upon testimony or evidence presented at trial. This report is prepared and issued solely for use in
the above-cited matter.


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Executed on January 11, 2016, in Hermosa Beach, California.




_______________________
Peter A. Salomon, CPA, CFF




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                    Owner:                                           Colony Cove Properties, LLC
                                                                     Goldstein Properties, Inc.
                                                                     Mr James Goldstein, Owner
                                                                     2029 Century Park East, Ste. 1450
                                                                     Los Angeles, CA 90067


                    Owner's Representative:                          James & Associates, Inc.
                                                                     Ms. Anne James, Owner
                                                                     255 N, El Cielo Ste. 140 #286

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                                                                     owners of Colony Cove Mobile Estates in the amount of $15.65 or
                                                                     (3.45% to 4,52%) per space, per month. This would bring the rent range
                                                                     in the park up to $361.68 to $469.23 per space, per month, increase the
                                  '                                  average park rent to $429.90 and mcrease the yearly park income by
                                                                     $75,683.40.
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                   Staff received the general rent increase application and filing fee from Colony Cove Mobile Estates on October 1,

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                November I, 2007. After receipt of additional information from the park dated October 23, 2007, and November
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               representatives.
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               announcing Lnat an appllcatton had been lllcd w1m toe department. ::subsequent.Ly. the Housing and Ne1gnoorhood
               Develonment Division mailed each resident a letter dated December l 1 2007 announcino that the a--!ication
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               llthces_ 'l'he letter turther stated that an appointed
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                                                                                     resident' representative could obtain a copy ot the
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""             City by Thursday, January 11, 2008, at 6:00 p. m., for inclusion in the staff report to the Board. As of Monday,
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               presently occupied by one (I) triple-wide,' 347 double-wide, and 56 single-wide mobilehomes.
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               swimming pool, Jacuzzi,                                                                        billiard/card roo1n,                                      , ..library/television room,                                                         exercise roo1n, indoor spa, and other
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               A recreational vehicle storage area is available and the residents may rent spaces at an additional cost. A pet
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               anlcnnas to residents as a service provided within the rcnl structure. Gated security services are provided on a 24-
               hour basis, and resrdents pay a tee of $48.00, per person, per year to partially offset this security cost. Water,
               sewer anrl trash collection services are nrovir1er1 +r.r t
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                                             #:1708

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                     SUPPLEMENTAL TO THE APPLICATION

                     !. The owner has claimed operating expenses above and beyond those that staff has allowed in this staff report.
                          Staffs summary of the explanations for the disallowed items is contained in Exhibit-E (pages E-16 to E-19)
                                                                                                                                                                                                                                                                                                                                                  i
                          of this staff report. The residents have also disputed some of the operating expenses and other claims that
                          have bc<.,'!l made by the O\vner. Their comments are contained in the comment letters and other documentation
   j.
                          which are attached as Exhibit-C (pages C-1 to C-36) of this staff report. The Mobilehome Park Rental
                          Review Board may \Vish to review these expenses and their reasonableness and take whatever action
                          (inclusion or exclusion) which it deems to be appropriate_

                     2. There may be circumstances where a case can be made by an o\vner, which would require the Board to take
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                                     preclude the Board from reconsidering past actions, as noted in: Sectio~ V, Miscellaneous, Subsection B,
                                     page 8.

                                     All calculations and staten1cnts \vh1ch have references to 1978, 1979 or any other base years that are not
                '                    applicable as a base line year, and are not to be considered by the Board in its formulation of a decision
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_"!                                  fOr the current general rent increase request Addit10nally, the owner didn't even own the park in 1978 or
                                     1979; nor did he own it during the 2004 and 2005 expense years previously reviewed by the Board for

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                                                                                                                                                     February 13, 2008 - Page 3
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                                that matter. Therefore, these alternate base years \.Vere not used by staff in any way to establish staff's
                                recommendation. Also, as a result of litigation against the Board and City, prior court decisions have
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                               material, which, in part, requests the Board to consider a comparison of Colony Cove Mobile Estates with
                               parks outside of the City of Carson, specifically Del Amo Mobile Estates and Dominguez Hills Estates.

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                               III.                        Comparable Parks and Changes in Services, Maintenance and Amenities.

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                                    e< I is t11at comnar1son to rents in nark"s outs1ne the 1 1tv w111c11 are not sun1ect to rent contro1 wou•,.,
                               promote the excessive upward pressure on rents that the Ordinance is designed to avoid. Rents in
                               unregulated markets are the result of unequal bargaining power, which arises from the shortage of spaces
                               for relocatinQ homes and the cost and difficulties inherent in trvinQ to relocate a home. '!be Ordinance is
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                               Board could detennine whether the park was compar.ible within the meaning of the Ordinance. Parks
                               subject to the Los Angeles County mobilehome rent regulation ordinance have not been subject to rent
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                               \\•hen they are located in the City because the rents for th~se spaces are exempt from rent control and have
                               never been subject to rent regulation."                                                                                                                                                                                                                                                                                 '




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                               consu uctea spaces \Vnn1n 1......arson ttaroor v 111age 1v10011cnome rarK are comparaoLe Wltn1n me meaning
                               of the Ordinance.

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                               Additionally, the CPI multiplier utilized in the park owner's calculation are in excess of the actual CPI
                               amount utilized by both staff and Dr. Baar in their analyses. Finally, the park O\vncr)s calculation utilizes
                               onlv 100% of the CPI when areuablv a lesser amount such as 75% and or 50% of the CPI increase mav
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                  3.    Within the general rent increase application materials in the Sturunary of Rent Increase Factors Exhibit-A
          ,             (page A-3), the owner makes the following statement, which it labels "Factor 12":

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                                  Since that time the Consumer Price Index has increased 6.67%. In order to maintain the satne profit in
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                                                   he no1nte11 out that the owner s statement ahove contains a numher ot errors ot tact anrt conctus1on.
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                    increase hearing. That particular section; indeed, the entire staff report; is an analysis and recommendation
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                    The Board's findings and conclusions are contained within Resolution No. 2006-244, which the Board
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                    Profit for 2005" as adjusted by staff in each report to the Board and the yearly sum of the Board's last
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                    implication in those findings of the establishment or entitlement to a level of gross profit maintenance or
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                    on the all the factors m the Ordinance, the Implementation Guidelines and taking into account resident
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                    f\.uu1t1onauy, the reterences 1n the o\vner s statement above to the consumer !'rice inuex, as 1t ts used. 1n tnc
                    o-ross nrofit analvsis nrocess arc incorrect. As is cxnlained in the nreface to the Estimated Gross Profit
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                    ends with March, 2007. Thus, the relevant measuring points for determining the effect of inflation on the
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                    2007). The increase between December 2005 and March 2007 is 6.19%. The 6.67% Consumer Price Index
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                    support or 1ts rent increase request, ts prellnunazy to' sta11 s rev1evv or gross income and operating expenses.
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                    Corrections and/or Additions/Reductions to the Owner's General Operating Income and Expense Sheets),
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                    ot a gross proht maintenance analysis does not create any entitlement, and evidence concerning all of the
                    factors must be considered and balanced in determining whether to grant a rent increase and the amount of

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                                          #:1711

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                  TABLE No. 1 {OWNER'S PROPOSED RENT INCREASE)

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                  was realized in the 2007 income and expense year for Colony Cove Mobile Estates which was only partially
                  submitted with this application. A copy of the Resolution No. 2006·244, approving the above action by the Board
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                                                        I                               Sp.                            $346.03                                          +                     $618.05                                =                   $964.08                                  178.61%
                                                        1                               Sp.                            $357.76                                          +                     $618.05                                =                   $975.81                                  172.76%
                                                        1                               Sn.                            $363.23                                          +                     $618.05                                 -                  $981.28                                  170.15%
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                                                      71                            Sp.                                $394.62                                          -1-                   $618.05                                =             $1,012.67                                      156.62%
                                                      34                            Sp.                                $401.98                                          +                     $618.05                                =             $1,020.03                                      153.75%
                                                      42                            Su.                                $409.36                                          +                     $618.05                                =             $1.027.41                                      150.98%
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                                                      )1                            Sp.                                >4J~.~5                                          +                     >Ol~.05                                             ~l,VJO.~V                                       !4U.OY7o
                                                       2                            Sp.                                $446.21                                          +                     $618.05                                -
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                                                                                                                                                                                                                                                  $1,064.26                                       138.51%
                                                        5                           Sp.                                $453.58                                          +                     $618.05                                -
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                 If the mobilehome park were l 00.0% full for a one (I) year period, the total income for Colony Cove Mobile
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                 rent), the projc<::tcd rental income (without other sources of income included) \Vould be:


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                                       $ 2,003,313.96                                                                                                           $ 2,988,889.80                                                                                           $ 4,992,203.76

•§1                                                                                                                                                                                                                                                                                                    -



                                                                                                                                                            Colony Cove 1\lobile Estates
                                                                                                                                                            February 13, 2008 - Page 6                                                                                                                                                    00351

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         TABJ,F, No. 2 !GROSS INCOME AND OPERATING EXPENSf:Sl

         As previously mentioned, the Board last granted a general rent increase to the park owner at its most recent
         review of the pai k's inco111c and expenses 011 Septcnrbcr 27, 2066. At that ti1nc, the pazk ow net sttbtnitted ineo1ne
         and operating expense documentation for 2004 tbn1ngh 2005 !'hat yvas compared and evaluated against



         At this time, the park owner is providing income and expense documentation for April 2006 through March 200i,
         whisa will be eemparod with iafermalioo li:em 2QQ5. Tho 2QQ5 iafurmatie11 was ebtainod from tho park's last
         general rent increase application hle.

         Facts:          The annual changes in gross income, operating expenses, and gross profit for 2005 through the
                         2006-2007 expense period, are shown as follows:




             Gt=ess Incom£                                      $ 2,PGs,202            ( ) $ JJ,441
         I- t Qperallng Expenses           - 1,320,463          -2,198,172             1+1$877,709
              Gress Prnfit                 $ 718,249            ($ 192,91Q)            () $ 91!,159

         Fioclings.      Gross Income for Colen) Ce.e Mobile Estates oeereasco b) $33,441               Of   1.7%, be!\1een 2095 and .


                         Operating expenses increased by $877 709 or 66 5°;..._ heb.yeen 2005 and the 2006-07 expense



                         As a result of the trends in gross income and operating expenses described above, gross profit for
                         the park decreased by $911, 150 or 126.9% between 2005 and the 2006-07 expense year.



         !ABLE No. 3 !ANAL£ SIS OF FACIORS No. I lffilUOGH II)

         Pursuant to Chapter 7 of ArttcJe IV of the C'arson Mun1c.1pal Codc1 other\v1se cited as the "Mobdehornc
         Space Rent Control Ordinance'', the BoaJd shaU eousidcr the folloniug ele1e11 (11) faelou in addition to
         any other fartors jt considers relevant in making a determination on a rental increase request                     Section
         4764 (g) reads, in pa1t, as follows.




         Facts:          In this case, staff has utilized the August, 2006 Consumer Price Index figure for all urban
                         consumers in the Los Angeles-Riverside-Orange County metropolitan area for calculating the
                         percent change in the CPI since the park's last general rent increase application. The CPI at that
                         time, the time of the last hearing before the Board (on a 1967 ~ I 00 baoe) was 626.1.

                         The mest reeem CPI tigtlfe available as eflhe wriliflg efthi.< 1epert is for Deeember, 2097. Tlus
                         CPI is listed as 648.I on a 1967     100 base as provided     hY the l J   S Bureau of Labor Statistics.

         Findings·       '!'he per cent change in the CPI is calculated as follrnvs·



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                                                      Colony ('ove l\fobile Estates
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                                                                                                                         00352




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             e    e:

                                                       x I 00             3.51 % (Percent change




         FACTOR No. 2, "The rent lawfully charged for comparable mobilehome spaces in the City of Carson."

         raets:          Staff fines that Celeny Ceve Mebile Estates is eOHljlilfl!Me le tv. e (2) meei!eheme varies ie !00
                         City 1n terms of rental space size and amen1t1es provided, as follows:


         Na1ne & Dal.e           No.       Pat k J-\,n1enitie5            Cnuent                   €1111 ent Capital
         of Park                 of                                       General Base             Improvement/
         <:onstrucfjon           I Injts                                  Rents/Month              Month




         Colony Cove            4~4        Rec1eatio11 building           $346.tH to               $2.48 per space) pet
         Mobile Estate'                    and bancp1et room'             $453 58                  month, for a period of
         17700 S. Avalon                   auditorium,                                             60 months) or until
         Blvd.                             billiards/game room,           The last                 12-31-06, for clubhouse,
         Carsea, CA 9Q7%                   leungekarG re am:,             geam!F<mt
                                           hbrarW I V room,               increase was             etc. (approved 10-01-0ll.
         (1995)                            laundry wlcoin                 for $6.23 per
                                           washers & d1yc1s,              spaec pc1                $ l 3. 76 pet space, per
                                           office/lobby                   month or a               month for a period of
                                           exeicise    100111,   indoor   range offto111           66 n1011ths, or until
                                           spa and saunas)                1.39% to 1.83%.          05-31-12, clubhouse,

                                           outdoor clothes                It was approved      etc. (approved 02-07-0i)
                                           drying area, car wash          by the Board on      through Reso. No. 2007-245.




                                           included in the monthly




                                           security.




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                                                                                           gates.                                                                                                                                   2012, for portions of the
                                                                                                                                                                                                                                    perimeter wall and renova-
                                                                                           Water, sewer &                                                                                                                           lions to the clubhouse,
                                                                                           trash collection                                                                                                                         pool, spa, & park streets.
                                                                                           services are                                                                                                                             Approved by the Board on
                                                                                           included in the                                                                                                                          January 23, 2008 through
                                                                                           monthly rent.                                                                                                                            Reso. No. 2008-255.



                   Imperial Avalon                                             225         Recreation building                                                   $284.11 to                                                         $28.66 per space, per month
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                            .~.     ur                         .                 space rcnLS are not consiuereu tO ue co                                                                            ara e                   cause u1ev are on non-renL conuoueu
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                                                              wn1cn nave the most con1oarable ren1;.i1 suaces and similar amenities. lt !S aCKnOW!erlvcll that
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                                                              in tne t,1ty ot t,arson. .tacn park provides sevver and trash collection services "\\'ttlun the rent
                                                              structure.

                                                              Carson I-Iarbor Village provides three automated security gates \Vithin the monthly rent structure
                                                              whtle Colony Cove charges a separate tee of $48.00 per person, per year, 1n conncctlon \Vith its
                                                              manned 24-hour gated security. This fee pays for a portion of the total cost of security services.
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                                               Imperial Avalon has no security gate, no indoor sauna, and is approximately half the overall size
                                               of the other two comparison parks. However, as noted above, the rental space size and most of
                                                 eo er amen1nes are ratfl'' comnarao1e 10 t 01onv l;ove a1L110lH!ll are ar a  inrenor overau.


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                                                                                                                       Base Rent Range                                                 Avg. Base Rent

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                 3.             Imperial Avalon Mobile Estates                                                         $284.11 to $33 7.54                                                      $300.57

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                 Cove M~bile Estates has an average base rent that is ranked second out of three comparable mobilehome parks.
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                 Facts:                        The Mobilchome Park Rental Review Board last granted a general rent increase adjustment to
                                               Colony Cove Mobile Estates at the Board's September 27, 2006 meeting .

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                 FACTOR No. 4, "The com11letion of any Ca11ital Im11rovements or rehabilitation work related to the
                 mobileho1ne Sl!ace or suaces suecified in the rent increase al!n:licatio!b and the cost thereof~ including
                 materials labor construction interest. ncrmit fees and other items as the u ... ard deems ah.nronriate."
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                                               .'\tat! nas removed son1c .1'1/_rn1,l
                 !'acts:
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                                                                                       In what we believe to be maror rehab11ttation anwor cavltal
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                                                                    '                '
                                               rnese uems sno\vn tn r:xntoH-.t! ~pages r:-11 ro r.-i~J ana 11 tnere are any a1sabrreemen1s, IO cau
                                               out those items before the entire Board for discussion and a vole of whether to either be included
                                               or excluded from the general rent increase application before the Board.

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                 FACTOR No. 5. "Chanves in nronertv taxes or other taxes related '" the
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                 Facts:

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                                Taxes                                              $ 172,001                        $ 188,464                            (+) $ 16,463
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                                         (Common Area):                                           $ 16.731                            $ 21,095                             (+) $ 4,364

                    Findings:                                  From 2005 through 2006-07, the park's common area electric costs increased by $4,364 or
                    26.1%.

                    Facts:
                                                                                                         2005                         2006-07                                      $Change
                                         Natural Gas
                                         (Common Area):                                           $ 17,847                            $ 21,098                             (+) $ 3,251

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                    expense year which will be compared with 2005 data. Expenses that have increased and/or decreased during this
                    period are shov.in belovv. It should be noted that property taxes, electricity, natural gas, water, and trash collection
                    costs (v..-·hich have just been revie\.ved) are once again included in these figures tOr comparison purposes to sho\V
                    the total increases and decreases in operating expenses for the park.

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                                                                                                                         Colony Cove ~lobilc Estates
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                                                           asc         urren
                                                          Year        Applic.

                       Accounting                       $ 39 500        $0           1-1      $   139
                                                                                                  '   ;
                                                                                                        500\
                       hismance                         $ 50,106     $ 39,476        (-)      $    (lG,629)

                       License/Fees/r:lues             $ 13,537       $ 4,722        (-)      $     (8,815)
                       Office Expenses                  $ 33 090     $ 24 960        (-)      $     (8,130)
                       'fclepl1one                      $ 8,5()4      $ 5,754        (-)      $     (2,750)
                       ~alari€S:(9!Hilo)               $ 149,775     $ n>,9n          (-)     $   (15,797)
                       Management Fees                 $ 99,276       $ 8 l,010      (-)      $   (18,266)
                       Debt Service, Int.              $ 354,405    $ 1,254,143      (+)      $   899,738
                       P1ope1 ty Taxes                 $ 172,661     $ 188,464       (I)      $     16,463
                       Trash Collection                 $ 39,426     $ 43,571        (+)      $      4,145
                       Water (com)                      $ 79,850     $ 85,091        (+)      $      :1,241
                       Electricity (com)                $ 16,731     $ 21,095        (+)      $      4,364
                       Natural Gas (com)                $ 17,847     $ 21,098        (+)      $      3,251
                       Com Area l t Credit              $ 19 633     $ 19 624        (-)      $         (9)
                       Electric (Maint)
                                                             '
                                                         $1,%7
                                                                          '
                                                                      $ 1,800        (-)      $      (161)
                       Lam!soaping                      $ 19,983     $ 49,977        (+)      $     32,994
                       Plumbing                          $ 4,726      $ 5,247        (+)      $        521
                       Pool Maint./SupL                  $ 7,070      $ 6,777        (-)      $      (293)


                       , ecun
                       Other Maint.                     $ 37 141     $24.245         (-)      $   ([2,896)

                       Totals                         $ l,320,463 $ 2,198,172        (+)      $   877 ,709


         Findings:                      From 2005 through 2006-07, the park's operating expenses increased by$ 877,709 or
                                        66.5%.


         FACTOR No 9. "'fbe need for renajrs caused by cjrcumstanees other than ordinary \Vear and tear."

         Fact.<>:               None.




         FACTOR No. 10, "The amount and guaJitv of services provided by the applicant to the affected tenant."

         Facts:                 1he Mobilehome Park Rental Review Board is referred to !'actor No. 2 of this report where slaff
                                ha>' eHtliR•d varieHs amoRiti<S at Cele!l)' Cev• Mebil• llstat<S aHd oempared tho park with tho
                                other 1nobileho1ne parks Vlrith con1parable rental spaces and sin1ilar amenities.

         Fin clings:            On Weclnescla), Febrnary 6, 2968, starting at approximatelj 9:39 AM, B6affi s!affenncltleted an
                                1nspection o1 the park, and we were accompanied by cme of our cons.ulting rehabjlitahon
                                inspectors,   ~L.   Doll Kncchtel and the following connnents axe noted.




                                                               Colony Cove Mobile Estates
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         l.       Perimeter Exterior Landscaping

                  a.      West Side: The landseaping aleng Sottlli Avalon Bett!evanl eensists eftrees and grass. The area
                          there appeared to be ma1nta1ned 1n a neat manner with no s1gn1hcant amount of weeds or htter


                  b.      1..forth Side. TI1e ]andscaping along East Albe1tu11i Sheet co11sists of newly planted g1oand cove1,
                          shrubs '"d trees         Some litter "''' Roted ill the la11dscaping, b'lt with tl>e nearby fast food
                          establishments some litter is probably unavoidable. The park has a nre exit gate near the
                          northwest corner, but there is no paved driveway or curb cut for emergency exit purposes. (Jn
                          this case, the exit would be into the parking lot of the adjacent fast food restaurant.)

                  c.      East Side: The landscaping along South Rainsbury Avenue consists of trees, grass, and low
                          ground cover which appeared to he in good condition. There are two emergency gates located on
                          tlre east pe1iinete1 wall of tlre pmk. lieitlru gate had a paved dti\eway or cwb cut to the public


                  d.      South Side: The landscaping along East Victoria Street coo•ists of trcos and grass. Tho grass
                          was cut and the area was nicely maintained. An emergency exit gate is located at the southeast
                          earner of the park, and this gate likewise had ne paved driveway er earh elll te the pttlllie street.




         11ie seccnity systc1n includes two lanes each fo1 entering and exiting the pmk. At tire tinre of the inspection, a
         security guard was present in the guard booth at the park entrance. 'fhe gates consist of wooden arms, which raise
         and lower to halt traffic from entering the park. Steel spikes in the roadway of the exit lanes serve to deter
         vehicles from entering in the wrong direction. The guard booth is staffed on a 24-hour basis. The landscaping at
         the entrance to the park consisted of grass and planter areas with flowers and trees.

         3.      Recreation Building (Main Entranec and Exterior)

         i\ eoHerete patia fil'ea at the main enffanee eootaineEI h•o ~amished: .vootl antl w'Itlttgbt ittln benehes. i\J.sa en this
         palio are t\vo ne\vspaper vend1ng machines_ A srnafler patio area at the rear of the building has a s1m1lar
         woodfiton bc11ch. 1~11c 1cc1eatio11 building has grass areas with ttccs and slucrbs around tlie perii11ctc1 ofbnilding,
         inch1ding a large tree at the entrance The landscaping uras all urelJ trimmed and relatively neat jn app1 arance           1




         4       .Recreation Building (Central Section)

                 a.
                          entrance Co Che recreaLion building. 1 he park manager \Vas present at the time of the visit. Park
                          n1aintenance employees were observed on duty in several places during our visit

                          There is a central lobby area, which contains couches, chairs, and tables. The carpeting and the
                          walls appeared well maintained. The office area \vas also neat and clean in appearance.

                 b.       Lib1 ary/T\/ R6om: 'fhe reein1 eontaiu-s tables, table lanips, couches, ehai1 s, a tcle-t is ion, and an
                          assortment of books and magazines The room's fi1mishings appeared to be in good condition


                 c.       :R:estiootn Facilities and Hallway 1\Jea: The men and womens rest rooms were clean and well


                          Kite}'len Faeilities: The kiteflett is full) eqttif'lpecl al'lcl it inelticl.efi t n<E> t> »e11s, tv. e feu1 bttrner eeek
                          toos a large restaurant-stvle gnddlc a coffee maker a microwave oven filtered water dispenser

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                            and rnisccllaneous storage cupboards. Additionally, tbete we1e counteJ tops, a douiJle sink; a
                            dishwasher, and two new refilgerator/fi'eezers. A fire extinguisher was 011 the wall. The floor
                            was clean, and the area was matnta1ned 1n very good condition.

                e.          Lounge/Card Room and Hallway Area: This area contains four sets of tables and chairs. The
                            furniture was in good condition and the room had a neat and clean appearance. In the hallway.
                            there were a soft drink machine a snack vending machine and several refrigerators.

          5.    Rcct eatiun Building (Nor t1t "fting)

                Auditoriuni/Meeting Room: The auditorium contained a large carpeted stage, wooden dance floor,
                decorated banquet tables and chairs. The carpet was clean and in good condition. The stage had a piano
                and flags on it. The entire room was in good condition.

          6.   Reei eation Building (East Wing)

                a.          Exctcisc Roont. 111c 100111 included an anay of cxc1cisc cquip1nu1t that all appeared to be in
                            working order with one wall half mirrored and a TV.              The carpet was clean, and the room
                            appeared to be in good order.

               b            /nd<Jor .£1111: Tlw imloor spa wa!N awoarod to be clnn            D•»pil< the fac! that the facility is
                            G9H00civ:to tg meisture, the 'Vall tiles and G@iling u'W'C maiBtaiRed iH i·ery gflQQ GGRciitieH.

               c.          Restroom Facilities and Hallway Area: Men and \Vomen's restroom tacilities are also located in
                           the spa area. I he floor of the hallway leading to the restrooms 1s covered by nibber or plastic
                           mesh matting, which \Vas neat and clean. Each restroom contains showers, a sauna, and toilet
                           fucj1jties and each was clean at the time of inspection

          7    Recreation Rnjldjng (South Wjng}


               a.          Eilliard1\.1ame Room: This area contains four billiard tables, and two card tables with c'hairs.
                           Additionatly, there ¥.'ere six barstools located along the walls to observe the billiard games.

               b.          Laundry Room and (Jutdoor JJmng Yard: Posted hours for the laundfy area were 8:00 AM to
                           9:00 PM. 'I'he laundry contains four coin-operated \Vashers four coin-operated dryers and a sink
                           area   (Plumbing OJ!tlets exist for an additional hvo washers) There are three counter areas for
                           folding clothes. The counter areas, as well as the floor, were clean. The east wall is lined with a
                           1nagazine 1ack; above which is located a bulletin board. A fice extinguisher was also located on
                           the wall. An enclo8ed outdoo1 at ea wid1 clotlreslirEes is ptovided adjacent tu the launluy 10010.

         8.    S'lvimn1iug Pool/Patio Area

               The water level in the swimming pool had been lowered to facilitate the installation of railing to assist

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                    'ere alsg SG''era} n'GG9€ffi ta91~s and chairs aRJ fargto metal sh.a(')~ Gfl\~FS. pgg} safety @f!HifHfl~t 'l/aS
               "isiBl~     near the peol, and pool signs (fle1:1rs, rules, and !'JOBI sapaeit)~ \Vef€ resteEI. ,\lse in tfie f)eel area


         9.    Streets, C.'urbs and (_;'utters

               No potholes were       ohw~nred   on major or S'~condagr streets Speed humps and drainage gutters are located

               pmted tliroughoot the park). During th" impection, ,t·iff did not obsoP'< any "<liicles            par~d   illogalll'   011
               the interior streets with the exception of several contractors who \Vere \vork1ng on some mobiles.

                                                         Colony Cove l\1obile Estates
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                                   rtuunionauy, u1ere are approximately u7 guest parring spaces Jocate<l next to u1e various 1onner oil well
     '                             sites located throughout the park.

                  13.              Mobilebome Spaces and Driveways

                                   Generally, staff noted that the individual mobilehomes, driveways and yards are well to very well
                                   maintained. Most of the mobilehome residents have very neatly trimmed landscaping and most of the
                                   mobilehomes were in good to new condition. There were a few mobilehomc spaces where the unit and
                                   landscaping \Vas not maintained as well as their neighbors, ho\vever, they were definitely in the minority
                                   of home owners .
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                  OPTION NO. 1 - OWNER'S PROPOSAL


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                                                                                                                                    Colony Cove l\tlobile Estates
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          The Board may \vish to consider granting a general rent increase based on the owner's proposal, which would be
          for $618.05 per space per month, or a range of from 136.26% to 178.61%. The park owner proposes to increase
          the monthly space rents on 403 of the 404 spaces in the park, as follows:



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                                                                     nase n.enL                                                                            nase        KCilt                          increase

                                 1                                                                      +
                                 1                Sp.                 $357.76                           +                 $618.05                            $975.81                                  172.76%
                                 1                Sp.                 $363.23                           +                 $618.05                            $981.28                                  170.15%
                                 6                Sp.                 $379.88                           +                 $618.05                            $997.93                                  162.70%
                                 Li                   .HI.       ·    4)JO/.,;.,"'f                                       .JJ\f   I l'J.VJ                 ,'h ! _{111_1,/.':I                        1.J7.1.JV /0

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                                86                Sp.                 $424.10                          +                  $618.05                          $1,042.15                                  145.73%
                                29                Sp.                 $431.47                          +                  $618.05                          $1,049.52                                  143.24%
                                51                Sp.                 $438.85                          +                  $618.05                          $1,056.90                                  140.83%
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         In this case, the owner's proposal of a $618.05 monthly mcrease for the 403 affected spaces would equal
         $2,988,889.80 in additional income on a yearly basis .




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         from $12.16 to $15.94 per space, per month for the 403 rental spaces, as follows:

                               Number of                                      Current                                             Proposed                                 New
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                                          0                ~p.                .Jl_J f'.1.00                 +                         ~U.D                            ~:JYJ.LJ                                     3.51%
                                          21               Sp.                $387 .24                      +                         $13.61                          $400.85                                      3.51%
                                           l               Sp.                $3'89.69                      I                         $13.69                          $403.38                                      3.51%
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                                                                                                  Colony Cove J\lobile Estates                                                                                                                   '

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                                                                    29                                  Sp.                          $431-47                                +                         $15.16                               =                  $446.63                         3.51%
                                                                    51                                  Sp.                          $438.85                                +                         $15.42                               =                  $454.27                         3.51%
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                                                                    404                                 Sp.             $2,003,313.96                                       +                  $70,392.76                                 =            $2,073,706.72

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                  OPTION No. 2B - CONSUMER PRICE INDEX (75.0% METHOD)·

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                                                            I                       Sp.                                 $363.23                                   +                      $9.57                                 =               $372.80                        2.64%
                                                            6                       Sp.                                 $379.88                                   I                      $10.01                                =               $389.89                        2.64%
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                                                       52                           Sp.                             $416.72                                       +                   $10.98                                   =               £427.70                        2.64%

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                                                            5                       Sp.                             $453.58                                       +                   $11.95                                   --
                                                                                                                                                                                                                                               $465.53                        2.64%
                                                        l                           Sp.                              $0.00                                        +                   $0,00                                    --
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                 of rental income on a yearly basis.


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                 Next, the Roard may \Vi sh to con8ider granting a general rent increase based on all or a portion of a sum equal to
                 50% of the 3.51 % CPI change between August 2006 and December, 2007. This would amount to a proposed
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                                           86                     Sp.                      J>424.IV                                   +                          ~J.45                                                                     MJl.JJ                                          l.1070
                                           29                     Sp.                      $431.47                                    +                          $7.58                                           --                        $439.05                                         1.76%
                                           51                     Sp.                      $438.85                                    +                          $7.71                                           --                        $446.56                                         1.76%
                                            2                     Sp.                      $446.21                                    +                          $7.84                                          --                         $454.05                                         1.76%
                                            5                     Sp.                      $453.58                                    +                          $7.97                                          ~
                                                                                                                                                                                                                                           $461.55                                         1.76%
                                               l                  Sp.                       $0.00                                     +                          $0.00                                          =                           $0.00                                          0.00%

                                          404                     Sp.               $2,003,313.96                                     +                 $35,196.38                                              =                 $2,038,510.34

         Jn this case, the proposed 1.76 % increase of the 403 affected base rents will be equal to an additional $35, 196.38
         of rental income on a yearly basis.



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         recent nu1111c neannl1 on oenlemoer /

        $ 30,128.28                                      Amount of Last General Rent Increase Granted by the Board on 9-27-06 & Collectible in 2007.
        ::.____00 00                                     Amount of Last Rent Increase Granted due to Increased Operating Expenses (2005).
        $ 30,128.28                                      Amount of Last Rent Increase Granted by Board for Additional Gross Profit Maintenance.

         $ 30,128.28                                     Amount of Last Rent Increase Granted by Board for Additional Gross Profit Maintenance.
        =-2_2 5962[                                      Amount of the Last Rent Increase 1'Jll1: Collectible in 2006-07 (9-Months, April-December 07).
         $    7,532.07                                   Amount of the Last Rent Increase Collectible in 2006-07 (:\-Months, January-March 07).

                                                                                                                               Colony Cove l\Iobile Estates
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                $ 718,240.00                                              Actual Gross Profit for 2005.
                +   7 532.07                                              Amount of the Last Rent Increase Collectible in 2006-07 13-Months Januarv-March 07).
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                $ 733,304.14                                              Estimated Gross Profit Target for 2006-07.
                + 45 391.53                                               CPI Adjustment to Maintain Estimated Gross Profit through 2006-07.
                $ 778,695.67                                              Adjusted Gross Profit Target for 2006-07.
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                the CPI change from December, 2005 through March, 2007.

                Therefore, $ 971,695.67                                                          403 rental spaces - $4,411.16 + 12 months                                                                      =     $ 200.93 per space, per month.
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                                                                                     Current                                                               Requested                                                          New
                        Spaces per                                                   General                                                                General                                                         Requested                                          %
                        Rent Level                                                  Base Rent                                   +                         Rent Increase                                                     Base Rent                                       Increase

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                                      1                              Sp.                 $389.69                                +                                $200.93                                                        $590.62                                      51.56%
                                  71                                 Sp.                 $394.62                                +                                $200.93                                                        $595.55                                      50.92%
                                  34                                 Sp.                 $401.98                                +                                $200.93                                                        $602.91                                      49.99%
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                                  5                                  Sp.                 $453.58                                +                                $200.93                                                        $654.51                                      44.30%
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                 BASED ON TIIE FINAL EXPENSE YEAR}

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                                                                            75% of the CPI Adjustment, (12-05 to 03-07).
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"'               $ 733,304.14                                               Estimated Gross Profit Target for 2006-07.
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                 ""en maintained at a rate e~ual to 75% of the CPI chanue from December 2005 to March 2007.

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                 proposed rent increase of$ 198.56 or (43.78% to 57.38%) per space, per month for all spaces in the park, as
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       ,            OPTION No. 3C - ESTIMATED GROSS PROFIT MAINTENANCE ANALYSIS {50.0% CPI METHOD,
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       '            $ 733,304.14                                          Estimated Gross Profit Target for 2006-07.
                    + 22,732.43                                           CPI Adjustment to Maintain Estimated Gross Profit through 2006-07.
                    $ 756,036.56                                          Adjusted Gross Profit Target for 2006-07.

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                    been maintained at a rate equal' to 50% of the CPI change
                                                                            ' from December, 2005, to March 2007.
                    Therefore, $948,946.56                                                  ~           403 rental spaces                              =         $2,354.71                      12 months                    =   $ 196.23 per space, per month.

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                                               Rent Level                                                        Base Rent                               +            Rent Increase                              =               Base Rent                            Increase
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                                                          71                          Sp.                            $394.62                            +                  $196.23                               =                $590.85                             49.73%
                                                          34                          Sp.                            $401.98                            +                  $196.23                               =                $598.21                             48.82%
                                                          42                          Sp.                            $409.36                            +                  $196.23                               =                $605.59                             47.94%
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                                                                                                                                                  Exhibit 11
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            OPTION No. 4 A-C. MAINTENANCE OF NE'F OPERATING INCOME (MNOI) (Adjusted bt 100%,
            75°JI and 50°/n of< ;p1 on the Parks Net ()perating Income).

            I he explanation and d1scuss1on of these options arc discussed 1n attached report from Dr. Baar's Analysis,
            Exhibit D, pages D 22 te D 27 and the individual rent level calculations are shewn in the staff exhibits,
            Exh1b1t-E. pages E=23 and E-24.



            RECOMMENDATION

            The Mobilehome Park Rental Review Board may wish to t'lke one of the following actions:

                    I.   Grant the increase as requested, or


            Staff has presented the ownei's proposal as sttbmitted in Exhibit-A (pages A-1 to A-33) and the park owner's fair
            reh1m analysis in Exhihit-B (pages B-1 to B-223              The residents and their representatives have provided
            i::nfonnation tlnouglt lettets noted in Exhibit-C (pages C-1 to C-36). Staff lras te'W'iewed these ducanrents and
            piepared this staff report and snpplemeptril staffjnfonna+jop poted ip Fxbjbjt_p (pages F-1 to F-25 and Or Baar
            has submitted his independent fair retrnn analysis that is noted in Exhibit-D (pages D-1 w D-54. Based on a
            carnful rnviow ef tlrn inc-• anJ oxp••lSc GQGUmontatiGB, Factors Numl>w; l thrnugh 11 "" eutlinod in tao
            Mobiiehomc Space Rent Control Ordinance, the rcv1sed 1mplementaUon gutdeltnes, and all the submitted
            clee\fffienJs, it is staffs reeemmefldatien that tfle Beard grnnt Celooy Cev-e }.{efli1e Estates a geaeral retlt iaerease
            of $15.65 or (3.4Yl'o to 4.52%) per space, per month for 403 of the 404 spaces m the park at this llme. !his would
            raise the general base rents in the park to a range of $361.68 to $469.23 and to an average rent of $429.90 per
            space, per month and represents a yearly increase of$75,683.40.

            Staffs recommendation is considered to be fair, just and reasonable for Co]ony Cove Mobi1e Estates at this time,
                                            ' .




            2.      Operating Expenses for the park increased by $ 8 I I .109 or 66.5 o/o between 2005 and 2006-0 I. ( I his
                    inerease is e11tirelj cltte to the ine1ea~ecl. flebt :se1viee i1tettnecl by the nevv patk Oh net te pttrehase the


            3       f)11e to the iss11es noted f.ibove the Gross Profit of the park decreased $ 911 ,150 or 126     9 °,{. betureen 2005
                    a11d 2006-07 bcfo1c facto1 ing in the dctc1 io1ati11g effects c1f inflatiort on the park's gross incon1e.
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            4.      The local Consumer Price Index has increased by 3.51 % from August 2006, (the most recent
                    n1easurement available at the time of the park's last general rent incrca8e hearing) and December, 2007~
                    (the 1nost recent 1ncasurement available at the time of the vvriting of this staff report).

            5.      C'eleny Co··G ~fobik EstatGs GHrrontly rank,· s•Gonil in its Gemparisen grnal' ef thrno mebilollem• l'arks
                    1n terms of average base rent. I he park would continue to rank second 1n this companson group 1! staff s


            6.      The period of tinte since the Boa-td's Septe1nbc1 27, 2006 1uccti11g, at w1ricl1 the Boa1d last hem cl a rent
                    increase reqnest by Colony Cove Mobile Est·1lri.: and tonight's mPe(jng js J7_J/2 mopths, or ope year,



            i.      The park s properly taxes have increased $ t 0,463 or 9 .61?0, bet\veen 2005 and 2006-0 I.

                                                          Colony Cove I\1obile Estates
                                                          February 13, 2008 - Page 22
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                                                           Exhibit 11
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   ,.J·              EXHIBITS

                     A.      2006-07 Application Materials for Colony Cove Mobile Estates. (Pgs. A-I to A-33)

                     B.      Fair Return Analysis by John P. Neel, MAI. (Pgs. B-1 to B-223)


   .)'
                     c.      Resident Comment Letters. (Pgs. C:-1 to C:-36)

                     D.      Fair Return Analysis by Dr. Kenneth Baar. Pgs. (Pgs. D-1 to D-54)

                     E.      Staff Exhibits. (Pgs. E-1 to E-25)


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                 EXHIBIT 12
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                                                ANDERSON & BRABANT, INC.
                                                    REAL.£STATEA:l'PR:AtsERS AND-c;DNSULTAN'IS
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                                                          -TELEPHONil (76CW74l-4'l413'
                                                              FAX (760) 741-1049


               June 5,2008



              William.W. Wynder, Esq.
              Aleshire.& Wynder, LLP
              South Bay Center
              1515 West 1901h Street
              South Tower, Suite 565
              Gardena, CA 90248

               Re:    Rent Increase Application
                      Colony Cove Mobile Estates

               Dear Mr. Wynder:

              I have mmpleted a review of ca fairretum analysis for Colony Cove Mobile Estates prepared by
              John P. Neet, MAI. His report of September 25, 2007.pruvides three analyses and opinions of
              the increase in rent that would be necessary to provide a fair return foT Colony Cove Mobile
              Estates for fiscal year April 2006 through March 2007.

               I have also reviewed his updated analysis dated May 2&, 2008,.that was forwarded to Jhe City on
               May 29, 200&. Jn addition I .have analyzed Neel's rcvkw of Dr. Kenneth Baar's analysis of
              Colony Cove Mobile Estates. Finally, I have reviewed an appraisal o:f Colony Cove Mobile
              Estates, dated March 13., 2007, v.itb a date of value of March 30, '.W06, that was prepared by Rob
              Delling ofPGP Valuation Inc.

              The purpose of my reviews has been to make a detenninati-0n as to the adequacy and
              appropriateness of the analyses and conclusions in the Neetand Detlingwporls.

·)
               Clhmt/Inlended Use
              My client for this assigmnent is Aleshire & Wynder, LLP, City Attorney to the City of Carson,
              The report has been prepared to be provided to the Carson MobilehoI1le Park Rent Review.Board
              ("MRRB") to provide an independent and expert assessment of the submittals n-0ted abov.e, and
              to assist the MRRB in understanding the meaning and Signlncanc.e .of such snbniittals in
              cOnnection-v.-~5.th. a·pending ap})I.ication for·a so:,..called ~'fair -retun.1;) rent inorease appl:ic03.tion, The:
              author, and A:nderson & Brabant, Inc., are not responsible for any lmintended use of this rnpOI!.

              Ex:tent Of The Review Process
               I. have read the .reports prepared by John Neel atid Rob Detling that are previously referenced. l
               have also reviewed the Applicaticm for Mubilebome Space Rent Increase submitted by the park
               owner, Dr. Kenneth llaar's report and the City Staff Report




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                                                              Exhibit 12
                                                              Page 200
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          William w, Wynder, Esq.
          Aleshire & Wynder, LLP
          June 5, 2008
          Page2




          Comments On The Reports Reviewed

             1. Neet's1nvestment Basis
                Neel's fair retum analysis (page l) discusses 'the purchase of Colony Cove by the c\irrent
                owner on April 4, 2006, at a price of $22,990,000. He then adds certain costsfill:d fees
                and concludes that the adjusted purchase price was $23,050;060.99. Next, he references
                the appraisal by PGP Valuation foe. as of March 30, 2006, with a market value
                conclusion of $23,000,000 and comments that this appraisal confim1s that the market
                value estimate essentially equals !he purchase price. The PGP appraisal is included inthe
                Addenda to his report.

             2. Neet's Net Operating Income Analysis is Inconsistent With the PCP Appraisal.
                While Neet reports a net operating .income of $304,838 the PGP appraisal estimates that
                the net operating income is $1, 110,009. Neet's Net Operating Inconie Analysis begins by
                referencing the park owner's financial statements for the period April 2006 thrm1gh
                March 2007 (page 7). He inakes it clear that be has not reviewed or adjusted the reported
                income and expenses, .except for several adjustments that are specifically addressed in the
                ordinance or th!;' guidelines. His figures for income, e;>Cpenses and net operating income
                are as follows:

                       Reported Collected Income                    $2,184,527
                       Adjustments                                  ( 152.586)
                       Adjnsted Collected Income                    $2,031,941

                       Reported Operaling Expenses                  $1,829,297
                       Adj ustrnentp                                ( 102.194)
                       Acljusted Operating Expenses                 $1,727,103

                       Net Operating Income                         $ 304,838

                In the PGP Valuation lnc. appraisal that Neeld\es in order tojnstify the purclmseprice
                there is·ian income analysis that indicates a potential gross income of$2,207,884 which is
                very close to Neet's reported collected intrune before the adjustments, However, in fhe'
                PGP appraisal, the operating expenses total $1;038,535 while the operating <>.xpenses
                reported by Neel are $1,829,297 and the-adjusted expenses total $1,727,103.

                As indicated, the PGP appraisal estimates a net operating income of "$1, 110,009 while
                Neet has a net operating income of only $304,838. Consequently, the applicant is using a
                net opernting income ($1,110,009) tojustify the purchase price, but ar10lher net operating


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                                                Exhibit 12
                                                Page 201
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          William W. Wynder, Esq.
          Aleshire & Wynder, LLP
          fane 5, 2008
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                  income ($304,83&) that is .only a :fraction ofthat amount to justify the park owm:rs need
                  for a rent incrmse in order to obtain a.fuirretum ·on the same purcmse price.

                  Obviously, these two sets of expen·se and net operating .income estimates cannot both be
                  correct The PGP e~tirrurtes could be vi.ewed as more credible. PGP had access to
                  historical expenses from 1he subject pr0pe1ty and they also referenced expense
                  comparables from other parks. PGP included a complete discussion and analysis ofthe
                  various expenses. On the other rumd Neet simply used the reported expenses, with his
                  relatively minor adjustments; and .even indicates that he did not review the reported
                  expenses. Consequently; it i.s my professional judgment that the MRRB could, in the
                  exercise of its discretion, give little weight to or choose not to have confidence in Neel's
                  estimates of expenses and net operating income.

                  Neel also uses a 9.0% rate of return (overall capitalizationrate)to calculate the increase
                  in rent necessary to produce a fair retum. This 9.0% rate was arrived at after he
                  considered discount rates frpm published sources and a history of rent increases for parks
                  in the City of Carson. ffis analysis fails to include any overall capitalization rates from
                  comparabk sales.

                  However, the PGP appraisal did include overall capitalization rates :from six comparable
                  sales that m1gcd from 3.9% to 6.3% and PGP selected a capitalization rate of 4.75
                  percent for the analysis. In other words, the park owner purchased the property on the
                  basis of a 4.75 percent capitalization rate, while Neet claims the pack owner.is entitled to
                  a 9. 0% rate of return.· Again, it is my professional judgment that the MRRB could, in the
                  exercise of its discretion, give little weight to or choose not to have confidence in the
                  reasonableness of Neel's conolusion.

             3. Applicant is Not Entitled to Re,defhrc Fair Rate of Return

                  In my professional experience and judgment, even if this applicant were entitled to a fair
                  return on il\vestment, such an entitlement does not follow regardless oflhe purchase price
                  paid for this mobilehome park property. If a given applicant chooses to overpay for the
                  purchase of a mobilehome park propeity {meaning a _purchase price above the markej
                  value) such an applicant. would not, in my p1·ofessional e"perience and judgment, be
                  entitled to a fair return on an unreasonable investment.

                  In addition, if any giVen applicant purchases a mobilehome park property at market
                   value, such an ,applicant is not, in my professional experience and judgment; entitled to
                  redefine the ten11 "fair return:?' for purposc_s :-of a re11t increase ·apPlication·. Jn my
                  judgment, this appeats to be what is happening in connection wit11 this pending "fair
                  return"· appJication.



                  1-l oo ' 4. 7'%><opifo1'w«o• '~ ('rePGP "'"""'- ""'' ;>) Tire                       F'
                  The applicant and his experts claim that the property was purchased at a market price,~
                                                                                            '="''"          ~J       )

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          Aleshire & Wynder, LLP
          June 5, 2008
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                justified as befog a market .rate purchase based upon an extensive. analysis uf overall
                capitalization rates from comparable parks, The ajlp1icant then elects to utilize a 9.0%
                rate, that Neet chooses to call a "discount rate" (but is really a. capitalizatio!l rate), to·
                calculate the increase in rent necessary to produce a fair return (see Neet report, Net
                Operating Income Analysis, page 7). If you perform an analysis that uses one rate to
                justify a purchase price m1d then use a hlgher rate for the fair return analysis, a rent
                increase will always be indicated; However, in my judgment this amounts to an
                 unjustified re-defining of the meaning of "fair return."

                Neel's 9.0% capitalization rate is not obtained from direct comparison of capitalization
                ratesfrom mobile honte parks in the State of California, butJrom fill m1alysis of discount
                rates from a national .survey, from which he deducts an appreciation rate. This entire
                analysis is not grounded in a direct comparison with capitalization rates from ·mobile
                home pm·ks (the relevant comparison to have been utilized) aud is extremely mis.leading,
                and in my professional• experience and judgment could, if the MRRB so determined, in
                the exercise ofits discretion, be rejected as a basis for a "fair return" application.

             4. Neel's Net Income to Equity Analysis is Not Credible

                Based upon the documents I have reviewed, the applicfillt apparently leveraged Iris
                investment .in Colony Cove with a loan in the amount of $1&;000,000. 'Ih:e annual debt
                service (interest only) for this loan is reportedly $1,309;236: This results in Neel's
                calculation of a negative equity dividend (cash flow after debt service) of $1,004,398.
                Neet has det.em1\ned that the "required equity dividend amounts to $580, 750" and that
                results in his eonclusion that a .rent inctea.~e of $327.78 is necessary to produce a Jair
                rctlln1.

                However, according to the PGP apprnisfil, when ihe property was acquired by the
                applicant it was not producing fillything. approaching the income necessary to cover the
                debt se.rvice of $1,309,236 arid provide a positive cash 'flow of$580,750. In fact with a
                net income before debt service of $1,110,009 and debt service of $1,309,236 the equity
                dividend projected for the first year of the applicant's ownership was a negative
                $199 ,2i7, The Neet 11na!ysis fails la take into accountm1y equity dividend rates extracted
                from sales of mobile hon1e parks to support his use of an 11.5% rate. Cortsequcntly, it is
                my professional judgment that the MRRB could, in the· exercise of its discretion, give
                little weighttoor ,choose not to have confidence in this, aspect ofthe Neet analysis.

             5. Neet's Net Operating Income (Including Debt Service}Analysis Defies .Logic
                Neel's Net Operating Income (Ineluding Debt Service) Analysis produces a meaningless
                result. He cal.culates m1 equity dividend (cash flow after debt service) that should be
                fillalyzed with a rate that considers the equity i1westment. Instead, he uses a rate (9%)
                t11at is applicable for the total property value, iiot just the equity investment I know of no
                professional appraisal publication that would supporl such fill analysis and it       F-  m(~



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                            profession:il judgment that the MRRB could, in the exercise of its discretion, give little
                            weight to or choose not to have confide11cein, the Neet NO! calculations.

                      6. Comments on Neel's Criticism ofDr. Baar's Report
                            In his report dated March 24, 2008, Neet objects that Dr, Baat .did not compare Colony
                            Cove's return with other investments having commensurate risk. 1bis criticism is nof
                            eonvitiCing when you consider that snch an analysis by Neet led him to conclude that the
                            applicaritwas entitled to a 9% capitalization rate, when comparable sales suggested th1!1 a
                            4.75% capitalization rate was appropriate.

                            Neet is also critical of DL Baar for concluding that mobile home parks are a "11sk free"
                            investment. He .goes on to list some af the lisks associated with the ownership of mobile·
                            home parks. However, the opinion actually expressed by Dr. Baar on page 35 was that
                            "after.I! park has been constructed and occupied with mobilehomes, there is virtually no
                            rental Jisk.'; This condusion has been supported Md documented in countless studies
                            and I have personally observed this phenomena in over 30 years of appraising mobile
                            home parks.

                            This is. not to say that there is never any vacancy in any mobile home park. However, in
                            well located parks like this one, they typically remain full and if an older home is moved
                            mil, a new one is then moved in and there js virtually no vacancy. The iruth •of this
                            generalization can be seen in lhe investment survey data utilized by Mc Neet. In the
                            Investor Survey by Robert G. Watts that Neet utilizes in his analyses, the discount rates
                            for Mobile Home Paik acquisitions are lower than the rates for apartments, office
                            buildings, industrial prope1ties ana retail facilities. The lower rate for mohilehome park
                            in.vestments is reflective, at least in part, of the lower risk of vacancy:


                   This 1ccview appraisal is followed by a listing of Assn01ptions and Limiting Conditions as well as
                   a signed Certification and a Statement of Qualifications. Thank you for the opportunity lo .be ()f
                   service.

                   Sincerely,

                   ANDERSON & BRABANT, INC.
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       / . ,Jariies Brabant, MAI
       L./         Certified General Real Estate Appraiser
                   OREA Appraiser No. AG002100




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                                 ASSUMPTIONS AND LIMITING CONDITIONS

                         This apprnisalis subject to the following special assumptions .and limiting
          conditions:


                  1.        This is a Review Appraisal which is intended to comply with the reporting
          requfrements set forth Wlder Standards Rule 3 and Advisory Opinion 6 of the Unifom1 Standards
          ofProfessional Appraisal Practice (USPAP). The infonnation contained in this report is "Specific
          to the needs of the client and any other intended users for the intended use as stated in this report
          Anderson& Brabant, fnc. is notresponsible for unantbori2,ed use of this repmt
                         This appraisal is subject to the following gcner:al assumptions and limiting
          conditions:

                  1.     It is assumed that information ftm1ished to us by .our client, including maps, co.st
          estimates, and legal descriptions, is.substantia!lycmrect.

                 2.      No responsibility is assumed for matters legal in character, nor do we retidcr an
          opinion as to title, which is assumed to be held in foe simple interest as of the date of valuation
          unless otherwise specified.

               3.     ill ·is assumed that the property is readily marketable, free of all liens and
          ennm1brances.'cxccpt any specifically discussed herein, and 1111der responsible ownership and
          manag;ement.

                   4.      .Photographs;plat, and maps furnished in this .appniisal a,re to assist the reader in
          visualiz\IJg the. property. No survey of the property has. been made and no responsibility has
          been-ass:U11.1ed in ,this··mattcr.

                5.     it is assumed that there are no legitimate environmental or ecological reasons that
          would prevent orderly development of the land to its highest and best use Wlder economically
          feasible conditions.

                  6.      Soils engineering stndies have not hee11 provided to Anderson & Brabant, Inc. It
          is, therefore, assumed that there are no .hidden or unapparent conditions of the property such.as
          hazardous or toxic wastes and/or other subsoil conditions which would render it more or less
          valuable. No reoponsibility is assumed for such conditions or for engineering which might be
          required to discov·er-si.1cl1-factbr-s.

                 7.      The appraiser is no'l qualified to detect hazardous waste and/ur toxic materials.
          Any ~-OJtunent by the appraiser that might suggpsot the possibility qf the presence of such
          substances should not be taken as con:firmation of the presence ofhazardut\s waste aod!or toxic
          materials. Such detenni.nation would require invesiigation by a qualified cxpe1i in the field of
          environmental a.,sessment. The presence of st1bstll11ces such as asbestos, urea-formaldehyde
          foam lnsulation, or other potentially hazardous. materials may affect the value ofthc property.

          Anderson & Brabant, Inc.




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                         The appraiser's value estimate is prediCated on the assumption that there is no
          such·material on or in the properly that would cause a loss in value unless otherwise stated in this
          report. No responsibility is assumed for any environmental conditions, or for any expertise or
          .engineering knowledge required to discover them. The appraiser's descriptions and resulting
          comments are the result of the routine observations made dtning the .appraisal process.

                   8.    Possession of this report, or a copy thereof, does not carry with it the right of
          publication. It may not be used for any purpose. by any person other than the party to whom it is
          addressed without the written consent of Anderson & Brabant, Inc., and in any event, only with
          proper written qualification and only in its entirety.

                   9.     Disclosure of the conteuts of this appraisal report is governed by the by-laws and
          regulations of the Appraisal Institute. Neither all nor any part of the contents of this report
          (especially refereuce to the Appraisal Institute or the MAJ designation) shall he disseminated to
          the pnblic through advertising media, public relations media, news media, sales media, or any
          other public means of communication without prior written consent and approval ofAnder,;011 &
          Brabant, foe.

                10.     The submission of this report constitutes completion of the services authorized. It
         is submitted on the condition that the client will provide Anderson & Brabant, Inc. customary
         compensation relating to any subsequent required depositions, conferences, additional
         preparation or testimony.

                 11.    The valuation estimate is of surface rights only and the mineral rights, if llil.Y, hav<;
         ·heen disregarded.

                  12.     No wan·anty is made as to the seismic stability of the subject property.

                 13.     It is assumed that  all
                                             applicable zoning and land 11se regulations and restrictions
          have·been compliedwith, unless a nonconformity has been stated, defined, and considered in this
          appraisal report.

                  14.    It is assumed that all required licenses, ce11ificates of occupancy, or other
         legislative or administrative authority from any local, state, or national governmental or private
         enfrty or organization have been or can be Dbtained. or renewed for an.i' use on Which the value
         estimates contained in this report are based.

                  15.      It is assumed t!urt the utilization of the land and improvements is wiihin the
          boundaries or properly lines of the property described tmd that tl1ere is no encroachment or
          trespass lJfiless otherwise stated in th:is report.




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                                           APPRAISER'S CERTIFICATE

                         I do here1iy certifythat, to the best of my knowledge and belief,·><

          L     111e statements of fact contained in this report are true and correct.

          2.   The reported analyses, opinions, and conclusions a:re limited only by the r<c't>orted
          assumptions alld limiting· conditions, and are our personal, impartial, and unbiased professional
          analyses, opinions and conclusions~

          3.    1 have no present or prospective foture interest in the property that is the subject of this
          report, and no pernonal interest with respect'to tlle paiiies involved.

          4.    I have no bias with respect to' the .property that is the subject of this report or to the parties
          involved wiU1 this assignment.

          5.   My engagement in this assignment was not continf,>ent upon developing or reporting
          predetermined results.

          6. My compensation for completing this assignment is not contingent upon the development or
          reporting of a predetermined value or direction in that favors the cause of the client, the amoW11 of
          the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event
          dir>,ctly relatedito the intended ttse of this appraisal.

          7,   My analyses, opinions, and conclusions were developed, and this report has been prepared, in
          conformity with the requirements of the Code of Professional Ethics and the Standards of
          Professional Practice of the Appraisal Institute and ·fue Uniform Standards of Professional
          Appraisal Pracfice ofthe Appraisal Folindation.

          2. The use of this report is stibject to the requirements of lhe Appraisal Jnstitute relating to
          review by its duly authorized .representatives.

          9.    [have made a personal inspection ofthc prop"'·ty that is the subject of this report.

          10.   No one provided Significant profesfii0na1 assistance.to the person signing. this-.report.

          i !. As of the date of this report, l have completed the requirements of the continuing education
          program of the Appraisal Institute.

                          ,,.--)        9----s~_,.,,.
                          (.~/ -~?._~~-~--­                                       June5. 2008
                   c::::./::=:r;;;Jie8 Bmb,;;;'t, MAI                                 Date
                            State Ce1iification No. AG002100




          ..tlnderson & Brabant, Inc.



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                                         QUALIFICATIONS OF THE APPRAISER
                                                         James Brabant, MAI
                                                       Anderson & Brabant, Inc.
                                                        353 W. Ninth.Avenue
                                                        Escondido, CA 92025
                                                       (760) 741-4146 Ext. 312

              I.    Resident of San Diego Connty since 1977
              II.   Educational Background:
                    A.    University of Southern California, B.S. degree in Real Estate -   1960
                    B.    School ofTheology at Claremont, Master of Theology- 1966
                    C.    Professional Education Completed:
                          I.   Appraisal Institute
                               a    "Basic Appraisal Principles, Methods and Techniques" - Course I-A
                               b.   "Capitalization Theory and Techniques 11 - Course [-B
                               c.   11
                                       Urban Properties 11 - Course II
                               d.   11
                                       Investmcnt Analysis"~- Course I\l
                               e.   "Standards of Professional Practice 11
                               f.   "Litigation Valuation 11
                               g.   Special Applications of Appraisal Analysis Course 301
                         2.    Lincoln.Graduate Center
!'
                               a.    Manufactured Housing Appraisal Course 669
                         3.    Continuing Education (Partial List):
                                    Eminent Domain Case Update, 10195, 3/97, 10/07
                                    Business Practice an<l Ethics, 6/07
                                    San Diego Apartment & Housing Seminar, 10/98, 5/07
                                    San Diego Economic forecasts, 2/05, 2/07
                                     Appraiser as Expert Witness, 12/06
                                     USP AP Course, 9/04, 5106
                                     Deal and Development Analysis - Downtown S.D., 9/05
                                     Litigation Seminar, l 1/04
                                     Appraising J\t1anufac1ured llousing, 1/04
                                     Economic an<l Real Estate Forum, 09/02
                                     Grarnm-Lcach-1.!liley Act, 10/01
                                     Condemriation on Trial (Participa11t), 5/00
                                     Attorneys, Appraisers & Real Estate; 9/98
                                     Damages, ])imjnution ·&Mitigation; 8/98
                                     Appraisal ofrartial Interests; 6/98
                                     Mitigation Land Update & Valuation Issues, 4/97
                                     Federal & State Laws & Regulations Workshop, 9/95
                                     Fair Lending, 12/94
                                     Partial Acquisitionj 9/94



              Anderson & Brabant, Inc.




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         Qualifications of the Appraiser- Jam es Brabant, MAI
         Page Two


         Ill    Professional Affiliations:
                A.    Member, Appraisallnstitute, MAI (1985 President, San Diego Chapter)
                B.    Realtor Member, North Cmmty Association of Realtors
                C.    Member, International Right of Way Association
                D.    Real Estate Brokers License, State of California
                E.    Teaching Credential, State of California, Community College Level
                F.    Certified General Real Estate Appraiser (AG002100)
                      Office of Real Estate Appraisers, State of California

         IV.    Appraisal Exnerience:
                Co-Owner- Anderson & Brabant, Inc., Since 1979
                Co-Owner·- Robert M. Dodd & Associates, Inc., 1977 - 1979
                Appraisal Manager-California First Bank, Huntington Beach, California, 1974- 1977
                Staff Appraiser- California First Bank, San Diego, California, 1972 - 1974
                Staff Apprfilser--0. W. Cotton Co., San Diego, California, 1970 - 1972
                Staff Appraiser-Davis Brabant, MAI, Huntington Park, California, 1960-1962

         v.     Teaching Experience:
                Southwestern College, Chula Vista, California, 11 Real Estate Appraisal"


         V1.    E:xpert Witness:
                Superior Court, San Diego, Los Angeles, Riverside, and San Bernardino Counties
                Rent Control Hearings: Oceanside, Escondido, Venturd, Concord, Yucaipa,            Carpenteria~   Palmdale,
                San Marcos
                Various Arbitration Ilcarings
                Assessment Appeals Board, Riverside County and San Diego County
                Federal Bankruptcy Court, San Diego County & Santa Barbara County
                United States Districi Court - Northern District of California

         VII.   Types of Appraisals:
                Residential Property:            Single-family residence, condominiums, apartments,
                                                 subdivisions, existing and proposed
                Commercial Properly:             Office buildings, shopping centers, office condominiums, etc.,
                                                 existing and proposed
                Industrial Property:              Single/multi-tenant, business parks, etc., existing and proposed
                Vacant Land:                      Industrial, commercial, residential, and rural
                Agricultural:                    Ranches, avocado and citrus groves, etc.
                Special Purpose Appraisals:      Leasehold estates, posscssory interest, historical appraisals, etc.
                Mobile Home Parks:               For a variety of purposes including rent hearings, park closure, park
                                                 conversions, failure lo maintain litigation: etc.




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         Anderson & Brabant, Inc.


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         Qualifications of the Appraiser- James Brabant, MAI
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         VIII. Partial List of Appraisal Clients:
         Banks                                              Law Firms
         Bank of America                                    Asaro, Keagy, Freeland. McKinley & Bartz
         Bank of New York                                   Best, Best & Krieger
         City National Bank                                 Daley&Heft
         Do\V11ey Savings                                   Endernan, Lincoln, Turek & Heater
         Fidelity Federal Bank                              Foley, Lardner, Weissburg & Aronson
         First Interstate Bank                              Fulbright & Jaworski
         First Pacific National Bank                        Gray, Cary, Ware & Freidcnrich
         Flagship Federal Savings                           Higgs, Fletcher & Mack
         Grea1t Westero Bank                                Latham & Watkins
         !odustrial Bank of Japan                           Lounsbery, Ferguson, Altona & Peak
         Palomar Savings & Loan                             Luce, Fonvard, Hamilton & Scripps
         Redlands Federal Bank                              McDonald & Allen
         Union Bank of California                           Mcinnis, Fitzgerald, Rees, Sharkey & Mclotyre
         Wells Fargo Bank                                   O'Melveny & Meyers
                                                            Post, Kirby, Noonan & Sweat
         Government Agencies and Municipalities             Procopio, Cory, Hargreaves & Savitch
         California Department of                           Rutan & Tucker
         Transportation/Calrrans                            Singer, Richard
         Carlsbad Municipal Water District                  Sullivan Wertz McDade & Wallace
         City of Carlsbad                                   Tatro & Zamoyski
         City of Chula Vista                                Thorsnes Bartolotta & McGuire
         City of Colton                                     Worden Williams, APC
         City of Concord
         City of Escondido                                  Title Companies
         City of Laguna Beach                               Chicago Title
         City of La Mesa                                    Fidelity National Title Insurance
         City of Salinas                                    First J\Jnerican Title
         City of San Bernardino                             St. Paul Title
         City of San Diego                                  Title Insurance & Trust
         City of San l\.1'arcos
         City of Vista                                      Others
         City of Yucaipa                                    Avco Commnnity Developers
         County of San Diego                                Coldwell Banker
         Metropolitan Water District                        Dixieline Lwnber
         Oceanside Unified School District                  Golden Eagle Insurance
         Pacific Telephone                                  National Steel & Shipbuilding Co.
         Poway Municipal Water DistriL1:                    Northern San Diego County Hospital District
         Ran1ona Unifi,ed Schoo1 District                   Prudential Insurance Corp.
         SANDAG (Son Diego Assoc. ofGovls.)                 Rosenow, Spevacek,. Group
         San Diego Collilty Water Authority                 San Diego Gas & Electric Co.
         San Diego Unified Port District                    San Luis Rey Downs (Vessels)
         San Marcos Unified School District                 Steefel, Levitt & Weiss
         U.S. Depart. of the loterior                       Tellwright-Campbell, Joe.
           Bureau of Indim1 Affairs                         Transamerica Relocation Service
         U.S. Department of Justice                         Vedder Park Management



         Anderson & Brabant, Inc.




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             PARTIAL LIST OF MOBILE HOME AND MOBILE HOME PARK APPRAISALS

          Rent Studies
                Carlsbad, California                Rancho Carlsbad
                Chula Vista, California             Brentwood Mobile Home Park
                Concord, California                 Brookview Park
                                                    Concord Mobile Home Park
                                                    Vista Del Monte.Trailer & Mobile Home Park
                                                    Town & Country Mobile Village
                                                    The Trees
                El Cajon, California                Rancho Laguna Mobile Home Park
                Escondido, California               Escondido Mobile Park West
                                                    Town & Country Mobile Home Park
                                                    Valley Parkway Mobile Home Park
                Hollister, California               Mission Oak Mobile Home Park
                La Mesa, California                 La Mesa Terrace
                Malibu, California                  Paradise Cove
                Oceanside, California               Laguna Vista Mobile Home Park
                Pacific Palisades, California       Palisades Bowl
                Rocklin, California                 Sierra Lakes Adnlt Mobile Home Community
                Salinas, California                Alisal Country Estates
                San Marcos, California             El Dorado Mobile Home Park
                                                   San Marcos Mobile Estates
          Mobile Home Park Conversions
                Carlsbad, California               Rancho Carlsbad
                Carson, California                 Carson Harbor Village
                Colton, California                 Rancho Mediterrania
                Escondido, Cnlifomia               Champagne Village
                                                   (formerly Lawrence Welk Village)
                F allbrook, California             Rancho Monserate
                Lakeside, California               Lake Jennings Mobile Home Park
                Palm Desert                        Indian Springs Mobile Home Park
                Palm Springs, California           El Dorado Mobile Home Park
                Paso Robles, California            Rancho Paso Mobile Home Park
                Vista, California                  Vista Cascade
                Woodland Hills, California         Mountain View Estates
         Mobile Home Park Subdivisions
               Thousand Palms, California          Ivey Ranch
                Vista, California                  Vista Del Mar
                                                   Shadowrid ge Crossing


         Anderson & Brabant, Inc.




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                    For Possible Acquisition
                          Colton, California               Lake Cadena Mobile Home Park
                                                           Reche Canyon Mobile Home Park
                           El Cajon, California            Glenview Mobile Home Park
,.,.,.._,,
                           Montclair, California           Villa Montclair
                                                           Hacienda
                           San Bernardino, California      Glen Aire
                                                           Friendly Village
                                                           Pacific Palms
                                                           Ninth Street
                                                           Royal Coach
                                                           Rancho Meridian
                                                           Meiidian Terrace
                                                           Sequoia Plaza
                                                           Orangewood
                           San Marcos, California          Palomar Estates East Mobile Home Park
                                                           Palomar Estates West Mobile Home Park
                                                           Rancheros Mobile Home Park
                                                           San Marcos View Estates
                                                           Twin Oaks Valley
                                                           Villa Vista
                           Vista, California               Sycamore Creek
                    For Estate Purposes
                          Camarillo, California            Camarillo Mobile Home Park
                          Cathedral City, California       Royal Palms Mobile Home Park
                          Chino, California                Pembroke Downs Mobile Home Park
                          La Habra, California             Friendly Village La Habra
                          Lakeside, California             Lakefront Mobile Home Park
                          Modesto, California              Friendly Village-Modesto
                          Newbury Park, California         Vallecito Mobile Home Park
                          Rancho Cucamonga, CA             Alta Laguna Mobile Estates
                          Riverside, California            Rancho Caballero Mobile Home Park
--_;
                          San Juan Capistrano, CA          Rancho Alipaz Mobile Home Park
                          San Pe<lro, California           Palos V enles Shores Mobile Home Park
                          Scotts Valley, California        Whispering Pines Mobile Home Park
                          Simi, California                 Friendly Village Simi Mobile Home Park
                          Temecula, California             Heritage Mobile Home
                          V cntura, California             Colony Mobile Home Park
                                                           Lemonwood Mobile Home Park
                          Victorville, California          Victor Villa Mobile Home Park
                          West Covina, California          Friendly Village West Covina
                          Tempe, Arizona                   Tempe Cascade Mobile Estates



                   Anderson & Brabant, Inc,
                                                                                                    F   (i3)
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                                                                                                        00266
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            Litigation Purposes
                   Agua Dolce, California         Hacienda Vasquez
                  Anaheim, California             Western Skies Mobile Home Park
                  Apple Valley, California        Rancho de Las Brisas
                  Barstow, California             Choteau Barstow
                  Bloomington, California         Cedar Village Mobile Home Park
                  Carlsbad, California            Rancho Carlsbad
                  Carson, California              Avalon Carson Mobile Estates
                  Castaic, California             Paradise Ranch Mobile Home Park
                  Colton, California              Lake Cadena Mobile Home Park
                  Cotati, California              Countryside Mobile Park Estates
                                                  Ramble Creek Mobile Park
                                                  Sierra Mobile Home Park
                  Cypress, California             Lincoln Center Mobile Home Park
                  Dana Point, California          Beachwood Mobile Home Park
                  East Palo Alto, California      Palo Mobile Estates
                  Grand Terrace, California       Terrace Pines Mobile Home Park
                  Hollister, California           Mission Oaks Mobile Home Park
                  Laguna Beach, California        Laguna Terrace Mobile Home Park
                  Lodi, California                Villa Cerezos Mobile Home Park
-)                Long Beach, California          Belmont Shores Mobile Home Park
                                                  Friendly Village Mobile Home Park
                                                  Villa Park
                  Malibu, California              Paradise Cove
                  Modesto, California             Pinewood Meadows
                  Napa, California                Wine Country MHP
                  Oceanside, California           El Camino 76 Mobile Estates
                  Palm Springs, California        Western Village Mobile Home Park
                  Pedley, California              Santiago Mobile Home Park
                  Pomona, California              Mission Boulevard
                  Poway, California               Poway Royal Mobile Home Estates
                  Sacramento, California          Regency Mobile Home Park
                  San Rafael, California          Contempo Marin
                  Santa Cruz, California          De Anza Santa Cruz
                  Santa Monica, California        Village Trailer Park
                  Santee, California              Highlands Mobile Home Park
                                                  Meadowbrook Mobile Home Park
                  Stanton, California             KatellaMobile Home Park
                  Van Nuys, California            Park Royale
                  Windsor, California             Royal Manor Mobile Home Park
                                                  Windsorland Mobile Home Park



           Anderson & Brabant, Inc.



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     11 CARSON MOBILEHOME PARK
          RENTAL REVIEW BOARD
     12
                                         UNITED STATES DISTRICT COURT
     13
                                       CENTRAL DISTRICT OF CALIFORNIA
     14
     15
          COLONY COVE PROPERTIES, LLC                             Case No. CV14-03242 PSG (PJWx)
     16 a Delaware limited liability company,
                                                                  Assigned to Hon. Philip S. Gutierrez
     17                         Plaintiff,                        Courtroom 880, Roybal
     18             v.                                            DEFENDANTS' EXPERT WITNESS
                                                                  DISCLOSURE [FRCP 26(a)(2)]
     19 CITY OF CARSON, a municipal
        corporation; CITY OF CARSON
     20 MOBILEHOME PARK RENTAL
        REVIEW BOARD, a public                                    First Amended Complaint filed:
     21 administrative body; and DOES 1 to 10,                    April 16, 2015
        inclusive,                                                Trial date: April 5, 2016
     22
                                Defendants.
     23
     24
     25
     26
     27
     28

          01007.0504/281854.1                                                    Case No. CV14-03242 PSG (PJWx)
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      1             Pursuant to FRCP 26(a)(2), Defendants hereby provide the following disclosures
      2 of information about witnesses who may be used at trial to present expert testimony:
      3             Pursuant to FRCP 26(a)(2)(B), Defendants designate Kenneth K. Baar, Ph.D. A
      4 copy of the report required by FRCP 26(a)(2)(B) from Dr. Baar is attached hereto.
      5             Pursuant to FRCP 26(a)(2)(C), Defendants designate Kenneth K. Baar, Ph.D.
      6 The subject matter upon which Dr. Baar is expected to present evidence pursuant to
      7 FRCP 26(a)(2)(C) is: (1) Factors and methods that the Carson Rent Board may consider
      8 in setting allowable rent increases; (2) Rent Board precedent in regard to consideration

      9 of increases in debt service in its decisions setting allowable rents; (3) The reasonability
     10 of the conclusions of the Park Owner's experts, Dr. Michael St. John and John Neet, in
    11 regard to what rent increase would be reasonable under the standards in the ordinance

    12 and constitutional fair return standards, in Colony Cove's applications to the Board in
    13 its first two years of park ownership.
    14              A summary of the facts and opinions to which Dr. Baar is expected to testify
    15 pursuant to FRCP 26(a)(2)(C) is as follows:
    16              1. The City's Mobilehome Park Rent Ordinance specifies factors that the Rent
                    Board shall consider in setting allowable rent increases. In addition, in applying
    17
                    its rent adjustment standards constitutional fair return standards shall be met,
    18              including a requirement that base year net operating income is not frozen. In
                    setting maximum allowable rents, the Board may consider increases in the CPI,
    19
                    the objective of protecting residents from excessive increases, fair return
    20              analyses based on rate of return on investment, gross profit maintenance,
                    maintenance of net operating income standards, comparable rents, and other
    21
                    factors that are relevant.
    22
                    2. In applying the Rent Ordinance , since 1996 the Board has not permitted
    23
                    substantial rent increases based on increases in debt service.
    24
                    3. Dr. St. John's conclusion that a pre-rent control base year must be used in a
    25
                    maintenance of net operating income analysis is not consistent with the
    26              Guidelines. Mr. Neet's conclusions about what rate is a fair rate of return on
                    investment are not reasonable.
    27
    28

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      1             Pursuant to FRCP 26(a)(2)(C), Defendants designate James L. Brabant, MAI.
      2 The subject matter upon which Mr. Brabant is expected to present evidence pursuant to
      3 FRCP 26(a)(2)(C) is:
      4        1. A critical analysis of Plaintiff s fair return analysis for Colony Cove Mobile
      5             Estates, as contained in two reports by John Neet, MAI, and one report by
     6              Rob Detling of PGP Valuation Inc. The Neet reports are dated September 25,
     7              2007, and May 28, 2008, while the PGP report is dated March 13, 2007.
      8        2. Based on Mr. Brabant's critical analysis above, his professional judgment that
     9              the Carson Mobilehome Park Rental Review Board (MRRB) could, in the
    10              exercise of its discretion, give little weight to or choose not to have
    11              confidence in Neet's fair return analyses.
    12              A summary of the facts and opinions to which Mr. Brabant is expected to
    13 testify pursuant to FRCP 26(a)(2)(C) is as follows:
    14         1. Neet references and utilizes the PGP appraisal in his fair return analysis.
                    The PGP appraisal is included in the Addenda to Neet's report and has a
    15
                    conclusion of market value at $23,000,000 as of March 30, 2006. Neet
    16              comments that this appraisal confirms that the market value estimate
                    essentially equals the purchase price. Colony Cove was purchased by the
    17
                    current owner on April 4, 2006, at a price of $22,990,000.
    18
               2. Neet's net operating income analysis is inconsistent with the PGP
    19            Appraisal. In his fair return analysis, Neet reports a net operating income of
    20            $304,838 while the PGP appraisal estimates the net operating income at
                  $1,110,009 for the same period. Thus, Neet uses the much higher net income
    21            from PGP to justify the purchase price of the park, but uses a much lower net
    22            income for his fair return calculation. Obviously, these two numbers cannot
                  both be true and suggest his analysis is flawed. It is illogical for the applicant
    23            to use a net operating income of $1,110,009 to justify the purchase price, but
    24            another net operating income of $304,838, that is only a fraction of that
                  amount, to justify the park owner's need for a rent increase in order to obtain
    25            a fair return on the same purchase price.
    26
               3. Neet's estimate of net operating income is not credible. Neet references
    27            the park owner's financial statements for the period April 2006 through
                  March 2007, but makes it clear that he has not reviewed or adjusted the
    28

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  1             reported income and expenses, except for several adjustments that are
                specifically addressed in the City ordinance or guidelines. This is in contrast
  2
                with the PGP analysis of expenses, where they had access to historical
  3             expenses from the subject property and also referenced expense comparables
                from other parks. Consequently, Neet's calculation of net operating is not
  4
                considered to be credible.
  5
           4. Neet (nor the Applicant) is not entitled to re-define fair rate of return.
  6             Neet claims that Colony Cove was purchased at a market price, based on a
  7             4.75% capitalization rate. The purchase price is identified as being a market
                rate purchase based upon an extensive analysis of overall capitalization rates
  8             from comparable parks. However, Neet then elects to utilize a 9.0% rate, that
  9             he chooses to call a "discount rate" (but is actually utilized as a capitalization
                rate), to calculate the increase in rent necessary to produce a fair return. If
 10             you perform an analysis that uses one rate to justify a purchase price and then
 11             use a higher rate for the fair return analysis, a rent increase will always be
                indicated. However, in my judgment this amounts to an unjustified re­
 12             defining of the meaning of "fair return."
 13
           5. Neet's 9.0% rate of return is not credible. Neet's 9.0% rate of return is
 14           obtained from a national survey of discount rates from investors, from which
              he deducts an appreciation rate. When you deduct a growth rate from a
 15
              discount rate, you approximate a capitalization rate. However, in this case,
 16           his rate does not come close to approximating a capitalization rate for a
              mobile home park in the State of California. Rates of return in the State of
 17
              California are very different than national averages. Furthermore,
 18           capitalization rates for parks in California were readily available, as indicated
 19           in the PGP appraisal. The PGP appraisal included capitalization rates from
              six comparable sales of mobile home parks in California that ranged from
 20           3.9% to 6.3% and PGP selected a rate of 4.75%.
 21
           6. Neet's net income to equity analysis is not credible. The purchase of
 22           Colony Cove in 2006 was reportedly leveraged with a loan of $18,000,000
              and an annual debt service (interest only) of $1,309,236. This resulted in a
 23           negative cash flow (equity dividend) of $1,004,398. Neet opines that an
 24           equity dividend rate of 11.5% would be fair and, if they were achieving that,
              it would produce a positive cash flow of $580,750. His calculations suggest
 25
              that a rent increase of $327.78 would be required for a fair return. However,
 26           his analysis fails to take into account any equity dividend rates extracted from
              sales of mobile home parks. In addition, according to the PGP appraisal,
 27
              when the property was acquired by the applicant it was not producing
 28           anything approaching the income necessary to cover the debt service of

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  1             $1,309,236 and provide a positive cash flow of $580,750. In fact, with a net
                income before debt service of $1,110,009 and debt service of $1,309,236 the
  2
                equity dividend projected for the first year of the applicant's ownership was a
  3             negative $199,227.
  4        7. Neet's Net Operating Income (Including Debt Service) Analysis Defies
  5           Logic. He calculates an equity dividend (cash flow after debt service) that
              should be analyzed with a rate that considers the equity investment. Instead,
  6           he uses a rate (9%) that he previously uses for the total property value, not
  7           just the equity investment. I know of no professional appraisal publication or
              appraiser that would support such an analysis.
  8
  9        8. Conclusion. Based on the above analyses, it is my professional judgment
              that the Carson Mobilehome Park Rental Review Board (MRRB) could, in
 10           the exercise of its discretion, give little weight to or choose not to have
 11           confidence in Neet's fair return analyses.

 12
                Defendants reserve the right to supplement these disclosures and to designate
 13
      additional experts and witnesses as necessary to rebut any experts designated by any
 14
      other party to the instant action.
 15
 16
      DATED: January 11, 2016                 ALESHIRE & WYNDER, LLP
 17
 18

 19
 20

 21                                                Attorneys for Defendants CITY OF
 22                                                CARSON and CITY OF CARSON
                                                   MOBILEHOME PARK RENTAL
 23                                                REVIEW BOARD
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 27
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